      Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 1 of 73




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KERRY GOLDSTEIN


                        UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON
                                PORTLAND DIVISION
KERRY GOLDSTEIN, an Individual,                 Case No.:

                               Plaintiff,       COMPLAINT FOR DAMAGES
                                                FOR RELIGIOUS
v.                                              DISCRIMINATION IN
                                                VIOLATION OF TITLE VII [42
CENTENE CORPORATION, A Public                   U.S.C. § 2000e-2] AND ORS
Corporation, and DOES 1 THROUGH                 659A.030(1)(a), AND AIDING AND
50, Inclusive,                                  ABETTING RELIGIOUS
                                                DISCRIMINATION [ORS
                                                659A.030(1)(g)]
                             Defendants
                                                JURY TRIAL REQUESTED

       Plaintiff KERRY GOLDSTEIN hereby alleges as follows:
                                        PARTIES
       1.     Plaintiff is, and at all times herein was, employed by Defendant
                    (“CENTENE”).
CENTENE CORPORATION ("CENTENE").
       2.     Plaintiff KERRY GOLDSTEIN started his employment with
Defendant on March, 27, 2017 as a Project Manager III and then became a
Manager, Special Projects in June 2018. In the latter position, Plaintiff oversaw all
_____________________________________________________________________________________________
                                          Complaint
                                              1
      Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 2 of 73




stages and types of departmental initiatives in support of business projects from
identification and proposal creation to definition of requirements, project planning,
estimating, execution, measurement, and implementation.
       3.     Plaintiff also is, and at all times herein was, a deeply religious
individual who sought from CENTENE a religious exemption from the State of
Oregon’s requirement
Oregon's requirement that
                     that all
                          all healthcare
                              healthcare workers
                                         workers in the state be vaccinated against
COVID-19. CENTENE not only denied Plaintiff’s
                                  Plaintiff's religious
                                              religious exemption request
                                                        exemption request
and thus failed to accommodate Plaintiff, CENTENE also took discriminatory
action against Plaintiff because of his religious beliefs by terminating his
employment with Defendant.
       4.     CENTENE fired Plaintiff on February 4, 2022, for declining to
receive the COVID-19 vaccine due to his sincerely held religious beliefs.
       5.     Defendant CENTENE is, and at all times herein was, a publicly traded
corporation headquartered in St. Louis, MO with operations all across the United
States,
States, including
        including Plaintiff’s
                  Plaintiff's office
                              office in
                                     in Tigard,
                                        Tigard, Oregon.
                                                Oregon. CENTENE is, and at all
times herein was, an employer within the definition of 42 U.S.C. § 2000e(b).
       6.     The true names and capacities of Defendants DOES 1 THROUGH 50
(collectively the
(collectively the "DOES"),
                  “DOES”), inclusive,
                           inclusive, are
                                      are unknown
                                          unknown to
                                                  to Plaintiff, who therefore
                                                     Plaintiff, who therefore sue
                                                                              sue
Defendants under such fictitious names. Each Defendant designated herein as one
of the DOES is legally responsible for the events and happenings herein referred to
and proximately caused injuries and damages to Plaintiff thereby, as herein
alleged. Plaintiff will seek leave of this Court to amend this Complaint to show
the DOES'
the DOES’ names
          names and
                and capacities
                    capacities once they have
                               once they have been
                                              been ascertained.
                                                   ascertained.
                                    JURISDICTION
       7.     Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
_____________________________________________________________________________________________
                                          Complaint
                                              2
      Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 3 of 73




       8.     This Court has jurisdiction over Defendant CENTENE pursuant to 28
U.S.C. §
U.S.C. § 1331
         1331 because
              because Plaintiff’s action arises
                      Plaintiff's action arises under
                                                under the
                                                      the laws
                                                          laws of the United
                                                               of the United States.
                                                                             States.
                                         VENUE
       9.     Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       10.    Venue is
              Venue is proper
                       proper in
                              in the
                                 the Court’s
                                     Court's Portland Division because Defendant
CENTENE’s relevant
CENTENE's relevant office is in Washington County, the events giving rise to this
                   office is
Complaint occurred in Washington County, and all agents, employees, or other
persons working for or in concert with CENTENE regarding the events giving rise
to this case are located in, employed in, and/or residents of Washington County.
                             GENERAL ALLEGATIONS
       11.    Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       12.    In August 2021, approximately 18 months after the first-known cases
of COVID-19 were discovered in Oregon, pursuant to an executive order from
then-Oregon Governor
            Governor Kate
                     Kate Brown, the Oregon
                          Brown, the        Health Authority
                                     Oregon Health Authority ("OHA")
                                                             (“OHA”) sought
                                                                     sought
                                in the
to limit the spread of COVID-19 in the state's
                                       state’s healthcare
                                               healthcare facilities
                                                          facilities by issuing an
executive
executive order (the "Vaccine
          order (the “Vaccine Mandate”
                              Mandate" or the "Mandate")
                                       or the “Mandate”) requiring
                                                         requiring healthcare
                                                                   healthcare
workers statewide to be vaccinated against COVID-19 by October 18, 2021. See
Or. Admin. R. 333-019-1010(1). However, the OHA’s
                               However, the       Mandate allowed
                                            OHA's Mandate allowed
healthcare workers to seek, and the healthcare providers who employed them to
grant, exemptions from the vaccination requirement. Id., subsections (3)-(4).
       13.    The OHA’s
              The OHA's Vaccine Mandate also made clear that the Mandate did
not prohibit healthcare employers from complying with the requirements of federal
and state laws that prohibit employers from discriminating against employees on
the basis of religion. See Or. Admin. R. 333-019-1010(5)(a).
_____________________________________________________________________________________________
                                          Complaint
                                              3
      Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 4 of 73




       14.    CENTENE is a St. Louis, Missouri-based corporation devoted to
providing healthcare plans.
       15.    In accordance
              In            with the
                 accordance with the OHA’s Mandate, CENTENE required its
                                     OHA's Mandate,
employees to be vaccinated against COVID-19 or submit an exception request. As
Plaintiff was not a Senior Director or above, or a member-facing or in-
home/clinical employee, his deadline to provide proof of vaccination was
December 31, 2021. Failure to do so would result in his last day of employment
being January 27, 2022, and termination being effective February 4, 2022.
       16.    CENTENE allowed its employees to seek religious exemptions by
filling out and submitting an OHA COVID-19 Vaccine Religious Exception
        Form and/or
Request Form and/or an
                    an internal
                       internal form that would
                                form that would be
                                                be reviewed
                                                   reviewed by
                                                            by CENTENE's
                                                               CENTENE’s HR
                                                                         HR
WAT.
       17.    Plaintiff, a deeply religious individual with strong convictions align
strongly with, or are at least substantially similar to, tenets of Judaism, worked for
CENTENE for approximately one year as a Project Manager and then
approximately four years as Manager, Special Projects.
       18.    Plaintiff was qualified for his position and had an exemplary
employment record. In his 2021 Performance Evaluation, his manager, Kim Duerst
(“Duerst”), had
("Duerst"), had high
                high praise
                     praise for both his demeanor and effectiveness in the
                            for both
workplace and rated him as Meet or Exceeds Expectations in all categories.
       19.    In a September 28, 2021 company e-mail that Plaintiff received, a
video was included that targeted unvaccinated individuals by explaining how
“unvaccinated individuals
"unvaccinated individuals serve
                          serve as
                                as aa host
                                      host for
                                           for COVID-19.”
                                               COVID-19." See Attached Exhibit
“A” [a true and accurate copy of the e-mail containing the relevant video].
"A"
       20.    On or about October 8, 2021, Plaintiff completed and submitted to
CENTENE religious exemption request form, a true and accurate copy of which is
_____________________________________________________________________________________________
                                          Complaint
                                              4
      Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 5 of 73




                           “B.” CENTENE received Plaintiff’s
attached hereto as Exhibit "B."                  Plaintiff's form on or about
October 12, 2021.
       21.    On the request form, which was created by CENTENE, Plaintiff
indicated that
indicated that his
               his job
                   job duties
                       duties do
                              do not
                                 not "include
                                     “include working
                                              working in the field
                                                      in the       where [he
                                                             field where [he visits]
                                                                             visits] aa
member in
member in their
          their home
                home and/or
                     and/or aa healthcare
                               healthcare facility” or "require
                                          facility" or “require out
                                                                out of town business
                                                                    of town business
travel.” See Ex. "B."
travel."         “B.”
       22.    CENTENE
              CENTENE assured Plaintiff on
                      assured Plaintiff    this same
                                        on this same form that "no
                                                     form that “no single
                                                                   single factor
                                                                          factor
…   determines whether
... determines whether someone's
                       someone’s religious
                                 religious beliefs
                                           beliefs require
                                                   require recognition
                                                           recognition and
                                                                       and
accommodation under
accommodation under applicable
                    applicable federal/state
                               federal/state law” and asked
                                             law" and asked Plaintiff
                                                            Plaintiff to provide
                                         “B.”
complete and detailed responses. See Ex. "B."
       23.    Plaintiff provided CENTENE his personal statement about his
religious beliefs and practices, and the specific aspects that form his objection to
receiving the COVID-19 vaccine, in a document he attached to the form due to a
                                              “B.”
lack of sufficient space on the form. See Ex. "B."
       24.    In his request, Plaintiff described his religious beliefs and practice as
often “informed and
often "informed and guided
                    guided by
                           by Jewish
                              Jewish concepts or adopted
                                     concepts or         and tailored
                                                 adopted and tailored from
                                                                      from other
                                                                           other
religions or
religions    systems.” See Ex. "B."
          or systems."         “B.” Plaintiff asserted that his beliefs are
“constantly evolving
"constantly evolving forward similar to
                     forward similar to Tshuva
                                        Tshuva (Judaism)
                                               (Judaism) as representative of a
process for
process     personal correction.”
        for personal correction." Id. Plaintiff also cites to multiple Jewish
scriptures and other writings that serve as the basis for his position.
       25.    Plaintiff clarified that his beliefs do not prohibit him from accepting
all vaccinations, but specifically the products in the Pfizer, Moderna, or Johnson &
Johnson, which therefore made him unable to take any of the COVID-19
vaccinations then available in the United States without violating his sincerely held
                           “B.”
religious beliefs. See Ex. "B."
       26.    The sincerely held religious beliefs applicable to this request are that
Plaintiff must maintain and protect his body while taking caution in what he

_____________________________________________________________________________________________
                                          Complaint
                                              5
       Case 3:23-cv-00763-AR               Document 1          Filed 05/24/23         Page 6 of 73




exposes himself to
exposes himself to and
                   and guard
                       guard himself
                             himself against
                                     against harm
                                             harm because
                                                  because his
                                                          his "G-d
                                                              “G-d given body
and mind are used to both connect back to G-d but also to perform mitzvot and
repair the
repair the world.'
           world.”1 See Ex. "B."
                            “B.”
         27.      This applies to whether Plaintiff should receive the COVID-19
vaccination because he must determine whether doing so would cause more harm
than good to his body. Failing to properly consider this issue and weigh the
benefits and drawbacks for himself would violate the principle of being cautious of
what he exposes his body to and protecting himself against harm.
         28.                       that "[d]ue
                  Plaintiff stated that “[d]ue to
                                               to the
                                                  the known harms, suspect
                                                      known harms, suspect harms,
                                                                           harms, risks
                                                                                  risks
and unknown
and unknown short
            short and long term
                  and long term benefit,"
                                benefit,” he
                                          he is
                                             is "unable
                                                “unable to
                                                        to willfully
                                                           willfully expose
                                                                     expose
[himself] to the current COVID 19 vaccination products available.”         “B.”
                                                       available." See Ex. "B."
Doing so would go against his sincerely held religious beliefs. Id.
         29.      Attempting to further explain his sincerely held religious beliefs and
what information he used to conclude what harm he would be exposing his body to
with the COVID-19 vaccine, Plaintiff included references in his request for
                           “B.”
CENTENE to review. See Ex. "B."
         30.      Plaintiff also offered to provide additional applicable information
                                                   “B.”
about his beliefs to CENTENE upon request. See Ex. "B."
         31.      Because of
                  Because of CENTENE’s
                             CENTENE's expansion
                                       expansion of remote flexibility
                                                 of remote             through
                                                           flexibility through
March 2022, Plaintiff stated that remote work would be a reasonable
                                            “B.”
accommodation for CENTENE to grant. See Ex. "B."
         32.      In addition, Plaintiff stated that he would be willing to take a rapid
test for any rare occasion he would be in the office setting or interact with another
                                                                           “B.”
employee as well as continuing to adapt reasonable accommodations. See Ex. "B."
         33.      On November 18, 2021, Plaintiff was informed via e-mail by
                                            “WAT”) that his request for
CENTENE’s Workplace Accommodation Team (the "WAT")
CENTENE's
1
  Some conservative or Orthodox Jews hold God’s     name in
                                              God's name     such high
                                                          in such  high esteem that they cannot expose it to potential
                      – hence, they insert a dash where the "o"
erasure or defilement —                                      “o” typically goes.
_____________________________________________________________________________________________
                                                      Complaint
                                                           6
      Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 7 of 73




accommodation based on his sincerely held religious beliefs had been denied.
                that the
CENTENE alleged that the majority
                         majority of
                                  of his
                                     his stated
                                         stated views
                                                views are “non-religious beliefs"
                                                      are "non-religious beliefs”
and that philosophical, social, political, health concerns and/or personal preference
are not protected by law or a basis for
                                    for aa religious accommodation.” See Attached
                                           religious accommodation."
Exhibit “C” [a true and accurate copy of an e-mail thread concerning
Exhibit "C"
CENTENE’s denial of Plaintiff's
CENTENE's           Plaintiff’s religious exception request].
       34.    Also on November 18, 2021, Plaintiff responded to the denial e-mail
seeking clarification as to which beliefs were construed as non-religious so he
                                          “C.”
              CENTENE's concerns. See Ex. "C."
could address CENTENE’s
       35.                           (“Carlson-Kerr”), CENTENE's
              Andrea L. Carlson-Kerr ("Carlson-Kerr"), CENTENE’s Senior HR
Business Partner, responded to Plaintiff via e-mail on November 18, 2021 that his
response would be routed correctly to his ticket and also informed him that he
                                                                      “C.”
could request an appeal and/or submit additional information. See Ex. "C."
       36.    Plaintiff responded to Carlson-Kerr's
                                     Carlson-Kerr’s e-mail explaining his previous
issues relying solely on Service Now, asking for confirmation his e-mails were
being received,
being           and expressing
      received, and            his concerns
                    expressing his          that CENTENE's
                                   concerns that CENTENE’s interpretation
                                                           interpretation of his
religious beliefs as non-religious is harassing and insulting and were causing him
to question
to question CENTENE's
            CENTENE’s expressed commitment to inclusivity. See Ex. "C."
                                                                   “C.”
       37.    On November 19, 2021, Plaintiff received confirmation from Victoria
Mann, CENTENE’s
      CENTENE's Local HR Business Person, that his appeal had been received
                                 “C.”
and would be considered. See Ex. "C."
       38.    On November 23, 2021, the WAT told Plaintiff it determined that his
“religious belief/practice/observance
"religious belief/practice/observance does not rise to level of a sincerely held
religious belief warranting exemption from the COVID-19 vaccination
requirement.” See Ex. "C."
requirement."         “C.”
       39.    Plaintiff responded to this e-mail asking where his request lacked
clarity so that he could provide more detailed information and tried to establish

_____________________________________________________________________________________________
                                          Complaint
                                              7
      Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 8 of 73




                                                                       – or,
why the WAT had deemed his religious beliefs unworthy of accommodation —
                                               “C.”
for that matter, not religious at all. See Ex. "C."
       40.    After not hearing any response to his last e-mail, Plaintiff sent out
another e-mail on December 1, 2021, asking about the review process, the appeal
process, and requesting transparency in his accommodation request process as his
accommodation request is quite reasonable, yet no one will discuss with him the
                                   “C.”
reason it is being denied. See Ex. "C."
       41.    On December 2, 2021, Plaintiff received a response from the WAT
                                                                       “C.”
which told him to respond with his appeal by December 6, 2021. See Ex. "C."
       42.    Plaintiff responded on December 2, 2021 by submitting his appeal.
        “C.” In it, Plaintiff clarified how his stated beliefs are religious in nature
See Ex. "C."
and sincerely held. Id. Plaintiff also asked for clarification as to what objections
the WAT had so he could directly address the objections. Id.
       43.    In e-mails dated December 3, 2021 December 6, 2021, the WAT told
Plaintiff that his e-mails were received, welcomed him to provide more
information, and assured him that extra information would be reviewed. See Ex.
“C.” However, the WAT never answered any of the questions Plaintiff posed. Id.
"C."
       44.    The December 6, 2021 e-mail from the WAT also extended the
                                                                        “C.”
deadline for Plaintiff to submit an appeal to December 8, 2021. See Ex. "C."
       45.    On December 8, 2021, Plaintiff again expressed his frustration at not
                         was taking
being told where the WAT was taking issue
                                    issue with
                                          with his
                                               his exemption request’s
                                                   exemption request's
                                                        “C.”
expression of sincerely held religious beliefs. See Ex. "C."
       46.    Since he received no guidance from the WAT as to where its
objections lay, Plaintiff explained the Hebrew terms which may be hindering the
      ability to
WAT’s ability
WAT's         to properly
                 properly identify
                          identify his
                                   his beliefs
                                       beliefs as
                                               as religious
                                                  religious in
                                                            in nature.
                                                               nature. See Ex. "C."
                                                                               “C.”
He also explained in more depth the meaning and significance of his beliefs as
well as how and where they connect to God and religion. Id.

_____________________________________________________________________________________________
                                          Complaint
                                              8
      Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 9 of 73




       47.    On December 16, 2021, Plaintiff was informed that his appeal,
original request, supporting documents, and any new information Plaintiff
submitted, and the original determination and analysis, were reviewed by HR
Workplace Accommodations leadership and that the prior decision was upheld as
                                                                 “D” [a true and
the original determination was appropriate. See Attached Exhibit "D"
accurate copy of CENTENE’s
                 CENTENE's e-mail to Plaintiff informing him that his appeal had
been denied]. The WAT also declared this determination final. Id.
       48.    Plaintiff was given the ultimatum to remain unvaccinated and be
faced with disciplinary action (termination on February 4, 2022) or make
                                                             “D.”
immediate plans to receive the COVID-19 vaccination. See Ex. "D."
       49.    On
              On January
                 January 5, 2022, Plaintiff
                         5, 2022,           was notified
                                  Plaintiff was notified that
                                                         that he
                                                              he was
                                                                 was "in
                                                                     “in violation
                                                                         violation of
                                                                                   of
Centene’s COVID-19
Centene's COVID-19 Vaccination Policy,”
                               Policy," that his last day was to be January 27,
2022, and he was to be terminated on February 4, 2022. See Attached Exhibit “E”
                                                                    Exhibit "E"
[a true and accurate copy of the letter notifying Plaintiff of his firing].
       50.    On February 27, 2022, CENTENE announced its expansion of
workplace flexibility, offering employees the very option that Plaintiff had
                                       – namely, the ability to work remotely.
proposed as a reasonable accommodation —
       51.    CENTENE later announced on October 10, 2022, eight months after
terminating Plaintiff’s             that based
            Plaintiff's employment, that based on CENTENE’s enhanced
                                               on CENTENE's
flexibility and current COVID environment, CENTENE would no longer require
proof of vaccination for COVID-19 as a condition of employment.
       52.    Plaintiff also has a recording of a phone call from November 8, 2021,
in which Raymond Kleeman ("Kleeman"),
                         (“Kleeman”), CENTENE’s Vice President
                                      CENTENE's Vice           of HR,
                                                     President of HR,
strongly suggested that to receive an exemption for religious reasons was
extremely rare and that an employee such as Plaintiff would have to demonstrate
that he had never received a vaccine. Kleeman made no allowance for the
possibility that any of its employees:

_____________________________________________________________________________________________
                                          Complaint
                                              9
     Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 10 of 73




              a. Had received vaccines as a child but stopped as adults;
              b. Held religious views concerning vaccines that had evolved since
                 previously receiving vaccines as adults; and/or
              c. Did not have religious objections to vaccines in general, but did
                 have a religious objection to COVID-19 vaccines.
       53.                     termination of
                     CENTENE’s termination
              Due to CENTENE's             of his employment and difficulty in
obtaining comparable employment with another employer, Plaintiff has suffered
the following monetary damages:
              a. Loss of monthly salary of $24,000;
              b. Retirement plan of $1,400 per month; and
              c. Accrued vacation time.
       54.                     termination of
                     CENTENE’s termination
              Due to CENTENE's                his employment
                                           of his            and difficulty
                                                  employment and difficulty in
                                                                            in
obtaining comparable employment with another employer, Plaintiff has suffered
the following nonmonetary damages:
              a. Distress at being denied a religious accommodation and pressured
                  into vaccination;
              b. Distress at feeling like the accommodation process was inaccurate
                  and disingenuous;
              c. Distress at being told by a professional that his religious beliefs are
                  either insincere or not religious; and
              d. Worry about and loss of sleep over losing his employment over the
                  course of months as Plaintiff attempted to obtain a religious
                  accommodation from CENTENE.
       55.    As a condition of filing the herein lawsuit, Plaintiff has obtained a
             letter from
right-to-sue letter      Oregon’s Bureau
                    from Oregon's Bureau of
                                         of Labor & Industries.
                                            Labor & Industries. That
                                                                That letter
                                                                     letter is
                                                                            is
attached hereto as Exhibit “F.”
                   Exhibit "F."
_____________________________________________________________________________________________
                                          Complaint
                                              10
     Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 11 of 73




       56.    Attached hereto as Exhibit “G” is a printout from the website
                                 Exhibit "G"
TimeandDate.com showing when the 90-day statute of limitations set forth in each
right-to-sue letter is set to expire. Plaintiff included this printout to show that he
timely filed this lawsuit in compliance with the deadline set forth in his letter.
                            FIRST CAUSE OF ACTION:
                                Violation of Title VII
                                [42 U.S.C. § 2000e-2]
                            Against Defendant CENTENE
       57.    Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       58.    Title VII of the 1964 Civil Rights Act prohibits employers from
discriminating on the basis of religion. 42 U.S.C. § 2000e-2(a)(1).
       59.                          VII, "[t]he
              For purposes of Title VII, “[t]he term
                                                term ‘employer’ means aa person
                                                     'employer' means    person
engaged in an industry affecting commerce who has fifteen or more employees for
each working day in each of twenty or more calendar weeks in the current or
preceding calendar
preceding          year …”
          calendar year      42 U.S.C.
                        ..." 42 U.S.C. §§ 2000e(b).
                                          2000e(b).
       60.    Defendant CENTENE qualifies as an employer under Title VII.
       61.    The term
              The term "religion,"
                       “religion,” for purposes of
                                   for purposes of Title VII, "includes
                                                   Title VII, “includes all
                                                                        all aspects
                                                                            aspects of
                                                                                    of
religious observance
religious            and practice,
          observance and practice, as
                                   as well
                                      well as
                                           as belief
                                              belief …”   42 U.S.C.
                                                     ..." 42 U.S.C. §
                                                                    § 2000e(j).
                                                                      2000e(j).
       62.    As a practicing religious practitioner, Plaintiff belongs to a class of
persons protected under Title VII. 42 U.S.C. § 2000e-2(a)(1).
       63.    Plaintiff has a bona fide religious belief that he cannot expose his
body to harm and must guard it against anything that could harm it. This includes
receiving the COVID-19 vaccine because of its questionable benefits coupled with
                                                Plaintiff’s ability
potential harm. Doing otherwise interferes with Plaintiff's         to connect
                                                            ability to         with
                                                                       connect with
God and fulfill his purpose of performing mitzvot and repairing the world.


_____________________________________________________________________________________________
                                          Complaint
                                              11
     Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 12 of 73




       64.    Plaintiff's
              Plaintiffs bona fide religious belief of guarding his body against
potential harm conflicted with his employment-related duty to receive a COVID-
           in accordance
19 vaccine in accordance with
                         with the
                              the OHA’s
                                  OHA's Vaccine Mandate, as none of the
COVID-19 vaccines available on the market in 2021 had sufficient data to ensure
they would
they would not
           not cause harm to
               cause harm to Plaintiff’s body.
                             Plaintiff's body.
       65.    Plaintiff informed his employer, Defendant CENTENE, of the conflict
between his religious beliefs concerning the COVID-19 vaccine and his
employment-related duty to receive a COVID-19 vaccine. See Ex. “B.”
                                                           Ex. "B."
       66.    Defendant CENTENE subjected Plaintiff to discriminatory treatment
by threatening to and then terminating his employment if he did not receive the
COVID-19 vaccine.
       67.                                                     Plaintiff's
              Defendant CENTENE made no attempt to accommodate Plaintiffs
sincerely held religious beliefs, nor did CENTENE assert to Plaintiff that
CENTENE would incur undue hardship by accommodating his beliefs.
CENTENE simply attempted to justify its denial of Plaintiff's
                                                  Plaintiffs religious exemption
                      “majority” of
request by claiming a "majority" of Plaintiff’s religious objections
                                    Plaintiff's religious            to receiving
                                                          objections to receiving the
                                                                                  the
         vaccine were
COVID-19 vaccine were "non-religious
                      “non-religious beliefs."
                                     beliefs.” See Exs. "C"
                                                        “C” and "D."
                                                                “D.”
       68.    The Supreme
                  Supreme Court has held
                          Court has held that
                                         that government
                                              government entities “should not
                                                         entities "should not
undertake to
undertake to dissect
             dissect religious
                     religious beliefs
                               beliefs …   because [they]
                                       ... because [they] are not articulated
                                                          are not             with the
                                                                  articulated with the
clarity and precision that a more sophisticated person might employ.”
                                                             employ." Thomas v.
           of Ind. Employment Sec. Div., 450 U.S. 707, 715 (1981) (Thomas).
Review Bd. of
                                         “religious beliefs
The Supreme Court has also declared that "religious beliefs need
                                                            need not
                                                                 not be
                                                                     be
acceptable, logical, consistent, or comprehensible to others in order to merit First
          protection.” Id. at 714. That principle applies with equal force in
Amendment protection."
Title VII cases. Bolden-Hardge v. Office of                               F.4th
                                         of the Cal. State Controller, 63 F.4th
           (9th Cir. 2023).
1215, 1223 (9th
_____________________________________________________________________________________________
                                          Complaint
                                              12
     Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 13 of 73




       69.    The considerable body of information discussing risks and benefits of
Plaintiff receiving the COVID-19 vaccine and referencing non-religious sources to
support that
support that discussion
             discussion absolutely
                        absolutely do
                                   do not
                                      not move
                                          move Plaintiff’s accommodation request
                                               Plaintiff's accommodation request
from the religious to philosophical, social, political, health concerns and/or
personal preference category.
       70.              CENTENE’s religious exception request form asked
              Defendant CENTENE's
Plaintiff to, among other things, detail his beliefs, explain the specific aspects of
his faith which form his objection to taking a COVID-19 vaccine, and provide
information on how his religious beliefs guided his consideration of the COVID-19
                                                                   “B.”
vaccination and how they impact other aspects of his life. See Ex. "B."
       71.                                                                      “B.”
              Plaintiff did all of those things, and did so thoroughly. See Ex. "B."
       72.                                                   – which he presented to
              Plaintiff determined, through careful research —
        – that what he knew of the COVID-19 vaccinations made it impossible
the WAT —
for him to receive it without violating his religious mandate to not expose his body
to potential harm.
       73.    Allowing harm to his body would have the unacceptable consequence
of placing Plaintiff in violation of his sincerely held religious principles.
       74.              CENTENE’s assertion
              Defendant CENTENE's assertion that
                                            that the
                                                 the majority
                                                     majority of
                                                              of Plaintiff’s
                                                                 Plaintiff's
beliefs are non-religious shows either
                                either aa careless interpretation of
                                          careless interpretation of Plaintiff’s
                                                                     Plaintiff's
explanations or a far too narrow interpretation of what is religious.
       75.    Defendant CENTENE offered Plaintiff no religious accommodations
even though reasonable accommodations were available which would have
allowed Plaintiff to continue working while serving CENTENE’s interest in
                                                    CENTENE's interest in
significantly limiting the likelihood that its employees would contract and spread
COVID-19 to CENTENE’s
            CENTENE's other
                      other employees.
                            employees.


_____________________________________________________________________________________________
                                          Complaint
                                              13
     Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 14 of 73




       76.    Defendant CENTENE would have incurred no undue hardship by
accommodating Plaintiff's
              Plaintiffs religious beliefs. Instead, Defendant CENTENE
threatened to fire Plaintiff, then followed through on those threats.
       77.    Animus toward Plaintiff's
                            Plaintiffs religious beliefs is truly what motivated
Defendant CENTENE to fire Plaintiff:
              a. Before Plaintiff submitted his accommodation request, CENTENE
                 had shown their animus towards people not vaccinated against
                  COVID-19 calling them "hosts"
                           calling them “hosts” for the virus.
                                                for the virus.
              b. It was also known within CENTENE that it rarely allowed
                  religious exemptions to the COVID-19 vaccination requirement
                  and that their standard practically disqualified anyone who went to
                 public school as they considered any previous vaccination as
                  reason to deny exemption to this vaccine requirement.
       78.    Defendant CENTENE never asserts that accommodating Plaintiff or
any of the accommodations Plaintiff offers are unreasonable or create an undue
hardship. On the contrary, Plaintiff was already working remotely, CENTENE was
in the process of expanding their ability to accommodate flexible work locations,
and within
and within the
           the same
               same year
                    year Plaintiff’s
                         Plaintiff's employment was terminated,
                                     employment was terminated, CENTENE
                                                                CENTENE
removed their vaccination requirements altogether.
       79.    Attempting to
              Attempting to comply with the
                            comply with the OHA’s Mandate is
                                            OHA's Mandate is no
                                                             no excuse:
                                                                excuse: The
                                                                        The
Mandate expressly allowed CENTENE to grant religious exemptions to its
employees and made clear that the Mandate did not prohibit CENTENE from
complying with Title VII. See Or. Admin. R. 333-019-1010(3)-(5)(a).
       80.    Based on the foregoing, Defendant CENTENE has discriminated
against Plaintiff in violation of Title VII.


_____________________________________________________________________________________________
                                          Complaint
                                              14
     Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 15 of 73




                           SECOND CAUSE OF ACTION:
             Violation of State Law Prohibiting Religious Discrimination
                                 [ORS 659A.030(1)(a)]
                            Against Defendant CENTENE
       81.     Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       82.     Like Title VII, ORS 659A.030(1)(a) prohibits employers from
discharging individuals from employment on the basis of religion.
       83.     Because Oregon's
               Because Oregon’s state
                                state law
                                      law prohibiting
                                          prohibiting employers
                                                      employers from
discriminating on the basis of religion is modeled after Title VII, and because the
analysis for religious discrimination claims under both statutes is identical [see
Hedum v. Starbucks Corp., 546 F. Supp. 2d 1017, 1022 (D. Or. 2008)], Plaintiff
declines to restate the facts as set forth in his first cause of action, as those facts are
already incorporated as though fully set forth herein.
       84.     Under 42 U.S.C. § 2000e-7, nothing in 42 U.S.C. § 1981a(b)(3),
which caps the amount of non-pecuniary and punitive damages that can be
                      “shall be
awarded to Plaintiff, "shall be deemed
                                deemed to
                                       to exempt
                                          exempt or relieve any
                                                 or relieve     person from
                                                            any person from
liability, duty, penalty, or punishment provided by any present or future law of any
State[.]”
State[.]" In
          In other words, an
             other words, an Oregon jury is
                             Oregon jury is free to exceed
                                            free to        any applicable
                                                    exceed any applicable federal
                                                                          federal
dollar limit in accordance with Oregon law.
       85.     Under Oregon law, a jury may award up to $500,000 in noneconomic
damages. See ORS 31.710(1). Oregon
                            Oregon law defines "noneconomic
                                   law defines “noneconomic damages"
                                                            damages” to
                                                                     to
include "subjective,
include “subjective, nonmonetary
                     nonmonetary losses,
                                 losses, including
                                         including but
                                                   but not
                                                       not limited
                                                           limited to
                                                                   to …   mental
                                                                      ... mental
suffering, emotional
suffering,           distress, …
           emotional distress, ... inconvenience and interference
                                   inconvenience and interference with
                                                                  with normal
                                                                       normal and
                                                                              and
                                    employment." ORS
usual activities apart from gainful employment.”     31.705(2)(b)
                                                 ORS 31.705(2)(b)
       86.     As stated supra, Plaintiff has endured mental suffering and emotional
distress due to CENTENE's unlawful discrimination
                CENTENE’s unlawful discrimination against
                                                  against her.
_____________________________________________________________________________________________
                                          Complaint
                                              15
     Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 16 of 73




       87.    ORS 659A.885(3) allows for punitive damages against employers
such as Defendant CENTENE who violate ORS 659A.030(1)(a). Oregon law
places no cap on punitive damages. See Smith v. Ethicon, Inc., 2022 U.S. Dist.
98543 at *2 (D. Or. June 2, 2022).
       88.    Based on the foregoing, in addition to violating Title VII, Defendant
CENTENE has violated ORS 659A.030(1)(a).
                          THIRD CAUSE OF ACTION:
                   Aiding and Abetting Religious Discrimination
                              [ORS 659A.030(1)(g)]
                   Against Defendants DOES 1  1 THROUGH 50
       89.    Plaintiff refers to and hereby incorporates the foregoing paragraphs as
though fully set forth herein.
       90.    ORS 659A.030(1)(g) prohibits any person from aiding and abetting an
employer from engaging in employment discrimination.
       91.    In their roles as members of Defendant CENTENE’s
                                                     CENTENE's WAT,
Defendants DOES
Defendants DOES 11 THROUGH
                   THROUGH 50 (the "DOES")
                           50 (the “DOES”) —
                                           – whose identities have yet to
be determined, and whom Plaintiff intends to add as Defendants after learning their
                             – acted in concert with, or gave substantial assistance
identities through discovery —
to, CENTENE in unlawfully discriminating against Plaintiff on account of his
religion. The DOES did this knowing that it was unlawful for CENTENE, as
Plaintiff's
Plaintiffs employer, to engage in religious discrimination against Plaintiff.
       92.    Because Defendant CENTENE carried out its religious discrimination
against Plaintiff with the assistance of the DOES, the Court should hold the DOES
individually and personally liable for their conduct.
                                PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays for judgment against Defendants CENTENE
and DOES 1 THROUGH 50 as follows:
_____________________________________________________________________________________________
                                          Complaint
                                              16
     Case 3:23-cv-00763-AR       Document 1      Filed 05/24/23    Page 17 of 73




                          ON ALL CAUSES OF ACTION:
       1.     For economic damages in an amount according to proof at trial;
       2.     For non-economic damages in an amount according to proof at trial;
       3.     For punitive damages in an amount according to proof at trial;
       4.     For attorney's
              For attorney’s fees and costs
                             fees and       associated with
                                      costs associated with bringing
                                                            bringing and maintaining
                                                                     and maintaining
this action in accordance with the law; and
       5.     For such other and further relief as the Court may deem proper.

Dated: May 24, 2023                        PACIFIC JUSTICE INSTITUTE

                                           __/s/ RAY D. HACKE
                                             /s/ RAY    HACKE________
                                           Ray D. Hacke
                                           Attorney for Plaintiff
                                           KERRY GOLDSTEIN




_____________________________________________________________________________________________
                                          Complaint
                                              17
Case 3:23-cv-00763-AR   Document 1   Filed 05/24/23   Page 18 of 73




EXHIBIT “A”
EXHIBIT "A"
  Case 3:23-cv-00763-AR           Document 1      Filed 05/24/23                Page 19 of 73




September 28, 2021

This week, get a preview of Centene's
                                       upcoming employee engagement surveys, find details
on the recently announced Fresh Perspective on
                                                  Flexibility, and watch the playback of the Real
Talk on Authentic Allyship if you missed the live event.




G      OV responsibility.
                                                                                      141



                                                          Sfl,           1, 1        - -
Question of the week: How do unvaccinated
individuals serve as a host for COVID-19?

                                                                         ,0114[1,a


 To understand the impact of unvaccinated              111 Lilli LIN T                      I
 individuals spreading a virus compared to a
 vaccinated person, watch this two-minute
 video with Dr. Mary Mason, SVP and Chief
                                                      Dr. Mary Mason discusses why unvaccinated
 Medical Officer of Centene Health initiatives.
                                                      individuals are at a much higher risk of becoming
 For.additional details, explore the vaccine
                                                      infected with COVID-19.
 guide developed by the Centene Institute for
 Advanced Health Education, which can be
 found on the COVID-19 and CDC Resources
 page of Working From Here.




                             I.
                                        I
                                                                                 go
Case 3:23-cv-00763-AR   Document 1   Filed 05/24/23   Page 20 of 73




EXHIBIT “B”
EXHIBIT "B"
             Case 3:23-cv-00763-AR                Document 1            Filed 05/24/23   Page 21 of 73

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                      Request for Religious COVID-19 Vaccination Exemption
                                                 (For Employee Completion)

                                           download and
                                    Please download and complete this form.
                                                                      form.


                                  Statement on Employee Vaccination

   Because we are deeply committed to protecting the health and safety of our workforce, reducing the
   spread of COVID-19, and protecting the vulnerable populations we serve, Centene employees are
   required to provide proof of COVID-19 vaccination as a condition of employment. As a leading
   healthcare enterprise, we rely on scientific data and medical experts to make decisions that foster a
   healthy and safe working environment for our workforce and the members we serve. We know from
   these experts and our own experience that vaccinations are the safest, most effective, and most
   powerful tool we have to reduce the spread of COVID-19 and that the vaccines currently in use are the
   safest ever developed. Vaccination is a clear and proven way to protect each other from severe illness,
   hospitalization, and death. Vaccination will also help us stop the Delta variant and prevent the next
   variant which could be far worse.

   We understand that there may be individual situations that prohibit an employee from becoming
   vaccinated due to medical circumstances or religious beliefs. Where such circumstances exist we will
   attempt to identify an accommodation that permits the employee to remain employed without being
   vaccinated.


            This form covers exemptions and accommodations related to Religious Beliefs.

   Please complete this form at least 8 weeks prior to your Return to In-Person Engagement date and
   submit it on the Request Central HR Vaccination Page. The HR Workplace Accommodation team will
   email you with any next steps. Full instructions for completing the form can be found below.




   Request for Religious COVID-19 Vaccination Exemption |I 09/17/2021
                                                           09/17/2021                            Page 1 of 6
             Case 3:23-cv-00763-AR                Document 1            Filed 05/24/23   Page 22 of 73

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                      Request for Religious COVID-19 Vaccination Exemption
                                                 (For Employee
                                                 (For Employee Completion)
                                                               Completion)


   When to Request an Exemption


   Requests are reviewed on a priority basis determined by your Return to In-Person Engagement date.
   Please submit your request at least 8 weeks prior to your Return to In-Person Engagement date to
   ensure a timely review process.

   Instructions to Submit the Completed Exemption Form to the HR Workplace
   Accommodations Team
   Complete and save this form. Submit the completed form through Request Central as follows:
      1. Go to the Request Central HR Vaccination Exemption page
      2. Place your name in the “Requested      For” field, if not automatically
                                  "Requested For"                                loaded
                                                                   automaticallyloaded
      3. Select the type of vaccine exemption request form being       submitted
                                                                  beingsubmitted
      4. In the “Description”
                "Description" field, indicate the type of vaccination exemption you seek
         and any other pertinent information
      5. Select “Add  Attachment” to upload your completed exemption form from a saved computer file
                "Add Attachment"
      6. Submit

   Next Steps after Submission
   The HR Workplace Accommodation Team will review your completed form and notify you by email
   from Service Now whether your stated religious beliefs exempt you from the vaccination
   requirement and what, if any, accommodation will be offered to you. Should additional
   information or a phone call be necessary to make a determination on your eligibility for an
   exemption and/or accommodation, you will be contacted.

   If Your Request is Approved
   If your request for an exemption and accommodation is approved, you and your People Leader with
   both be notified. You and your People Leader should connect to determine what additional actions are
   needed to implement the approved accommodation(s).

   If Your Request is Denied
   If your request for an exemption and/or accommodation is denied, you will be need to be fully
   vaccinated to continue your employment. Additional information as to timing and other requirements
   will be provided in connection with the denial.




   Request for Religious COVID-19 Vaccination Exemption |I 09/17/2021
                                                           09/17/2021                            Page 2 of 6
              Case 3:23-cv-00763-AR                Document 1            Filed 05/24/23   Page 23 of 73

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                       Request for Religious COVID-19 Vaccination Exemption
                                                  (For Employee Completion)


          Kerry Goldstein
    Name: _______________________________                                        CN131872
                                                                   Employee ID#: ___________________________
               Manager, Special Projects
    Job Title: _____________________________                       LOB/Health Plan: All/Oregon Market - Trillium/HN
                                                                                    _________________________



    Job Specific Information
                                      Oregon
   1. In what state do you live/work? ___________________________________________________

    2. Are you a candidate who has accepted a job offer, but has not yet started? ☐0 Yes ☐
                                                                                         0✔ No
       If yes, provide your target Start Date and skip to Question 5. _____________

   3.   Prior to COVID-19, was your job remote (meaning that your primary work location was your home,
            "field")? ☐
        not “field”)? 0 Yes ☐0✔ No

    4. What date has your People Leader communicated as your Return to In-Person Engagement date
                                                        11/15/2021 or 3/2022
       (which includes your return to field work date)? ____________________
       Note: Answer “n/a”
                     "n/a" if you have not yet been informed of your Return to In-Person Engagement
       date.

   Inquiry/Screening

    5. Have you received the COVID-19 vaccination? ☐
                                                   0 Yes ☐
                                                         0✔ No

    6. Do your job duties include working in the field where you visit a member in their home and/or a
       healthcare facility? ☐
                            0 Yes ☐0✔ No
       If yes,
        • Please explain: _____________________________________________________________
        • Frequency (for example, at least once a week): ___________________________________
        • Duration (for example, up to 1 hour for each visit): ________________________________

    7. Upon Return to In-Person Engagement, do you expect your job duties require out of town business
                                                      "field" work addressed above? ☐
       travel (excluding travel from site to site for “field”                       0 Yes ☐
                                                                                          0
                                                                                          ✔ No

        If yes,
              •   Please explain: _____________________________________________________________
              •   Mode (for example, air travel): ________________________________________________
    8. Since the age of 18, have you received any vaccination(s), including flu shot(s)? ☐
                                                                                         0✔ Yes ☐
                                                                                                0 No

    9. Since the age of 18, have you taken any over-the-counter or prescription medication? ☐
                                                                                            0✔ Yes ☐
                                                                                                   0 No




    Request for Religious COVID-19 Vaccination Exemption |I 09/17/2021
                                                            09/17/2021                               Page 3 of 6
             Case 3:23-cv-00763-AR                Document 1            Filed 05/24/23     Page 24 of 73

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   Religious Belief(s)
   There is no single factor that determines whether someone's
                                                     someone’s religious beliefs require recognition and
   accommodation under applicable federal and/or state law. Your responses to these questions will assist
   us in determining whether you will be exempt from the vaccination requirement so providing complete
   and detailed responses is important.

   10. Provide a personal statement detailing the following:
           what religion you practice that forms the basis of your belief against vaccination
          >
           the beliefs and practices of your religion
          >
           how long you have embraced the beliefs/practices
          >
           when, where and how often you participate in services or other observances
          >
           other ways in which you practice your religion
          >
        Please see the attached document. Not enough space here. Answers based upon a prior version of these questions.
        Please let me know any additional applicable informaiton you may need.




   11. Provide an explanation of the specific aspects of your religious belief(s), practice(s), or
       observance(s) that form(s) your objection to receiving a COVID-19 vaccine.
        Please see the attached document. Not enough space here. Answers based upon a prior version of these questions.
        Please let me know any additional applicable information you may need.


   12. Provide information on how your religious beliefs guided your consideration of COVID-19
       vaccination and how they impact other aspects of your life.
        Please see the attached document. Not enough space here. Answers based upon a prior version of these questions.
        Please let me know any additional applicable information you may need.




   13. If you are in a member-facing role, please explain whether your religious beliefs prevent you from
       encouraging members to get vaccinated against COVID-19 and/or engaging in other preventative
       health measures.
        I am currently engaged in meetings that discuss how to increase outreach for member vaccination and applicable
        reporting. My beliefs have to do with the indivdual making a choice for themselves. Giving members information on
        COVID vaccination sites so they can make their own choices does not conflict.


   14. Regardless of your role, please explain whether your religious beliefs prevent you from supporting
           Company’s commitment to improve the health of the community including the promotion of
       the Company's
       preventative health measures such as vaccinations.
        No, I am not aware of any conflict. I think we likely have the same end goal regarding that vision.




   Request for Religious COVID-19 Vaccination Exemption |I 09/17/2021
                                                           09/17/2021                                  Page 4 of 6
              Case 3:23-cv-00763-AR               Document 1            Filed 05/24/23   Page 25 of 73

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   Reasonable Accommodation(s)

   If the information you submit meets the legal standards under applicable federal and/or state law to
   qualify for an exemption from the vaccination requirement, the next step is to determine whether
   there is a reasonable accommodation that will permit you to perform your role and/or remain
   employed. Please respond to the following questions to assist in that determination. The
   determination of what, if any, accommodation you are offered will depend on a variety of factors.

   15. Has your People Leader indicated when you and/or your team Returns to In-Person
       Engagement if you will be offered some form of flexible work arrangement where you will be able
                                                  ☐Yes ☐No
       to work at home/remotely part of the time? DYes    ON°
                                                          ✔



                                                                                   ☐Yes
   16. Are you requesting to work from home full-time in lieu of being vaccinated? DYes
                                                                                   ✔    ☐No
                                                                                        ON°

   17. What reasonable accommodation do you propose that will permit you to perform the essential
       functions of your role (or another role for which you are qualified with or without a reasonable
       accommodation), will protect the health and safety of our workforce, reduce the spread of COVID-
       19, and protect the vulnerable populations we serve?
       The company has currently expanded remote flexibility through March 2022. That strikes me as a reasonable
       accomodation. If I am needed in the office setting I am OK with taking a rapid test on those rare occasions and
       masking similarly to any other employee. I am open to continuing to adapt accomodations that are reasonable.




   18. If we cannot accommodate your request in your current role, are you willing to accept an unpaid
                         ☐Yes ☐No
       leave of absence? DYes ON°
                              ✔




   Documentation
   Please attach any applicable documentation in support of the answers provided above.


   Attestation
   By submitting this form, I attest to the following:

         •   My religious belief(s) and practice(s), which are the basis for my request for a religious
              accommodation, are sincerely held.
         •   All statements and information provided in support of my request are accurate and true. I
              have answered all questions fully and completely to the best of my ability and my responses
              represent my actual views and beliefs.
         •   I understand that any false or misleading statements made on this form or at any point in
              the COVID-19 vaccine exemption process may lead to disciplinary action, up to an including
              termination of my employment.
         •   If asked to provide additional information or documentation in support of my request for
              religious exemption and accommodation, I will cooperate with those requests fully and
              promptly, to the best of my abilities.



   Request for Religious COVID-19 Vaccination Exemption |I 09/17/2021
                                                           09/17/2021                                Page 5 of 6
              Case 3:23-cv-00763-AR               Document 1            Filed 05/24/23   Page 26 of 73

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         •   If I am approved for an exemption from the vaccination requirement, I understand that the
              Company will attempt to provide an accommodation that permits me to perform my job or
              otherwise remain employed. I further understand that I may not be offered my preferred
              accommodation and, consistent with applicable laws, the Company may not be able to
              provide an accommodation if doing so would create an undue hardship or otherwise fall
              outside the relevant standards for job protection.
         •   I understand that if I am not granted an exemption, and I decide not to become fully
              vaccinated, my employment will be terminated.
         •   I understand that if I am found to be eligible for an exemption but the Company is not able
              to provide an accommodation due to undue hardship, and I decide not to become fully
              vaccinated, my employment will be terminated.
         •   I understand that once granted, an accommodation remains subject to review and may be
              altered or discontinued if it does not effectively permit me to perform my job or if a change
              in business circumstances renders the accommodation unreasonable or unworkable.
         •   If my beliefs change or I receive information which would permit me to become fully
              vaccinated against COVID-19, I will inform my People Leader.
         •   I may withdraw my request for an exemption from the vaccination requirement at any time
              without being subject to disciplinary action or retaliation for doing so.


                        Kerry Goldstein
    Employee Signature: ___________________________                             10/8/21
                                                                          Date: __________________________




   Request for Religious COVID-19 Vaccination Exemption |I 09/17/2021
                                                           09/17/2021                            Page 6 of 6
           Case 3:23-cv-00763-AR                 Document 1           Filed 05/24/23         Page 27 of 73




 What   religion do
 What religion        you practice
                   do you  practice that
                                     that forms
                                          forms the
                                                  the basis  of your
                                                      basis of  your belief
                                                                     belief against
                                                                             against vaccination?
                                                                                      vaccination?
II have
   have aa practice
           practice including
                     including beliefs  that help
                                beliefs that help to
                                                   to connect
                                                      connect meme with  G-d and
                                                                    with G-d  and provide     support, moral
                                                                                    provide support,    moral training,
                                                                                                              training,
 character   insight and
 character insight    and reverence,   along with
                          reverence, along    with aa sense
                                                      sense of
                                                             of connection
                                                                connection toto the
                                                                                the creator.   My beliefs
                                                                                     creator. My           are
                                                                                                   beliefs are
 constantly
 constantly evolving    forward similar
              evolving forward    similar to
                                          to Tshuva
                                             Tshuva (Judaism)
                                                      (Judaism) as
                                                                 as representative
                                                                    representative of of aa process  for personal
                                                                                            process for  personal
 correction.   Many of
 correction. Many     of my
                         my beliefs  are individualized,
                             beliefs are individualized, unique
                                                          unique and   sincerely adopted
                                                                   and sincerely   adopted to to guide
                                                                                                 guide my
                                                                                                       my moral
                                                                                                           moral and
                                                                                                                   and
 ethical
 ethical decisions.   The beliefs
          decisions. The   beliefs are
                                   are often
                                       often informed
                                              informed and
                                                         and guided
                                                              guided by  Jewish concepts
                                                                      by Jewish   concepts or or adopted
                                                                                                 adopted and   tailored
                                                                                                          and tailored
 from other
 from  other religions
               religions or systems. Those
                         or systems.   Those beliefs
                                              beliefs do  not form
                                                       do not form aa general
                                                                      general argument
                                                                               argument against      vaccination. The
                                                                                            against vaccination.   The
 beliefs  form the
 beliefs form   the basis  of my
                     basis of my objection   to injection
                                  objection to  injection from
                                                           from the
                                                                 the Pfizer,
                                                                     Pfizer, Moderna
                                                                             Moderna or     J&J currently
                                                                                        or J&J   currently available
                                                                                                           available
 Covid-19
 Covid-19 products.
            products.

 Explain in
 Explain in detail
            detail why
                   why you
                        you are
                             are requesting
                                 requesting this
                                            this religious
                                                 religious exemption
                                                            exemption and
                                                                      and the
                                                                            the religious
                                                                                religious principle(s)
                                                                                           principle(s) that
                                                                                                        that
 guide your
guide  your objection
             objection to
                        to vaccination.
                           vaccination.
II am
   am requesting  the religious
      requesting the            exemption because
                      religious exemption            injection from
                                           because injection   from any
                                                                    any of the Pfizer,
                                                                        of the  Pfizer, Moderna
                                                                                        Moderna or   J&J
                                                                                                  or J&J
 COVID19
 COVID19 products
           products would
                     would gogo against my relationship
                                against my relationship with
                                                         with G-d
                                                              G-d and
                                                                  and my  religious beliefs.
                                                                      my religious   beliefs.

The below
The       Jewish concepts
    below Jewish concepts make
                            make upup aa part
                                         part of
                                              of my  religious beliefs.
                                                 my religious           The organized
                                                               beliefs. The            religion of
                                                                            organized religion     Judaism
                                                                                                of Judaism
does not make
does not make up  the totality
               up the totality or
                               or complete
                                  complete direction    of my
                                              direction of my religious
                                                               religious beliefs
                                                                         beliefs but
                                                                                 but provides
                                                                                     provides aa significant
                                                                                                 significant
foundation for
foundation for my
               my pathway   towards my
                  pathway towards         relationship with
                                      my relationship    with G-d.
                                                              G-d.

The primary
The  primary religious
              religious principles
                        principles applicable to the
                                   applicable to the request
                                                      request for
                                                              for exemption
                                                                  exemption have  to do
                                                                             have to do with maintaining and
                                                                                        with maintaining    and
protecting
protecting mymy body
                body while   taking caution
                      while taking  caution in
                                            in what
                                               what II expose
                                                       expose myself to that
                                                              myself to that may
                                                                             may do  harm. In
                                                                                  do harm. In addition,
                                                                                              addition, II am
                                                                                                           am
obliged  to guard
obliged to  guard myself
                   myself against
                           against harm.  My G-d
                                   harm. My        given body
                                              G-d given  body and  mind are
                                                               and mind  are used to both
                                                                             used to both connect
                                                                                          connect back
                                                                                                   back toto G-
                                                                                                             G-
d
d but also to
  but also  to perform  mitzvot and
               perform mitzvot   and repair the world.
                                     repair the world.

The benefit
The  benefit of   the vaccine
              of the  vaccine in
                               in both   the long
                                   both the   long and    short term
                                                   and short      term for
                                                                       for my
                                                                           my demographic       group are
                                                                                demographic group       are unknown
                                                                                                              unknown duedue
to the
to the specificity
        specificity of  the antibodies
                     of the antibodies produced,
                                          produced, decreasing       vaccine effectiveness
                                                       decreasing vaccine      effectiveness atat preventing
                                                                                                  preventing infections
                                                                                                                 infections
(with booster
(with  booster risk   of immune
                 risk of           tolerance) hospitalizations
                         immune tolerance)       hospitalizations and    variants that
                                                                     and variants   that are  likely to
                                                                                         are likely  to escape
                                                                                                          escape the
                                                                                                                   the
specificity of
specificity    the antibodies.
            of the                This is
                     antibodies. This      in addition,
                                       is in  addition, toto an  IFR for
                                                             an IFR  for my
                                                                         my age
                                                                             age group
                                                                                  group being    .031% (Axfors,
                                                                                         being .031%       (Axfors, 2021),
                                                                                                                     2021),
with  the CDC
with the  CDC current
                current best
                          best estimate     scenario at
                               estimate scenario     at .05%
                                                          .05% (Covid-19
                                                                 (Covid-19 Pandemic
                                                                            Pandemic Planning
                                                                                        Planning Scenarios
                                                                                                   Scenarios ,2021)
                                                                                                                 ,2021) and
                                                                                                                         and
an
an overall  risk of
    overall risk     mortality currently
                  of mortality  currently being
                                             being 2.8
                                                   2.8 per   1,000,000 (Agarwala
                                                         per 1,000,000   (Agarwala et    al., 2021).
                                                                                      et al.,         If II do
                                                                                              2021). If     do end  up being
                                                                                                               end up  being
exposed
exposed toto Covid-19
              Covid-19 with
                          with different   variants it
                               different variants   it is
                                                        is possible  that mutations
                                                           possible that  mutations could      make is
                                                                                       could make     is less  infectious or
                                                                                                          less infectious or
harmful and
harmful        those rates
          and those    rates could
                             could be
                                    be even
                                        even lower.
                                               lower. What
                                                        What isis known   is that
                                                                   known is  that the
                                                                                   the immunity
                                                                                       immunity II would
                                                                                                     would develop
                                                                                                               develop
would
would be   more robust
        be more    robust and
                           and likely  significantly longer
                                likely significantly   longer lasting.
                                                                lasting.

The current
The             vaccines have
     current vaccines      have known
                                  known risks,   short and
                                          risks, short   and potential   long term
                                                              potential long  term harm
                                                                                     harm and
                                                                                            and several
                                                                                                 several unknowns
                                                                                                           unknowns
regarding    safety where
regarding safety               more research
                       where more    research isis needed.
                                                   needed. TheThe damages
                                                                  damages produced,
                                                                             produced, particularly
                                                                                          particularly atat the
                                                                                                            the vascular
                                                                                                                vascular
level
level are
      are likely   irreversible. II am
           likely irreversible.         unable to
                                    am unable    to allow
                                                    allow anan external
                                                               external entity    to decide
                                                                          entity to          the parameters
                                                                                     decide the  parameters of  of my
                                                                                                                   my
relationship
relationship with
                with G-dG-d and  to have
                            and to  have someone
                                          someone else      make this
                                                       else make   this significant
                                                                        significant decision   for me.
                                                                                     decision for   me. II am
                                                                                                           am obliged  to
                                                                                                               obliged to
through sincere
through   sincere effort     and review
                      effort and  review make     this decision
                                          make this              and not
                                                        decision and       to allow
                                                                      not to   allow any
                                                                                      any entity  to supersede
                                                                                           entity to  supersede my my
relationship
relationship as     if to
                as if  to put  themselves before
                          put themselves    before mymy relationship
                                                          relationship with   G-d. More
                                                                        with G-d.   More specifically
                                                                                           specifically the
                                                                                                         the coercion
                                                                                                              coercion
applied  to this
applied to    this medical
                   medical treatment
                              treatment and
                                          and supporting
                                               supporting application
                                                              application of  this coercion
                                                                           of this            goes against
                                                                                    coercion goes    against myself
                                                                                                              myself as
                                                                                                                      as an
                                                                                                                         an
individual
individual but    also what
             but also    what II believe is ethical
                                 believe is ethical for
                                                     for aa society
                                                            society as
                                                                    as part
                                                                       part of
                                                                             of aa core
                                                                                   core issue
                                                                                        issue of  right and
                                                                                               of right and wrong
                                                                                                              wrong and   has
                                                                                                                     and has
significant downstream
significant                    implications which
              downstream implications        which areare consequentially    morally objectionable.
                                                           consequentially morally     objectionable.

Due to
Due  to the
         the known harms, suspect
             known harms,          harms, risks
                           suspect harms,       and unknown
                                          risks and           short and
                                                    unknown short   and long term benefit
                                                                        long term  benefit II am
                                                                                              am unable
                                                                                                 unable to
                                                                                                        to
willfully expose myself
willfully expose myself to
                        to the
                           the current
                               current COVID  19 vaccination
                                       COVID 19  vaccination products
                                                             products available. To willfully
                                                                      available. To willfully expose
                                                                                              expose myself
                                                                                                     myself
          Case 3:23-cv-00763-AR                  Document 1           Filed 05/24/23     Page 28 of 73




to the
to the harms
       harms II would
                would be  going against
                       be going against my strong sincerely
                                        my strong sincerely held
                                                            held religious
                                                                 religious beliefs that help
                                                                           beliefs that help guide
                                                                                             guide my
                                                                                                   my
connection to the
connection to   the creator.
                    creator.

--   See the
     See the additional relevant information
             additional relevant             section for
                                 information section for more
                                                         more details
                                                              details on harms, risks,
                                                                      on harms, risks, etc.
                                                                                       etc.




Provide the
Provide the basis
            basis of
                  of your
                     your sincerely
                          sincerely held
                                    held religious
                                         religious belief(s),
                                                   belief(s), practice(s),
                                                              practice(s), or
                                                                           or observance(s)
                                                                              observance(s) that
                                                                                            that form(s)
                                                                                                 form(s)
your vaccination
your vaccination objection.
                 objection.

 Primary principle
 Primary principle of
                   of maintaining,
                      maintaining, protecting
                                   protecting your
                                              your body
                                                   body                    Summary
                                                                           Summary
 and taking
 and taking caution
            caution in
                    in what
                       what you
                            you expose
                                expose yourself
                                        yourself to
                                                 to that
                                                    that
 may do
 may  do harm.
         harm.

 Mishneh Torah,
 Mishneh     Torah, Human
                      Human Dispositions
                                 Dispositions 4:1
                                               4:1                         Maintenance of
                                                                           Maintenance    the body
                                                                                       of the body is
                                                                                                   is important
                                                                                                      important
 Seeing that
 Seeing    that the
                 the maintenance
                     maintenance of      the body
                                      of the body in
                                                   in aa healthy
                                                         healthy andand
 sound condition
 sound    condition isis aa God-chosen
                            God-chosen way,     for, lo,
                                          way, for,      it is
                                                     lo, it  is
 impossible
 impossible thatthat one    should understand
                     one should     understand oror know
                                                     know aughtaught of
                                                                     of
 the divine
 the   divine knowledge
               knowledge concerning        the Creator
                              concerning the   Creator when
                                                         when he  he is
                                                                     is
 sick,
 sick,
 Mishneh Torah,
 Mishneh     Torah, Human
                      Human Dispositions
                                 Dispositions 4:1
                                               4:1                         Distance yourself
                                                                           Distance yourself from
                                                                                             from things
                                                                                                  things that
                                                                                                         that may
                                                                                                              may
 it is
 it is necessary   for man
       necessary for    man to to distance  himself from
                                  distance himself   from things
                                                              things       harm
                                                                           harm
 which
 which destroy      the body,
          destroy the    body, and    accustom himself
                                 and accustom    himself in in things
                                                                things
 which
 which are    healthful and
          are healthful         life-imparting.
                           and life-imparting.
 Shulchan Arukh,
 Shulchan     Arukh, Yoreh
                       Yoreh De'ah
                                De'ah 116:1
                                       116:1                               Caution in
                                                                           Caution in exposure that may
                                                                                      exposure that may do harm
                                                                                                        do harm
 Exposed beverages
 Exposed     beverages were       forbidden by
                           were forbidden       the rabbis
                                             by the  rabbis because
                                                                because
 they feared
 they   feared that
                 that snakes
                      snakes would      have drunk
                                would have           from them,
                                              drunk from      them, and
                                                                     and
 left behind
 left           venom.
       behind venom.
 Dvarim 4:9
 Dvarim     4:9                                                            Guard against physical
                                                                           Guard against physical harm
                                                                                                  harm
 Guard    yourself and
 Guard yourself      and guard     your soul
                           guard your   soul very
                                             very much
                                                  much

 Yalkut, Sifsei
 Yalkut,  Sifsei Chachomim
                 Chachomim Chumash,
                                Chumash, Metsudah
                                            Metsudah
 Publications, 2009
 Publications,   2009
 Guard   Yourself means
 Guard Yourself            look after
                   means look    after your
                                        your physical
                                             physical body.
                                                        body.
 Maimonides, Mishneh
 Maimonides,     Mishneh Torah,
                            Torah, Hilchot
                                     Hilchot Deot
                                             Deot 4:14:1                   Distance yourself
                                                                           Distance yourself from
                                                                                             from things
                                                                                                  things that
                                                                                                         that may
                                                                                                              may
 Distance oneself
 Distance           from things
            oneself from  things that
                                   that might
                                         might damage
                                                damage one’s
                                                          one's            harm
                                                                           harm
 body,
 body, and   accustom oneself
        and accustom              to aa healthy
                         oneself to     healthy lifestyle
                                                 lifestyle
 Sefer HaChinuch,
 Sefer  HaChinuch, Mitzva
                     Mitzva 546,     of putting
                               546, of  putting aa fence
                                                    fence on
                                                           on one's
                                                              one’s        Distance yourself
                                                                           Distance yourself from
                                                                                             from things
                                                                                                  things that
                                                                                                         that may
                                                                                                              may
 roof
 roof                                                                      harm
                                                                           harm
 Sefer HaChinuch
 Sefer  HaChinuch (Spain,     13th century),
                    (Spain, 13th              it is
                                    century), it is our
                                                    our
 responsibility to
 responsibility  to guard
                    guard against
                            against natural
                                     natural occurrences
                                             occurrences which
                                                             which
 may harm
 may   harm our
              our bodies
                  bodies —– not
                             not only  things that
                                 only things  that can
                                                     can end
                                                         end aa
 person’s
 person's life
           life but
                but also things that
                    also things  that can
                                        can damage
                                            damage aa person’s
                                                        person's
 body.
 body.
 Shemot 20:1
 Shemot    20:1& & Dvarim
                   Dvarim 5:65:6                                           Nothing should
                                                                           Nothing should act
                                                                                           act as
                                                                                               as an intermediary
                                                                                                  an intermediary
 You shall
 You  shall have
            have no
                  no other
                     other gods
                             gods beside    Me.
                                   beside Me.                              between
                                                                           between aa direct
                                                                                      direct connection
                                                                                             connection with
                                                                                                         with G-d
                                                                                                              G-d
          Case 3:23-cv-00763-AR                Document 1          Filed 05/24/23        Page 29 of 73




    Rashbam on
    Rashbam       Dvarim suggests
               on Dvarim  suggests that
                                   that the
                                         the prohibition
                                             prohibition is  not
                                                          is not        and no angel
                                                                        and no angel or
                                                                                     or leader  should stand
                                                                                        leader should  stand in
                                                                                                             in
 intended
 intended toto suggest
               suggest that
                       that Jews
                            Jews would
                                  would consider   such man
                                          consider such  man            the way
                                                                        the     of that
                                                                            way of that direct
                                                                                        direct connect
                                                                                               connect either.
                                                                                                       either.
 made objects
 made    objects as
                 as being
                    being diving
                          diving but rather they
                                 but rather they might
                                                 might bebe used
                                                             used
 as
 as aa form
       form of
            of establishing
               establishing contact
                            contact as
                                     as opposed  to aa direct
                                        opposed to     direct
 route
 route

 Bereshit 32:29
 Bereshit 32:29
 Jacob wrestling
 Jacob wrestling with
                 with an
                      an angel
                         angel

 Shemot 7:1
 Shemot    7:1
 See II place
 See          you in
        place you in the
                     the role
                         role of
                              of God to Pharaoh..
                                 God to Pharaoh..
 Daat Zkenim
 Daat   Zkenim
  Pharaoh had
  Pharaoh    had determined   himself to
                 determined himself   to be god of
                                         be god of the
                                                   the Nile.
                                                       Nile.



 Any additional
 Any  additional relevant
                  relevant information
                              information
II am
   am not
       not aware  of any
           aware of   any research   that was
                           research that       setup and
                                          was setup        specifically looked
                                                      and specifically  looked toto examine   the safety
                                                                                    examine the    safety of
                                                                                                           of the
                                                                                                              the
 revised  type spike
 revised type  spike protein
                      protein used   in the
                                used in the vaccines.
                                            vaccines. The
                                                       The wild  type and
                                                            wild type       likely aspects
                                                                       and likely  aspects of  the spike
                                                                                            of the  spike protein  are
                                                                                                           protein are
 toxic even
 toxic even without
             without binding
                       binding toto ACE2.
                                    ACE2. The
                                          The spike
                                               spike protein
                                                     protein can   lead to
                                                              can lead   to hypertension,
                                                                            hypertension, stroke,
                                                                                            stroke, increased
                                                                                                      increased cell
                                                                                                                 cell
 growth (Suzuki
 growth  (Suzuki and
                  and Gychka,
                       Gychka, 2021),
                                  2021), impact
                                         impact on
                                                 on cardiac
                                                     cardiac vascular
                                                             vascular pericytes    (Avolio, 2020)
                                                                        pericytes (Avolio,  2020) inflammation
                                                                                                    inflammation
 (Buzhdygan
 (Buzhdygan et   al., 2020),
              et al., 2020), crosses   the blood
                               crosses the blood brain
                                                  brain barrier,  and has
                                                        barrier, and   has been   found in
                                                                           been found    in the
                                                                                            the plasma
                                                                                                 plasma and
                                                                                                          and non-
                                                                                                               non-
 classical monocytes    of  vaccinated  individuals (Ogata,  2021)   (Yogendra,
 classical monocytes of vaccinated individuals (Ogata, 2021) (Yogendra, 2021).    2021).

In the
In the past  6 months,
        past 6           the various
               months, the    various vaccines
                                       vaccines have
                                                 have added   Guillain Barre,
                                                       added Guillain            thrombosis, myocarditis
                                                                        Barre, thrombosis,     myocarditis (increase
                                                                                                            (increase
by
by aa factor
      factor of
             of 3
                3 (Barda
                   (Barda et
                          et al.,
                             al., 2021)), Bell’s palsy,
                                  2021)), Bell's        and tinnitus
                                                 palsy, and tinnitus to
                                                                      to their
                                                                          their list
                                                                                list of adverse effects,
                                                                                     of adverse  effects, and, most
                                                                                                          and, most
recently,  nephrotic syndrome
recently, nephrotic    syndrome and     glomerulonephritis are
                                   and glomerulonephritis     are being
                                                                  being investigated
                                                                          investigated as as possible
                                                                                             possible complications
                                                                                                      complications
as
as well. Reviewing the
   well. Reviewing    the VAERS
                          VAERS data
                                   data base,
                                        base, one
                                                one can see reports
                                                    can see reports of   (as of
                                                                      of (as     today) 12,366
                                                                             of today)   12,366 deaths,
                                                                                                 deaths, 46,036
                                                                                                          46,036
hospitalizations,   14,251 cases
hospitalizations, 14,251           leading to
                           cases leading    to permanent
                                                permanent disability,
                                                            disability, and  12,194 life-threatening
                                                                        and 12,194    life-threatening complications
                                                                                                        complications
related  to the
related to  the vaccine.
                vaccine. Majority
                          Majority ofof the
                                        the submissions
                                             submissions are   from service
                                                          are from   service workers     (Mclachlan, 2021).
                                                                              workers (Mclachlan,      2021). Many
                                                                                                              Many
researchers
researchers believe    that the
              believe that  the VAERS
                                  VAERS classically
                                         classically underreports
                                                     underreports and
                                                                    and aa conservative
                                                                            conservative estimate
                                                                                            estimate of
                                                                                                      of deaths
                                                                                                         deaths may
                                                                                                                 may
be  around   150  thousand   (Kostoff  et al.,
be around 150 thousand (Kostoff et al., 2021). 2021).

Vaccine deaths
Vaccine  deaths have
                 have been
                      been evaluated
                            evaluated by  Peter Schumacher
                                       by Peter Schumacher whowho performed    autopsies believed
                                                                   performed autopsies             that
                                                                                         believed that
around
around 30%
         30% performed   for individuals
             performed for   individuals who
                                         who died  shortly after
                                              died shortly       vaccination were
                                                           after vaccination were resulting from the
                                                                                  resulting from  the
vaccination. That
vaccination. That was  further validated
                   was further validated by  additional evaluators.
                                          by additional             Norway conducted
                                                        evaluators. Norway   conducted aa similar
                                                                                          similar study
                                                                                                  study
finding that
finding that of 100 deaths
             of 100         reviewed around
                    deaths reviewed   around 36%
                                              36% were
                                                    were considered
                                                         considered probable   to possible.
                                                                      probable to possible.

The Pfizer
The  Pfizer vaccine
            vaccine has
                    has been  shown to
                        been shown    to modulate
                                         modulate immune
                                                     immune response    via impact
                                                              response via  impact on   TLR4, TLR7
                                                                                    on TLR4,  TLR7 and TLR8.
                                                                                                   and TLR8.
The short
The  short and
           and long  term implications
                long term  implications have
                                         have not
                                              not been   studied, but
                                                    been studied,     are very
                                                                  but are very concerning.   The authors
                                                                                concerning. The  authors
indicated  that the
indicated that  the immune
                    immune response
                             response toto viral
                                           viral infection
                                                 infection was  reduced through
                                                            was reduced through TLR
                                                                                  TLR 77 and TLR8 but
                                                                                         and TLR8     response
                                                                                                  but response
to fungal infection  was increased  after vaccination   via TLR4 (Fohse et al., 2021).
to fungal infection was increased after vaccination via TLR4 (Fohse et al., 2021).

New data
New  data is suggesting that
          is suggesting   that variants
                               variants passing    from vaccinated
                                         passing from    vaccinated individuals
                                                                      individuals may
                                                                                  may be   more likely
                                                                                        be more         to infect
                                                                                                 likely to infect
other vaccinated individuals
other vaccinated   individuals and
                                and less
                                     less likely to infect
                                          likely to infect unvaccinated
                                                            unvaccinated individuals,
                                                                           individuals, and that those
                                                                                        and that those strains
                                                                                                         strains may
                                                                                                                 may
be vaccine specific
be vaccine  specific antibody
                     antibody resistant
                               resistant (Servellita   et al.,
                                           (Servellita et al., 2021), along with
                                                               2021), along  with producing
                                                                                  producing aa similar
                                                                                               similar viral
                                                                                                        viral load
                                                                                                              load in
                                                                                                                   in
vaccinated and
vaccinated  and unvaccinated
                 unvaccinated individuals.
                                 individuals. We
                                               We have
                                                    have also   seen examples
                                                          also seen  examples ofof highly vaccinated populations
                                                                                   highly vaccinated   populations
have significant (74%)
have significant (74%) of
                        of cases
                            cases occurring
                                   occurring in   the fully
                                              in the  fully vaccinated
                                                            vaccinated population
                                                                        population (Brown
                                                                                     (Brown et  al., 2021).
                                                                                             et al.,        This
                                                                                                     2021). This
          Case 3:23-cv-00763-AR                Document 1           Filed 05/24/23         Page 30 of 73




creates
creates both societal and
        both societal and individual implications and
                          individual implications and is
                                                      is a very recent
                                                         a very  recent development   that requires
                                                                        development that            further
                                                                                           requires further
study as
study as new strains seem
         new strains seem toto have spike protein
                               have spike protein deletions
                                                  deletions which
                                                             which could
                                                                    could help to evade
                                                                          help to evade our
                                                                                        our current  Pfizer,
                                                                                             current Pfizer,
J&J and
J&J     Moderna vaccine
    and Moderna   vaccine strategies
                           strategies (Venkatakrishnan,
                                      (Venkatakrishnan, et  al., 2021).
                                                         et al., 2021).

Charles Hoff when
Charles Hoff        measuring D-Dimer
              when measuring    D-Dimer has   noted that
                                         has noted    that it
                                                           it can
                                                              can be   significantly elevated
                                                                   be significantly  elevated days    to months
                                                                                                days to  months
after vaccination. Peter
after vaccination. Peter McCullough
                          McCullough has   noted elevated
                                      has noted               Troponin levels
                                                   elevated Troponin      levels after vaccination that
                                                                                 after vaccination   that can
                                                                                                           can last
                                                                                                                last
for weeks
for weeks or  months. Furthermore,
           or months.   Furthermore, in  the original
                                      in the           EUA filing,
                                              original EUA   filing, the
                                                                     the vaccine
                                                                          vaccine companies
                                                                                  companies planned
                                                                                                planned toto monitor
                                                                                                              monitor
safety/efficacy for
safety/efficacy for two
                    two years
                         years (through
                               (through 2023)
                                        2023) toto assure  that these
                                                   assure that    these vaccines
                                                                         vaccines are   truly safe
                                                                                   are truly  safe and
                                                                                                   and effective;    so
                                                                                                         effective; so
far, however,
far, however, only  9 months
               only 9  months have
                               have passed.
                                    passed. II am
                                               am not
                                                   not particularly
                                                        particularly sure   that side
                                                                       sure that side effects
                                                                                       effects can
                                                                                               can be   fully tracked
                                                                                                    be fully  tracked
and  researched in
and researched   in a few years,
                    a few years, some
                                 some aspects   of the
                                       aspects of   the research
                                                        research could     require necessitate
                                                                    could require   necessitate aa much
                                                                                                   much longer
                                                                                                           longer
time period
time  period (Seneff
             (Seneff && Nigh,
                        Nigh, 2021).
                              2021).



References
References

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                                                      antigen detected
                                                              detected in the plasma
                                                                       in the plasma of mRNA-1273 vaccine
                                                                                     of mRNA-1273     vaccine
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              N., Al.,  E., Author
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                                   AffiliationsFrom the
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                                                                         Institute, Lee,  G., Others,
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Breakthrough   Infections, Associated
                           Associated with  Large Public
                                       with Large Public Gatherings
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CoV-2  Spike Protein
CoV-2 Spike  Protein Alters
                      Alters Barrier
                             Barrier Function
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                                              in 2D  Static and
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SARS-CoV-2 Spike
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                   Protein Disrupts
                           Disrupts the
                                    the Cooperative    Function of
                                        Cooperative Function       Human Cardiac
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          Case 3:23-cv-00763-AR                Document 1          Filed 05/24/23         Page 31 of 73




Cells Through CD147
Cells Through CD147 Receptor-mediated
                    Receptor-mediated Signalling:
                                        Signalling: aa Potential
                                                       Potential Non-infective
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                                                           crosses the  blood—brain barrier
                                                                                    barrier in
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Case 3:23-cv-00763-AR   Document 1   Filed 05/24/23   Page 32 of 73




EXHIBIT “C”
EXHIBIT "C"
                   Case 3:23-cv-00763-AR              Document 1         Filed 05/24/23        Page 33 of 73




From:
From:                                Kerry Goldstein
                                     Kerry Goldstein <Kerry.Goldstein@TrilliumCHP.com>
                                                      <Kerry.Goldstein@TrilliumCHP.com>
Sent:
Sent                                 Friday, November
                                     Friday, November 19,
                                                        19, 2021 9:13 AM
                                                            2021 9:13 AM
To:
To:                                  Kerry Goldstein
                                     Kerry Goldstein
Subject:
Subject                              FW: Religious
                                     FW:  Religious Accommodation
                                                    Accommodation Determination
                                                                     Determination -- Kerry
                                                                                      Kerry Goldstein
                                                                                            Goldstein (205299)
                                                                                                      (205299)




From: Kerry
From:  Kerry Goldstein
             Goldstein
Sent: Friday,
Sent: Friday, November
              November 19,
                         19, 2021 9:11 AM
                             2021 9:11 AM
To: Victoria
To: Victoria Mann  <Victoria.Mann@centene.com>; Andrea
             Mann <Victoria.Mann@centene.com>;    Andrea L. L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>
                                                               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>
Cc: Kim
Cc: Kim Duerst
        Duerst <kduerst@trilliumchp.com>;
               <kduerst@trilliumchp.com>; Dawn
                                            Dawn M.
                                                 M. Atkin
                                                    Atkin <Dawn.M.Atkin@TrilliumCHP.com>
                                                            <Dawn.M.Atkin@TrilliumCHP.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Determination
                                       Determination -- Kerry
                                                        Kerry Goldstein
                                                               Goldstein (205299)
                                                                         (205299)

Glad to know
Glad to      – thanks.
        know — thanks.
Do you
Do you know  the name
        know the       of the
                 name of  the third
                              third party
                                    party Centene
                                          Centene contracted
                                                  contracted with to review
                                                             with to        the religious
                                                                     review the religious conflict
                                                                                          conflict disclosures?
                                                                                                   disclosures?

From: Victoria
From:  Victoria Mann
                Mann <Victoria.Mann@centene.com>
                      <Victoria.Mann@centene.com>
Sent: Friday,
Sent: Friday, November
              November 19,
                         19, 2021 9:09 AM
                             2021 9:09 AM
To: Kerry
To: Kerry Goldstein
          Goldstein <Kerry.Goldstein@TrilliumCHP.com>;
                    <Kerry.Goldstein@TrilliumCHP.com>; Andrea
                                                          Andrea L.  Carlson-Kerr
                                                                  L. Carlson-Kerr
<Andrea.L.CarlsonKerr@CENTENE.com>
<Andrea.L.CarlsonKerr@CENTENE.com>
Cc: Kim
Cc: Kim Duerst
        Duerst <kduerst@trilliumchp.com>;
                <kduerst@trilliumchp.com>; Dawn
                                            Dawn M.
                                                 M. Atkin
                                                    Atkin <Dawn.M.Atkin@TrilliumCHP.com>
                                                            <Dawn.M.Atkin@TrilliumCHP.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Determination
                                       Determination -- Kerry
                                                        Kerry Goldstein
                                                              Goldstein (205299)
                                                                         (205299)

 Kerry,
 Kerry,
II received
   received direct
            direct confirmation from the
                   confirmation from the team
                                         team that
                                              that they
                                                   they received
                                                        received your
                                                                 your appeal. They stated
                                                                      appeal. They stated that
                                                                                          that it
                                                                                               it will
                                                                                                  will be
                                                                                                       be reviewed next
                                                                                                          reviewed next
 week.
 week.

Thanks.
Thanks.
Victoria
Victoria

From: Kerry
From:  Kerry Goldstein
             Goldstein <Kerry.Goldstein@TrilliumCHP.com>
                       <Kerry.Goldstein@TrilliumCHP.com>
Sent: Friday,
Sent: Friday, November
              November 19,
                         19, 2021 9:06 AM
                             2021 9:06 AM
To: Victoria
To: Victoria Mann  <Victoria.Mann@centene.com>; Andrea
             Mann <Victoria.Mann@centene.com>;    Andrea L. L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>
                                                               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>
Cc: Kim Duerst <kduerst@trilliumchp.com>;   Dawn M. Atkin   <Dawn.M.Atkin@TrilliumCHP.com>
Cc: Kim Duerst <kduerst@trilliumchp.com>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Determination
                                       Determination -- Kerry
                                                        Kerry Goldstein
                                                               Goldstein (205299)
                                                                         (205299)

 HR has
 HR  has closed the ticket.
         closed the ticket. II really
                               really don’t think they
                                      don't think they use  that Service
                                                        use that Service Now
                                                                         Now system.
                                                                              system.
II am glad we
   am glad  we know   that at
               know that   at least
                               least an
                                      an individual
                                         individual received it to
                                                    received it to then
                                                                   then open it back
                                                                        open it back up
                                                                                     up or
                                                                                        or reply – II assume.
                                                                                           reply —    assume.

From: Kerry
From:  Kerry Goldstein
             Goldstein
Sent: Friday,
Sent: Friday, November
              November 19,
                         19, 2021 8:07 AM
                             2021 8:07 AM
To: Victoria
To: Victoria Mann  <Victoria.Mann@centene.com>; Andrea
             Mann <Victoria.Mann@centene.com>;    Andrea L. L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>
                                                               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>
Cc: Kim
Cc: Kim Duerst
        Duerst <kduerst@trilliumchp.com>;
               <kduerst@trilliumchp.com>; Dawn
                                            Dawn M.
                                                 M. Atkin
                                                    Atkin <Dawn.M.Atkin@TrilliumCHP.com>
                                                            <Dawn.M.Atkin@TrilliumCHP.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Determination
                                       Determination -- Kerry
                                                        Kerry Goldstein
                                                               Goldstein (205299)
                                                                         (205299)

Thanks, much
Thanks,      appreciated.
        much appreciated.


                                                                 1
                                                                 1
                    Case 3:23-cv-00763-AR                 Document 1           Filed 05/24/23         Page 34 of 73

From: Victoria
From:  Victoria Mann
                Mann <Victoria.Mann@centene.com>
                      <Victoria.Mann@centene.com>
Sent: Thursday,  November
Sent: Thursday, November 18,18, 2021
                                2021 2:59 PM
                                     2:59 PM
To: Kerry
To: Kerry Goldstein
          Goldstein <Kerry.Goldstein@TrilliumCHP.com>;
                    <Kerry.Goldstein@TrilliumCHP.com>; Andrea
                                                           Andrea L.  Carlson-Kerr
                                                                   L. Carlson-Kerr
<Andrea.L.CarlsonKerr@CENTENE.com>
<Andrea.L.CarlsonKerr@CENTENE.com>
Cc: Kim
Cc: Kim Duerst
        Duerst <kduerst@trilliumchp.com>;
                <kduerst@trilliumchp.com>; Dawn
                                             Dawn M.
                                                  M. Atkin
                                                     Atkin <Dawn.M.Atkin@TrilliumCHP.com>
                                                             <Dawn.M.Atkin@TrilliumCHP.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Determination
                                        Determination -- Kerry
                                                         Kerry Goldstein
                                                               Goldstein (205299)
                                                                          (205299)

Thanks Kerry.
Thanks  Kerry. II forwarded
                  forwarded your
                            your comments
                                 comments both to the
                                          both to the service
                                                      service now
                                                              now ticket
                                                                  ticket and to the
                                                                         and to the team
                                                                                    team handling these requests
                                                                                         handling these requests
directly.
directly.

Victoria
Victoria

From: Kerry
From:  Kerry Goldstein
              Goldstein <Kerry.Goldstein@TrilliumCHP.com>
                         <Kerry.Goldstein@TrilliumCHP.com>
Sent: Thursday,
Sent: Thursday, November
                  November 18,18, 2021
                                  2021 2:28 PM
                                       2:28 PM
To: Andrea
To: Andrea L.L. Carlson-Kerr  <Andrea.L.CarlsonKerr@CENTENE.com>
                Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>
Cc: Victoria
Cc: Victoria Mann    <Victoria.Mann@centene.com>; Kim
             Mann <Victoria.Mann@centene.com>;       Kim Duerst
                                                           Duerst <kduerst@trilliumchp.com>;
                                                                  <kduerst@trilliumchp.com>; Dawn
                                                                                             Dawn M.
                                                                                                  M. Atkin
                                                                                                     Atkin
<Dawn.M.Atkin@TrilliumCHP.com>
<Dawn.M.Atkin@TrilliumCHP.com>
Subject: RE:
Subject: RE: Religious
              Religious Accommodation
                         Accommodation Determination
                                          Determination -- Kerry
                                                           Kerry Goldstein
                                                                 Goldstein (205299)
                                                                           (205299)

II have  sent 22 messages
   have sent      messages to to Service
                                  Service Now
                                            Now onon this
                                                       this ticket
                                                            ticket and  never received
                                                                   and never    received aa reply (the first
                                                                                            reply (the  first was
                                                                                                              was 20
                                                                                                                  20 days
                                                                                                                     days ago).
                                                                                                                            ago).
 Please if
 Please   if you
             you can  verify that
                  can verify  that an
                                    an individual    has received
                                        individual has                this message
                                                           received this   message II would   very much
                                                                                      would very           appreciate it.
                                                                                                    much appreciate     it.
 The claim
 The          that what
      claim that    what II provided
                            provided waswas notnot religious
                                                   religious inin nature  is both
                                                                  nature is  both on  the surface
                                                                                  on the   surface and
                                                                                                   and atat any
                                                                                                            any interpretative
                                                                                                                interpretative and
                                                                                                                                 and personal
                                                                                                                                     personal
 level
 level incorrect.
       incorrect.
 That is
 That  is of
          of course
              course beyond
                      beyond whatwhat is
                                       is aa level
                                             level of  harassment or
                                                   of harassment      or insult to claim
                                                                         insult to        that what
                                                                                   claim that        is clearly
                                                                                               what is          expressed as
                                                                                                        clearly expressed    as personal
                                                                                                                                personal deeply
                                                                                                                                         deeply
 held religious
 held  religious belief
                   belief is
                          is in fact not
                             in fact not religious
                                           religious goes
                                                      goes beyond
                                                             beyond anything     that II would
                                                                       anything that            think Centene
                                                                                         would think  Centene and    its commitment
                                                                                                                 and its  commitment toto equal
                                                                                                                                          equal
 employment
 employment and   and inclusivity
                       inclusivity would      stand behind.
                                    would stand      behind.
 Assistance in
 Assistance    in making    sure this
                  making sure     this message
                                       message is  is received
                                                      received by    the appropriate
                                                                  by the  appropriate party
                                                                                        party would
                                                                                              would be    appreciated.
                                                                                                      be appreciated.

From: Andrea
From:  Andrea L.
               L. Carlson-Kerr
                  Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>
                               <Andrea.L.CarlsonKerr@CENTENE.com>
Sent: Thursday, November 18, 2021
Sent: Thursday,  November   18, 2021 2:15 PM
                                     2:15 PM
To: Kerry
To: Kerry Goldstein
           Goldstein <Kerry.Goldstein@TrilliumCHP.com>
                     <Kerry.Goldstein@TrilliumCHP.com>
Cc: Victoria
Cc: Victoria Mann  <Victoria.Mann@centene.com>; Kim
             Mann <Victoria.Mann@centene.com>;      Kim Duerst
                                                         Duerst <kduerst@trilliumchp.com>;
                                                                <kduerst@trilliumchp.com>; Dawn
                                                                                           Dawn M.
                                                                                                M. Atkin
                                                                                                   Atkin
<Dawn.M.Atkin@TrilliumCHP.com>
<Dawn.M.Atkin@TrilliumCHP.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Determination
                                        Determination -- Kerry
                                                         Kerry Goldstein
                                                               Goldstein (205299)
                                                                         (205299)

Hi Kerry.
Hi Kerry. With  you copying
          With you            Service Now
                     copying Service  Now on  this email,
                                           on this        it should
                                                   email, it should bebe routed to your
                                                                         routed to your ticket;
                                                                                        ticket; however,
                                                                                                however, to
                                                                                                         to be sure, you
                                                                                                            be sure, you can
                                                                                                                         can
go back
go      to the
   back to the initial Service Now
               initial Service Now denial  and click
                                    denial and       on the
                                               click on the ticket
                                                             ticket link
                                                                    link to
                                                                         to request
                                                                            request an
                                                                                    an appeal
                                                                                       appeal and/or  submit additional
                                                                                               and/or submit additional
information.
information.

Andrea Carlson-Kerr
Andrea   Carlson-Kerr
Senior HR
Senior  HR Business Partner
           Business Partner
Trillium Community
Trillium Community Health
                     Health Plan
                            Plan &
                                 & Ohana Health Plan
                                   Ohana Health Plan

Andrea.L.CarlsonKerr@Centene.com
Andrea.L.CarlsonKerr@Centene.com


Ask HP
Have HR questions? Ask HR has answers!
                              answers! Contact us using one of the easy methods below:

    •     Max — Available to chat 24/7, Max is Centene’s
                                                Centene's new virtual assistant found on CNET and Request Central. Let
           Max help maximize your day.
    •     1-833-GoAskHR — Call 1-833-462-7547 weekdays from 7:30 a.m. —     – 7 p.m. CT
                                                                      2
                  Case 3:23-cv-00763-AR             Document 1         Filed 05/24/23        Page 35 of 73
    •   Request Central — Submit an HR request any time



From: Kerry
From:  Kerry Goldstein
             Goldstein <Kerry.Goldstein@TrilliumCHP.com>
                        <Kerry.Goldstein@TrilliumCHP.com>
Sent: Thursday,
Sent: Thursday, November
                 November 18,18, 2021 1:56 PM
                                 20211:56  PM
To: ServiceNow
To: ServiceNow <cncservicenow@CENTENE.COM>;
                 <cncservicenow@CENTENE.COM>; Dawn  Dawn M. M. Atkin
                                                                Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                      <Dawn.M.Atkin@TrilliumCHP.com>; Kim
                                                                                                       Kim Duerst
                                                                                                           Duerst
<kduerst@trilliumchp.com>
<kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;        Victoria Mann
                                                                                Mann <Victoria.Mann@centene.com>
                                                                                     <Victoria.Mann@centene.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Determination
                                         Determination -- Kerry
                                                          Kerry Goldstein
                                                                Goldstein (205299)
                                                                           (205299)

 Thanks, can
 Thanks,       you please
          can you  please provide
                            provide aa breakdown
                                       breakdown of    the religious
                                                    of the religious beliefs
                                                                     beliefs expressed
                                                                             expressed and
                                                                                        and which
                                                                                            which ones you are
                                                                                                  ones you are considering  to be
                                                                                                               considering to  be
 non-religious.
 non-religious.
II provided
   provided aa significant
               significant number
                           number ofof clearly
                                        clearly expressed  religious beliefs
                                                expressed religious  beliefs along
                                                                             along with supporting references
                                                                                   with supporting references and
                                                                                                              and literature to
                                                                                                                  literature to
 validate how
 validate how those
                those religious
                       religious stances
                                 stances impact
                                           impact with  the COVID
                                                   with the COVID 1919 vaccinations,
                                                                       vaccinations, the
                                                                                     the return
                                                                                         return documentation  you provide
                                                                                                documentation you   provide may
                                                                                                                             may
 help to correct
 help to correct what   appears to
                  what appears    to be
                                     be a   mis-read or
                                         a mis-read  or interpretation  of the
                                                        interpretation of  the information
                                                                               information provided.
                                                                                           provided.

Victoria and
Victoria     Andrea can
         and Andrea     you forward
                    can you forward this
                                    this email
                                         email to
                                               to the
                                                  the appropriate agent as
                                                      appropriate agent    Service Now
                                                                        as Service     has not
                                                                                   Now has not been
                                                                                               been an
                                                                                                    an effective route
                                                                                                       effective route
of
of communication  for me.
   communication for  me.

Thank you,
Thank you,

Kerry Goldstein
Kerry Goldstein

From: ServiceNow
From:  ServiceNow <cncservicenow@CENTENE.COM>
                    <cncservicenow@CENTENE.COM>
Sent: Thursday,
Sent: Thursday, November
                 November 18,18, 2021 1:50 PM
                                 20211:50  PM
To: Kerry
To: Kerry Goldstein
          Goldstein <Kerry.Goldstein@TrilliumCHP.com>;
                     <Kerry.Goldstein@TrilliumCHP.com>; DawnDawn M.
                                                                  M. Atkin
                                                                      Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                            <Dawn.M.Atkin@TrilliumCHP.com>; Kim
                                                                                                            Kim
Duerst <kduerst@trilliumchp.com>
Duerst  <kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;       Victoria Mann
                                                                               Mann <Victoria.Mann@centene.com>
                                                                                    <Victoria.Mann@centene.com>
Subject: Religious
Subject: Religious Accommodation
                    Accommodation Determination
                                     Determination -- Kerry
                                                      Kerry Goldstein (205299)
                                                            Goldstein (205299)

Dear Kerry
Dear Kerry Goldstein,
           Goldstein,

Your religious
Your            accommodation request
      religious accommodation   request to
                                        to be
                                           be exempt
                                               exempt from Centene’s COVID-19
                                                      from Centene's COVID-19 vaccination
                                                                              vaccination requirement has
                                                                                          requirement has
been reviewed,  and a determination made  as follows:
been reviewed, and a determination made as follows:

Denial: Does
Denial:  Does Not
              Not Meet
                  Meet Legal
                        Legal Standard
                              Standard
   • The
        The information you submitted
            information you submitted in
                                       in support
                                          support of
                                                  of your
                                                     your religious
                                                          religious accommodation
                                                                    accommodation request
                                                                                  request does
                                                                                          does not
                                                                                               not meet
                                                                                                   meet the
                                                                                                        the
         legal standard.
         legal standard. The     majority of
                            The majority   of your
                                               your stated
                                                      stated views
                                                               views are
                                                                      are non-religious
                                                                          non-religious beliefs
                                                                                          beliefs under
                                                                                                  under applicable
                                                                                                         applicable state
                                                                                                                     state and
                                                                                                                           and
         federal law
         federal  law that
                       that are
                            are essentially
                                essentially philosophical,
                                            philosophical, social,
                                                               social, political,
                                                                       political, health
                                                                                  health concerns
                                                                                         concerns and/or
                                                                                                  and/or personal
                                                                                                          personal preference
                                                                                                                   preference
         that are
         that are not
                   not protected
                       protected by
                                  by law  or aa basis
                                     law or     basis for
                                                       for aa religious
                                                              religious accommodation.
                                                                        accommodation.
    •   As aa result,
         As             you are
               result, you   are not
                                 not eligible
                                     eligible for
                                                for aa religious
                                                       religious accommodation
                                                                   accommodation and and your
                                                                                          your vaccine
                                                                                               vaccine exemption
                                                                                                        exemption request
                                                                                                                    request is
                                                                                                                             is
         denied.
         denied.

Action Required
Action Required
You have
You have the
         the following
             following choices:
                         choices:
   1. If
  1.  If you
         you choose
              choose to
                      to remain
                          remain unvaccinated,
                                   unvaccinated, beyond
                                                 beyond the
                                                          the 12/31/2021
                                                              12/31/2021 deadline    communicated by
                                                                           deadline communicated      by the
                                                                                                          the Company,
                                                                                                              Company,
      you will
      you  will be
                be in
                   in violation
                      violation of
                                 of our
                                     our vaccination
                                         vaccination policy
                                                     policy which
                                                             which requires  proof of
                                                                    requires proof  of full vaccination.
                                                                                       full vaccination.
   2. You are
   2. You  are encouraged
               encouraged to to begin
                                begin the
                                       the vaccination
                                           vaccination process
                                                       process as
                                                                as soon
                                                                   soon as
                                                                        as possible,
                                                                           possible, given
                                                                                      given that
                                                                                             that it
                                                                                                  it may
                                                                                                     may take
                                                                                                         take 3-5
                                                                                                              3-5 weeks
                                                                                                                  weeks
      from the
      from  the date
                date of
                      of the
                         the first COVID-19 vaccination
                             first COVID-19    vaccination shot
                                                            shot to
                                                                 to become
                                                                    become fully   vaccinated.
                                                                             fully vaccinated.

                                                                3
                                                                3
                   Case 3:23-cv-00763-AR              Document 1          Filed 05/24/23        Page 36 of 73

             o   Should  you choose
                 Should you           to become
                              choose to  become vaccinated,
                                                 vaccinated, you
                                                             you will
                                                                  will be
                                                                       be compensated
                                                                          compensated for time taken
                                                                                      for time taken off
                                                                                                     off work
                                                                                                         work to
                                                                                                              to
                 receive your
                 receive your vaccination(s).
                               vaccination(s). Please
                                               Please schedule
                                                      schedule time
                                                               time off
                                                                     off with
                                                                         with your
                                                                              your People
                                                                                   People Leader and account
                                                                                          Leader and account for
                                                                                                             for
                 this time
                 this time using
                           using the
                                 the "COVID-Vaccine"
                                     “COVID-Vaccine” paypay code.
                                                            code.

Application to
Application to Your
               Your Business
                    Business Unit
                             Unit
Stay tuned for
Stay tuned     further updates
           for further updates and
                               and direction
                                   direction from
                                             from your
                                                   your People
                                                        People Leader
                                                               Leader as
                                                                      as your
                                                                         your leadership
                                                                              leadership team
                                                                                         team and
                                                                                              and HRBP
                                                                                                  HRBP continue
                                                                                                       continue
to apply
to apply these
         these timeframes
               timeframes specific
                           specific to
                                    to your
                                       your health
                                            health plan
                                                   plan and
                                                        and business
                                                            business unit's
                                                                     unit’s operation.
                                                                            operation.

COVID-19 &
COVID-19 & Return
           Return to
                  to Office/Field
                     Office/Field Information
                                  Information
Visit Centene's
Visit Centene’s robust
                  robust online
                          online resources  for employees
                                 resources for   employees onon CNET’s     Working From
                                                                  CNET's Working              Here &
                                                                                       From Here    & COVID-19
                                                                                                        COVID-19
Resource web
Resource   web pages
                pages for
                      for information  about the
                           information about the safety
                                                  safety of
                                                         of COVID-19
                                                            COVID-19 vaccines,
                                                                        vaccines, the
                                                                                  the importance
                                                                                      importance of
                                                                                                  of vaccination
                                                                                                     vaccination to
                                                                                                                  to
public health,
public health, company-wide
               company-wide updates,
                               updates, helpful
                                        helpful tools
                                                tools and
                                                      and details
                                                          details on
                                                                  on our
                                                                     our phased
                                                                         phased approach
                                                                                approach to
                                                                                          to returning
                                                                                             returning to
                                                                                                       to the
                                                                                                          the office
                                                                                                              office
and field
and       work with
    field work  with members.
                     members.

Sincerely,
Sincerely,

Workplace Accommodation
Workplace Accommodation Team
                        Team

Ref:MSG4501599_imGjOxxAsKdTJnlKUCdH
Ref:MSG4501599_imGjOxxAsKdTJnIKUCdH
This transmission
This  transmission (including
                    (including any
                               any attachments)
                                     attachments) may
                                                    may contain
                                                         contain confidential   information, privileged
                                                                 confidential information,                material (including
                                                                                               privileged material   (including
material protected
material   protected by  the solicitor-client
                      by the solicitor-client or
                                              or other
                                                 other applicable
                                                       applicable privileges),
                                                                   privileges), or
                                                                                 or constitute
                                                                                    constitute non-public   information. Any
                                                                                                non-public information.    Any use
                                                                                                                                use of
                                                                                                                                    of
this information
this information byby anyone
                      anyone other    than the
                              other than    the intended
                                                intended recipient
                                                          recipient is
                                                                     is prohibited.  If you
                                                                        prohibited. If  you have
                                                                                            have received  this transmission
                                                                                                  received this transmission inin
error,
error, please
        please immediately
               immediately reply    to the
                             reply to  the sender
                                            sender and
                                                    and delete this information
                                                        delete this information from
                                                                                   from your
                                                                                          your system.
                                                                                               system. Use,
                                                                                                        Use, dissemination,
                                                                                                             dissemination,
distribution,  or reproduction
distribution, or  reproduction of   this transmission
                                of this  transmission by
                                                       by unintended
                                                          unintended recipients
                                                                         recipients is
                                                                                    is not
                                                                                       not authorized
                                                                                           authorized and
                                                                                                       and may
                                                                                                            may bebe
unlawful.(*cd:20130808)
unlawful.(*cd:20130808)




                                                                  4
                                                                  4
                    Case 3:23-cv-00763-AR                 Document 1          Filed 05/24/23          Page 37 of 73




From:
From:                                   Kerry Goldstein
                                        Kerry Goldstein <Kerry.Goldstein@TrilliumCHP.com>
                                                         <Kerry.Goldstein@TrilliumCHP.com>
Sent:
Sent                                    Tuesday, November
                                        Tuesday, November 23,23, 2021
                                                                 2021 3:15 PM
                                                                      3:15 PM
To:
To:                                     Kerry Goldstein;
                                        Kerry Goldstein; Danika
                                                         Danika Duren
                                                                 Duren Goldstein
                                                                       Goldstein
Subject:
Subject                                 FW: Religious
                                        FW: Religious Accommodation
                                                      Accommodation Determination
                                                                        Determination Follow
                                                                                      Follow Up
                                                                                             Up -- Kerry
                                                                                                   Kerry Goldstein
                                                                                                         Goldstein (205299)
                                                                                                                   (205299)




From: Kerry
From:  Kerry Goldstein
             Goldstein
Sent: Tuesday,
Sent: Tuesday, November
                November 23,23, 2021
                                2021 3:11 PM
                                     3:11 PM
To: ServiceNow
To: ServiceNow <cncservicenow@CENTENE.COM>;
                 <cncservicenow@CENTENE.COM>; Dawn Dawn M.M. Atkin
                                                             Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                    <Dawn.M.Atkin@TrilliumCHP.com>; Kim   Duerst
                                                                                                      Kim Duerst
<kduerst@trilliumchp.com>
<kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;      Victoria Mann
                                                                              Mann <Victoria.Mann@centene.com>
                                                                                    <Victoria.Mann@centene.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Determination
                                        Determination Follow
                                                      Follow Up
                                                             Up -- Kerry
                                                                   Kerry Goldstein
                                                                         Goldstein (205299)
                                                                                   (205299)

Thanks, given
Thanks, given the
              the reality
                  reality of
                          of the
                             the sincerely
                                 sincerely held
                                            held beliefs
                                                   beliefs are
                                                           are also
                                                                also religious
                                                                      religious II am
                                                                                   am wondering
                                                                                       wondering where    you found
                                                                                                   where you   found the
                                                                                                                     the
documentation
documentation toto be
                   be lacking  so II can
                      lacking so     can provide
                                         provide more
                                                   more clarity.
                                                         clarity. II understand
                                                                     understand youyou are
                                                                                        are using
                                                                                            using documentation
                                                                                                   documentation provided
                                                                                                                   provided where
                                                                                                                            where II
did
did my
    my best to answer
       best to         the original
               answer the   original questions
                                      questions II was  given.. My
                                                   was given..   My thought
                                                                      thought is    since you
                                                                                is since  you are
                                                                                              are evaluating
                                                                                                  evaluating aa human  and not
                                                                                                                human and  not aa
document,
document, we
           we can
               can engage
                   engage inin an  inquiry so
                               an inquiry  so II can
                                                 can provide   the details
                                                     provide the             you may
                                                                     details you   may find
                                                                                        find to
                                                                                             to be
                                                                                                be lacking.
                                                                                                   lacking.

II would
   would assume     that at
           assume that   at minimum
                             minimum we we must
                                            must be
                                                  be on  the same
                                                      on the   same page    that the
                                                                     page that   the beliefs
                                                                                     beliefs II listed
                                                                                                listed are  religious in
                                                                                                        are religious  in nature,
                                                                                                                          nature, leading
                                                                                                                                   leading
 me to
 me   to think
         think you
                you find
                    find doubt
                         doubt in   the sincerity
                                 in the sincerity as to if
                                                  as to if II use those foundations
                                                              use those  foundations toto make
                                                                                          make decisions      in my
                                                                                                   decisions in  my life
                                                                                                                     life in other contexts.
                                                                                                                          in other  contexts.
 If that
If  that is the limitation
         is the limitation II can
                              can provide
                                  provide an
                                           an extraordinarily
                                              extraordinarily long
                                                                 long list
                                                                      list of
                                                                           of areas through which
                                                                              areas through            those beliefs
                                                                                              which those              impact.
                                                                                                               beliefs impact.

If for
If for some
       some reason   you are
              reason you     of the
                         are of the opinion that many
                                    opinion that many of  the (often
                                                       of the (often Jewish)
                                                                     Jewish) beliefs
                                                                             beliefs are not of
                                                                                     are not of aa religious  nature or
                                                                                                   religious nature   or II failed
                                                                                                                            failed
to draw
to  draw aa clear
            clear enough
                  enough connection  to how
                         connection to        that guides
                                        how that   guides my
                                                          my morality
                                                              morality and
                                                                       and connection
                                                                           connection toto G-d
                                                                                           G-d then
                                                                                               then II can
                                                                                                        can list that out
                                                                                                            list that out in   more
                                                                                                                            in more
detail.
detail.

If there
If there is
         is aa third
               third area
                     area here
                          here where
                               where II have failed to
                                        have failed to provide
                                                        provide information
                                                                information thatthat in your opinion
                                                                                     in your         goes into
                                                                                             opinion goes      the legal
                                                                                                          into the       framework
                                                                                                                   legal framework
for what
for  what is
           is considered
              considered aa Religious
                            Religious belief
                                      belief please  let me
                                             please let  me know
                                                            know as   it is
                                                                   as it is this
                                                                            this area
                                                                                 area which
                                                                                      which could
                                                                                             could be
                                                                                                   be overlooked.
                                                                                                      overlooked.

II attempted  to provide
   attempted to  provide an  applicable foundation
                          an applicable foundation of my religious
                                                   of my religious beliefs  and how
                                                                    beliefs and     those interact
                                                                                how those  interact with the world
                                                                                                    with the world as it
                                                                                                                   as it
 relates to the
 relates to the available COVID vaccines
                available COVID  vaccines and mandate. Please
                                          and mandate.  Please let
                                                                let me
                                                                    me know
                                                                        know where
                                                                              where II can
                                                                                       can provide
                                                                                           provide more  explanation.
                                                                                                   more explanation.

Thanks,
Thanks,
Kerry Goldstein
Kerry Goldstein

From: ServiceNow
From:  ServiceNow <cncservicenow@CENTENE.COM>
                    <cncservicenow@CENTENE.COM>
Sent: Tuesday,
Sent: Tuesday, November
                November 23,23, 2021
                                2021 2:50 PM
                                     2:50 PM
To: Kerry
To: Kerry Goldstein
          Goldstein <Kerry.Goldstein@TrilliumCHP.com>;
                     <Kerry.Goldstein@TrilliumCHP.com>; Dawn
                                                          Dawn M.M. Atkin
                                                                     Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                           <Dawn.M.Atkin@TrilliumCHP.com>; Kim
                                                                                                            Kim
Duerst <kduerst@trilliumchp.com>
Duerst  <kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;       Victoria Mann
                                                                               Mann <Victoria.Mann@centene.com>
                                                                                    <Victoria.Mann@centene.com>
Subject: Religious
Subject: Religious Accommodation
                    Accommodation Determination
                                     Determination Follow
                                                   Follow Up
                                                          Up -- Kerry
                                                                Kerry Goldstein
                                                                      Goldstein (205299)
                                                                                (205299)


Hi Kerry,
Hi Kerry,



                                                                      1
                                                                      1
                   Case 3:23-cv-00763-AR              Document 1          Filed 05/24/23        Page 38 of 73

Thank   you for
Thank you    for reaching
                 reaching out.
                           out. We
                                We have
                                    have carefully
                                          carefully evaluated
                                                    evaluated all
                                                               all of
                                                                    of the
                                                                       the detailed
                                                                           detailed information   you provided
                                                                                    information you    provided to to us
                                                                                                                      us in
                                                                                                                         in
support of
support  of your
            your religious
                  religious exemption   request to
                            exemption request   to determine
                                                   determine how
                                                               how your
                                                                      your stated
                                                                           stated belief/practice/observance
                                                                                   belief/practice/observance guided
                                                                                                                 guided
your COVID-19
your  COVID-19 vaccination
                    vaccination decision  and how
                                decision and  how you
                                                    you implement
                                                         implement your
                                                                      your stated
                                                                            stated belief/practice/observance
                                                                                   belief/practice/observance in  in your
                                                                                                                     your
daily life
daily life and
           and decision  making. This
                decision making.        information was
                                   This information   was then
                                                           then used
                                                                used toto determine
                                                                          determine whether
                                                                                     whether there
                                                                                               there exists
                                                                                                     exists aa sincerely
                                                                                                               sincerely
held religious
held religious belief,
                belief, as
                        as defined
                           defined by
                                   by federal
                                      federal and/or
                                               and/or applicable
                                                      applicable state
                                                                   state law,  that warrants
                                                                         law, that  warrants exemption
                                                                                             exemption from      the
                                                                                                          from the
Company’s vaccination
Company's     vaccination requirement.
                           requirement. Based
                                         Based on
                                                on the
                                                    the detailed information provided,
                                                        detailed information     provided, we
                                                                                           we determined
                                                                                               determined that
                                                                                                             that the
                                                                                                                   the stated
                                                                                                                       stated
religious belief/practice/observance
religious  belief/practice/observance does   not rise
                                       does not  rise to
                                                      to level of aa sincerely
                                                         level of    sincerely held  religious belief
                                                                                held religious  belief warranting
                                                                                                       warranting
exemption from
exemption    from the
                   the COVID-19
                       COVID-19 vaccination.
                                   vaccination. requirement.
                                                 requirement.

Thank you,
Thank you,

Workplace Accommodation
Workplace Accommodation Team
                        Team


Ref:MSG4656402_TFmtbLmYboGhHQmIOphk
Ref:MSG4656402_TFmtbLmYboGhHQmlOphk
This transmission
This  transmission (including
                    (including any
                               any attachments)
                                     attachments) may
                                                    may contain
                                                         contain confidential   information, privileged
                                                                 confidential information,                material (including
                                                                                               privileged material   (including
material protected
material   protected by  the solicitor-client
                      by the solicitor-client or
                                              or other
                                                 other applicable
                                                       applicable privileges),
                                                                   privileges), or
                                                                                 or constitute
                                                                                    constitute non-public   information. Any
                                                                                                non-public information.    Any use
                                                                                                                                use of
                                                                                                                                    of
this information
this information byby anyone
                      anyone other    than the
                              other than    the intended
                                                intended recipient
                                                          recipient is
                                                                     is prohibited.  If you
                                                                        prohibited. If  you have
                                                                                            have received  this transmission
                                                                                                  received this transmission inin
error,
error, please
        please immediately
               immediately reply    to the
                             reply to  the sender
                                            sender and
                                                    and delete this information
                                                        delete this information from
                                                                                   from your
                                                                                          your system.
                                                                                               system. Use,
                                                                                                        Use, dissemination,
                                                                                                             dissemination,
distribution,  or reproduction
distribution, or  reproduction of   this transmission
                                of this  transmission by
                                                       by unintended
                                                          unintended recipients
                                                                         recipients is
                                                                                    is not
                                                                                       not authorized
                                                                                           authorized and
                                                                                                       and may
                                                                                                            may bebe
unlawful.(*cd:20130808)
unlawful.(*cd:20130808)




                                                                  2
                                                                  2
                      Case 3:23-cv-00763-AR                   Document 1             Filed 05/24/23           Page 39 of 73




From:
From:                                      Kerry Goldstein
                                           Kerry Goldstein <Kerry.Goldstein@TrilliumCHP.com>
                                                            <Kerry.Goldstein@TrilliumCHP.com>
Sent:
Sent                                       Wednesday, December
                                           Wednesday,    December 1,1, 2021
                                                                       2021 2:40  PM
                                                                             2:40 PM
To:
To:                                        ServiceNow;   Dawn M.
                                           ServiceNow; Dawn    M. Atkin;
                                                                  Atkin; Kim  Duerst
                                                                         Kim Duerst
Cc:
Cc:                                        Andrea L.
                                           Andrea  L. Carlson-Kerr;
                                                      Carlson-Kerr; Victoria
                                                                    Victoria Mann
                                                                             Mann
Subject:
Subject                                    RE: Religious
                                           RE: Religious Accommodation
                                                         Accommodation Determination
                                                                            Determination Follow
                                                                                          Follow Up
                                                                                                 Up -- Kerry Goldstein (205299)
                                                                                                       Kerry Goldstein (205299)
Attachments:
Attachments:                               Rexemption.docx
                                           Rexemption.docx


II would like to
   would like to please follow up
                 please follow  up on my previous
                                   on my previous note,  having not
                                                   note, having not received
                                                                    received aa reply.
                                                                                reply.
II am wondering    what the  timeline here is regarding an appropriate reply and
   am wondering what the timeline here is regarding an appropriate reply and givengiven the
                                                                                        the lack
                                                                                            lack of
                                                                                                 of clear
                                                                                                    clear and timely
                                                                                                          and timely
 communication.
 communication.

Additionally, II would
Additionally,    would like to discuss
                       like to         the following
                               discuss the following questions:
                                                     questions:

     1)
     1)    Does Centene
           Does  Centene review    these internally
                            review these    internally or
                                                       or are  they contracted
                                                           are they             to aa third
                                                                     contracted to    third party?  If so
                                                                                            party? If  so who?
                                                                                                          who?
     2)
     2)    Is there
           Is there an  audit process
                    an audit            regarding how
                              process regarding           these are
                                                    how these     are processed
                                                                      processed
     3)
     3)    What
           What does
                  does an
                        an appeal
                            appeal process    look like
                                   process look    like and
                                                        and is  there one?
                                                             is there  one?
     4)
     4)   II would  like to
             would like  to see
                            see my  file, the
                                my file,  the accompanying
                                               accompanying documentation        and any
                                                                 documentation and     any specific
                                                                                           specific timestamps
                                                                                                    timestamps or
                                                                                                               or comments
                                                                                                                  comments on it
                                                                                                                           on it
           regarding   the review
           regarding the   review

II am    finding this
   am finding    this lacking
                         lacking both     sincerity and
                                   both sincerity         transparency. In
                                                    and transparency.      In an
                                                                              an effort   to provide
                                                                                  effort to            transparency II have
                                                                                             provide transparency         have attached
                                                                                                                               attached my my reasons
                                                                                                                                                reasons
 (submitted 10/8)
 (submitted     10/8) of     my sincerely
                          of my   sincerely held    religiously based
                                               held religiously   based objections.
                                                                         objections. II have
                                                                                         have not
                                                                                               not been
                                                                                                    been contacted,
                                                                                                            contacted, andand have
                                                                                                                              have received
                                                                                                                                     received only
                                                                                                                                                only
 the ambiguous
 the                   information without
       ambiguous information                      specific as
                                        without specific        to why
                                                            as to       this is
                                                                   why this  is denied,
                                                                                 denied, with   no accompanying
                                                                                          with no                      inquiry or
                                                                                                    accompanying inquiry       or clarification
                                                                                                                                   clarification
 requested.
 requested.
 It is
It  is unclear   if the
        unclear if   the denial
                           denial is   the result
                                   is the  result of  suspected sincerity
                                                   of suspected    sincerity (although
                                                                              (although II think
                                                                                            think for
                                                                                                   for those
                                                                                                       those that
                                                                                                               that know
                                                                                                                     know meme in
                                                                                                                                in reading
                                                                                                                                   reading will    find it
                                                                                                                                              will find it
 matches with
 matches             and explains
              with and     explains manymany ofof my
                                                  my choices),
                                                      choices), deciding    it is
                                                                  deciding it  is not meeting standard
                                                                                  not meeting    standard of of religion
                                                                                                                religion or  some other
                                                                                                                          or some   other reason.
                                                                                                                                            reason.
 All II know
 All    know at    this point
               at this           is II have
                          point is     have submitted
                                             submitted information
                                                         information providing
                                                                        providing what
                                                                                     what II believe
                                                                                             believe is   to be
                                                                                                       is to     the requested
                                                                                                             be the   requested information
                                                                                                                                  information to  to
 describe
 describe my my religious
                  religious objection.
                               objection. II have
                                               have received
                                                     received aa denied    notice but
                                                                   denied notice         there are
                                                                                    but there   are only    very specific
                                                                                                     only very   specific reasons
                                                                                                                           reasons this
                                                                                                                                     this can
                                                                                                                                          can be
                                                                                                                                               be
 denied.    Those denial
 denied. Those                reasons have
                      denial reasons             not been
                                          have not   been communicated,
                                                            communicated, nor   nor have
                                                                                     have II been
                                                                                             been given
                                                                                                    given aa route
                                                                                                              route to
                                                                                                                     to provide
                                                                                                                         provide additional
                                                                                                                                  additional
 information
 information to   to describe
                      describe my  my position
                                        position or
                                                  or clarify
                                                      clarify aa misunderstanding.
                                                                 misunderstanding. My  My general
                                                                                            general assumption       about how
                                                                                                      assumption about             any process
                                                                                                                             how any              like
                                                                                                                                        process like
 this would
 this          take place
        would take      place is  that the
                               is that   the documentation
                                              documentation is      assumed to
                                                                 is assumed    to be  sincere and
                                                                                   be sincere        any investigation
                                                                                               and any     investigation must
                                                                                                                           must be
                                                                                                                                 be carefully
                                                                                                                                     carefully
 documented
 documented (which  (which isis why
                                why II am     hoping request
                                         am hoping    request #4 #4 can
                                                                    can be   helpful).
                                                                         be helpful).

II am not requesting
   am not  requesting admission
                       admission into
                                 into some
                                      some special
                                            special program
                                                     program where    my application
                                                               where my    application is   evaluated for
                                                                                         is evaluated  for acceptance.
                                                                                                           acceptance. II am telling
                                                                                                                          am telling
 you about
 you about why
             why II am
                    am unable to do
                       unable to do what  the company
                                    what the  company has has requested
                                                              requested because
                                                                          because itit conflicts
                                                                                       conflicts with  my protected
                                                                                                  with my  protected religion. A
                                                                                                                     religion. A
 denial
 denial is meaningless. You
        is meaningless.  You only have certain
                             only have  certain criteria to not
                                                criteria to not reach
                                                                reach aa stage
                                                                         stage of
                                                                               of looking
                                                                                  looking forfor accommodation.    Please
                                                                                                 accommodation. Please
 communicate    those reasons
 communicate those             so we
                       reasons so we can
                                      can address   them.
                                          address them.

For everyone
For everyone on     on this
                        this thread,
                             thread, II would
                                        would ask   for your
                                                ask for your support
                                                               support inin bringing   transparency to
                                                                            bringing transparency      to this
                                                                                                           this process,
                                                                                                                process, asas II believe
                                                                                                                                 believe wewe are
                                                                                                                                              are all
                                                                                                                                                  all
called
called toto do.
             do. II do  not believe
                    do not            that just
                             believe that  just because
                                                 because aa potential   third party
                                                             potential third     party has
                                                                                       has provided
                                                                                            provided an
                                                                                                      an ambiguous
                                                                                                           ambiguous comment           regarding aa
                                                                                                                          comment regarding
denial
denial itit removes
            removes any  any obligation   to ensure
                              obligation to           that aa legal,
                                             ensure that             moral and
                                                              legal, moral   and timely
                                                                                   timely process
                                                                                           process proceeds.
                                                                                                    proceeds. ThisThis process
                                                                                                                        process hadhad brought   to
                                                                                                                                        brought to
light some
light some severe
               severe flaws
                         flaws within   the system,
                                within the  system, and
                                                      and while
                                                           while II would
                                                                     would like
                                                                             like answers
                                                                                  answers forfor myself
                                                                                                 myself II also
                                                                                                           also see
                                                                                                                 see an
                                                                                                                      an opportunity
                                                                                                                          opportunity to  to reduce
                                                                                                                                             reduce
liability that
liability  that this
                 this communication
                       communication represents
                                          represents forfor our
                                                            our broader     team members
                                                                 broader team      members and and create
                                                                                                    create aa transparent,
                                                                                                               transparent, moral,
                                                                                                                                moral, and
                                                                                                                                         and
remove      opportunities for
remove opportunities          for potential
                                   potential harassment.
                                              harassment. II also
                                                               also want
                                                                    want toto clarify  for anyone
                                                                               clarify for anyone on    this thread
                                                                                                    on this  thread that
                                                                                                                       that what
                                                                                                                            what youyou are
                                                                                                                                          are seeing
                                                                                                                                              seeing
here in
here   in this
          this process
                process is    not the
                           is not  the result
                                       result of
                                               of any mandate or
                                                  any mandate     or company      hardship, as
                                                                     company hardship,           that would
                                                                                              as that would be be addressed
                                                                                                                   addressed in      the
                                                                                                                                 in the
accommodation
accommodation stage    stage ofof the
                                  the request.   Rather, you
                                      request. Rather,    you are   seeing the
                                                                are seeing   the result
                                                                                  result of  some process
                                                                                         of some   process or or policy
                                                                                                                 policy which
                                                                                                                         which is is deliberately
                                                                                                                                      deliberately
choosing
choosing thisthis level
                   level of
                          of opaqueness
                             opaqueness and and ambiguity
                                                 ambiguity to to deny
                                                                 deny individuals
                                                                       individuals beliefs,
                                                                                      beliefs, practices,
                                                                                                practices, and    religious observance,
                                                                                                            and religious    observance,
through claim
through     claim of of an
                        an undetermined      reason. Furthermore
                            undetermined reason.      Furthermore if  if that
                                                                         that reason
                                                                                reason is
                                                                                        is clearly
                                                                                           clearly communicated
                                                                                                   communicated where  where is    the step
                                                                                                                                is the  step to
                                                                                                                                             to


                                                                            1
                                                                            1
                    Case 3:23-cv-00763-AR                 Document 1          Filed 05/24/23          Page 40 of 73
determine
determine itit is
               is not the result
                  not the  result of
                                  of aa misinterpretation
                                        misinterpretation of
                                                          of the
                                                             the document
                                                                 document provided    to ensure
                                                                             provided to        you are
                                                                                         ensure you are not
                                                                                                        not denying an
                                                                                                            denying an
individual their  ability to maintain   employment    and practice their religion.
individual their ability to maintain employment and practice their religion.

Your timely
Your timely response
            response is urgently requested.
                     is urgently requested.

Thank you,
Thank you,
Kerry Goldstein
Kerry Goldstein

From: Kerry
From:  Kerry Goldstein
             Goldstein
Sent: Tuesday,
Sent: Tuesday, November
                November 23,23, 2021
                                2021 3:11 PM
                                     3:11 PM
To: ServiceNow
To: ServiceNow <cncservicenow@CENTENE.COM>;
                 <cncservicenow@CENTENE.COM>; Dawn Dawn M.M. Atkin
                                                             Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                    <Dawn.M.Atkin@TrilliumCHP.com>; Kim   Duerst
                                                                                                      Kim Duerst
<kduerst@trilliumchp.com>
<kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;      Victoria Mann
                                                                              Mann <Victoria.Mann@centene.com>
                                                                                    <Victoria.Mann@centene.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Determination
                                        Determination Follow
                                                      Follow Up
                                                             Up -- Kerry
                                                                   Kerry Goldstein
                                                                         Goldstein (205299)
                                                                                   (205299)

Thanks, given
Thanks, given the
              the reality
                  reality of
                          of the
                             the sincerely
                                 sincerely held
                                            held beliefs
                                                   beliefs are
                                                           are also
                                                                also religious
                                                                      religious II am
                                                                                   am wondering
                                                                                       wondering where    you found
                                                                                                   where you   found the
                                                                                                                     the
documentation
documentation toto be
                   be lacking  so II can
                      lacking so     can provide
                                         provide more
                                                   more clarity.
                                                         clarity. II understand
                                                                     understand youyou are
                                                                                        are using
                                                                                            using documentation
                                                                                                   documentation provided
                                                                                                                   provided where
                                                                                                                            where II
did
did my
    my best to answer
       best to         the original
               answer the   original questions
                                      questions II was  given.. My
                                                   was given..   My thought
                                                                      thought is    since you
                                                                                is since  you are
                                                                                              are evaluating
                                                                                                  evaluating aa human  and not
                                                                                                                human and  not aa
document,
document, we
           we can
               can engage
                   engage inin an  inquiry so
                               an inquiry  so II can
                                                 can provide   the details
                                                     provide the             you may
                                                                     details you   may find
                                                                                        find to
                                                                                             to be
                                                                                                be lacking.
                                                                                                   lacking.

II would
   would assume     that at
           assume that   at minimum
                             minimum we we must
                                            must be
                                                  be on  the same
                                                      on the   same page    that the
                                                                     page that   the beliefs
                                                                                     beliefs II listed
                                                                                                listed are  religious in
                                                                                                        are religious  in nature,
                                                                                                                          nature, leading
                                                                                                                                   leading
 me to
 me   to think
         think you
                you find
                    find doubt
                         doubt in   the sincerity
                                 in the sincerity as to if
                                                  as to if II use those foundations
                                                              use those  foundations toto make
                                                                                          make decisions      in my
                                                                                                   decisions in  my life
                                                                                                                     life in other contexts.
                                                                                                                          in other  contexts.
 If that
If  that is the limitation
         is the limitation II can
                              can provide
                                  provide an
                                           an extraordinarily
                                              extraordinarily long
                                                                 long list
                                                                      list of
                                                                           of areas through which
                                                                              areas through            those beliefs
                                                                                              which those              impact.
                                                                                                               beliefs impact.

If for
If for some
       some reason   you are
              reason you     of the
                         are of the opinion that many
                                    opinion that many of  the (often
                                                       of the (often Jewish)
                                                                     Jewish) beliefs
                                                                             beliefs are not of
                                                                                     are not of aa religious  nature or
                                                                                                   religious nature   or II failed
                                                                                                                            failed
to draw
to  draw aa clear
            clear enough
                  enough connection  to how
                         connection to        that guides
                                        how that   guides my
                                                          my morality
                                                              morality and
                                                                       and connection
                                                                           connection toto G-d
                                                                                           G-d then
                                                                                               then II can
                                                                                                        can list that out
                                                                                                            list that out in   more
                                                                                                                            in more
detail.
detail.

If there
If there is
         is aa third
               third area
                     area here
                          here where
                                where II have failed to
                                         have failed to provide
                                                         provide information
                                                                 information thatthat in your opinion
                                                                                      in your         goes into
                                                                                              opinion goes      the legal
                                                                                                           into the       framework
                                                                                                                    legal framework
for  what  is considered   a Religious belief please  let me know   as it is this area which  could be overlooked.
for what is considered a Religious belief please let me know as it is this area which could be overlooked.

II attempted  to provide
   attempted to  provide an  applicable foundation
                          an applicable foundation of my religious
                                                   of my religious beliefs  and how
                                                                    beliefs and     those interact
                                                                                how those  interact with the world
                                                                                                    with the world as it
                                                                                                                   as it
 relates to the
 relates to the available COVID vaccines
                available COVID  vaccines and mandate. Please
                                          and mandate.  Please let
                                                                let me
                                                                    me know
                                                                        know where
                                                                              where II can
                                                                                       can provide
                                                                                           provide more  explanation.
                                                                                                   more explanation.

Thanks,
Thanks,
Kerry Goldstein
Kerry Goldstein

From: ServiceNow
From:  ServiceNow <cncservicenow@CENTENE.COM>
                    <cncservicenow@CENTENE.COM>
Sent: Tuesday,
Sent: Tuesday, November
                November 23,23, 2021
                                2021 2:50 PM
                                     2:50 PM
To: Kerry
To: Kerry Goldstein
          Goldstein <Kerry.Goldstein@TrilliumCHP.com>;
                     <Kerry.Goldstein@TrilliumCHP.com>; Dawn
                                                          Dawn M.M. Atkin
                                                                     Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                           <Dawn.M.Atkin@TrilliumCHP.com>; Kim
                                                                                                            Kim
Duerst <kduerst@trilliumchp.com>
Duerst  <kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;       Victoria Mann
                                                                               Mann <Victoria.Mann@centene.com>
                                                                                    <Victoria.Mann@centene.com>
Subject: Religious
Subject: Religious Accommodation
                    Accommodation Determination
                                     Determination Follow
                                                   Follow Up
                                                          Up -- Kerry
                                                                Kerry Goldstein
                                                                      Goldstein (205299)
                                                                                (205299)


Hi Kerry,
Hi Kerry,

Thank   you for
Thank you    for reaching
                 reaching out.
                          out. We
                               We have
                                  have carefully
                                        carefully evaluated
                                                  evaluated all
                                                            all of
                                                                of the
                                                                   the detailed
                                                                       detailed information  you provided
                                                                                information you  provided to  to us
                                                                                                                 us in
                                                                                                                    in
support of
support  of your
            your religious
                  religious exemption request to
                            exemption request to determine
                                                 determine how
                                                            how your
                                                                  your stated
                                                                       stated belief/practice/observance
                                                                              belief/practice/observance guided
                                                                                                            guided
your COVID-19
your  COVID-19 vaccination
                   vaccination decision and how
                               decision and how you
                                                  you implement
                                                      implement your
                                                                  your stated
                                                                        stated belief/practice/observance
                                                                               belief/practice/observance in in your
                                                                                                                your
daily life
daily life and
           and decision  making. This
               decision making.       information was
                                 This information  was then
                                                        then used
                                                             used to
                                                                   to determine
                                                                      determine whether
                                                                                 whether there
                                                                                          there exists
                                                                                                exists aa sincerely
                                                                                                          sincerely

                                                                      2
                                                                      2
                 Case 3:23-cv-00763-AR          Document 1        Filed 05/24/23      Page 41 of 73

held religious
held religious belief,
               belief, as
                       as defined
                          defined by
                                  by federal
                                     federal and/or
                                             and/or applicable
                                                    applicable state
                                                                 state law, that warrants
                                                                       law, that warrants exemption
                                                                                          exemption from   the
                                                                                                     from the
Company’s vaccination
Company's    vaccination requirement.
                          requirement. Based
                                       Based on
                                              on the
                                                  the detailed information provided,
                                                      detailed information    provided, we
                                                                                        we determined
                                                                                            determined that
                                                                                                        that the
                                                                                                             the stated
                                                                                                                 stated
religious belief/practice/observance
religious belief/practice/observance does  not rise
                                      does not rise to
                                                    to level of aa sincerely
                                                       level of    sincerely held religious belief
                                                                             held religious belief warranting
                                                                                                   warranting
exemption from
exemption   from the
                  the COVID-19
                      COVID-19 vaccination.
                                  vaccination. requirement.
                                               requirement.

Thank you,
Thank you,

Workplace Accommodation
Workplace Accommodation Team
                        Team


Ref:MSG4656402_TFmtbLmYboGhHQmIOphk
Ref:MSG4656402_TFmtbLmYboGhHQmlOphk




                                                           3
                                                           3
                  Case 3:23-cv-00763-AR             Document 1        Filed 05/24/23        Page 42 of 73


M       Gmail                                                                Kerry Goldstein <goldstein.kerry@gmail.com>



FW: Religious Accommodation Determination Follow Up - Kerry Goldstein (205299)
Kerry Goldstein <Kerry.Goldstein@trilliumchp.com>                                                  Thu, Dec 2, 2021 at 9:03 AM
To: Kerry Goldstein <goldstein.kerry@gmail.com>




 From: Kerry Goldstein
 Sent: Thursday, December 2, 2021 9:03 AM
 To: ServiceNow <cncservicenow@CENTENE.COM>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
 <kduerst@trilliumchp.com>
 Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
 Subject: RE: Religious Accommodation Determination Follow Up - Kerry Goldstein (205299)



 1 slight edit to the below.




 From: Kerry Goldstein
 Sent: Thursday, December 2, 2021 8:53 AM
 To: ServiceNow <cncservicenow@CENTENE.COM>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
 <kduerst@trilliumchp.com>
 Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
 Subject: RE: Religious Accommodation Determination Follow Up - Kerry Goldstein (205299)



 Thanks for the reply.

 Regarding the 11/23/21,
                11/23/21, not being received by the team.. I am not sure what to say
                                                                                   say other than ServiceNow was on the
                                              don’t know what happens behind
 thread and the message was in the ticket. I don't                        behind the scene to explain how that would mean
 the team did not receive it. However, it may be worth noting that if this happened here it may be happening with other
 individuals where they have sent a message and that message has no reply and the team did not receive it.



 I would like you to provide more detail as to if your denial is based on that you believe I don’t
                                                                                             don't hold what you would classify
                                                don’t feel I am sincere.
 as religious views or if the issue is that you don't

             a. As you can imagine both realms 1) my religious views 2) how this may be
                                                                                     be communicated to convince you of
                sincerity are very ambiguous without
                                             without having a more clear sense of where
                                                                                  where you find issue with what I have
                already communicated. Please also include where you do find issue, potentially why or what kind of items
                you look for..

 Example:

      1. Religious: The religious views I hold applicable to my argument I primarily placed in a very clear table and
         included information about from where those views are from and how they are personalized and applicable. I don't
                                                                                                                      don’t
         think you would argue those views are not religious in nature. So, here I am a bit lost.

 Do you need more discussion
                  discussion on how those views are part
                                                    part of my perspective
                                                               perspective on how I connect to G-d
                                                                                               G-d or do
                                                                                                      do you want to
 know more about my religious views in general..?
                  Case 3:23-cv-00763-AR           Document 1         Filed 05/24/23       Page 43 of 73
    2. Sincerity: My religious views laid out in the paper and the table make a few points and I will list a simple
       breakdown here so I my question can be more clear:
           a. A creator exists
           b. I connect to the creator through a combination of adopted perspectives but foundationally many of them
              rest from within Judaism.
           c.
           c. Part of what you do in the world is to get closer to G-d
                                                                   G-d and to repair the world (which I can go
                                                                                                             go into more
              detail has to do
                            do with an internal and external representation of the Sefirot and connecting those emanations
              back together à4 Luria.)

                                             i. Side point à 4 my sons middle name is Chesed and my prior boss when
                         asked what she could paint for him I said the Tree of Life with the Sefirot. The picture is attached
                         and Chesed is on the right side in the middle (white/yellow color).

            d. You do that with your brain/body/soul
            e. It is our duty to protect that brain body and spirit to bring those back together (as laid out in the table)
            f. No idol or person can stand in the position of G-d to remove your individual connection and judgement
               regarding your connection to G-d and completing the above (as laid out in table)
            g. For myself protecting myself is part of a risk and reward and in this case the long and short term nature of
               the decision played a role
            h. I then showed some of the information I have collected with 17 citations showing that I don't
                                                                                                           don’t take that
               religious obligation lightly and am sincere in this effort

                                               i. What additional information are you looking for here?

                                               ii. Would it help if I provide other examples of taking care of and protecting
                         my mind and body?

                                              iii. Do you want other examples of activities I do of a religious nature to
                         establish my religious views cover more areas than mitzvot/Sefirot, Teshuvah and protection
                                                                                                              protection of
                         the mind/body/soul

                                              iv. Do you want more details into my religious views on some aspect of the
                         above?



Thanks,


Kerry Goldstein




From: ServiceNow <cncservicenow@CENTENE.COM>
Sent: Thursday, December 2, 2021 7:36 AM
To: Kerry Goldstein <Kerry.Goldstein@TrilliumCHP.com>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
<kduerst@trilliumchp.com>
Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
Subject: Religious Accommodation Determination Follow Up - Kerry Goldstein (205299)



Hi Kerry,
Hi Kerry,
Thank you
Thank  you for
           for your
               your emails.
                    emails. We apologize for
                            We apologize for the
                                             the delay, as the
                                                 delay, as the Workplace
                                                               Workplace Accommodation
                                                                         Accommodation Team was not
                                                                                       Team was not
included on
included on your
            your email dated 11/23/2021.
                 email dated 11/23/2021.
Regarding the
Regarding   the appeal
                appeal process,
                        process, if  you would
                                  if you   would like  to submit
                                                  like to submit additional
                                                                   additional information
                                                                               information forfor review
                                                                                                  review on
                                                                                                          on appeal,
                                                                                                             appeal,
please do so  by  "replying all" to  this email  and  including   or attaching  any  additional
please do so by "replying all" to this email and including or attaching any additional            information
                                                                                                  information  by the
                                                                                                               by the
close of
close of business
         business onon 12/6/2021.
                       12/6/2021. Selecting     "reply all"
                                     Selecting "reply   all" will
                                                             will ensure   that your
                                                                   ensure that  your response
                                                                                      response reaches    the Workplace
                                                                                                 reaches the  Workplace
Accommodation Team.
Accommodation             Any additional
                   Team. Any    additional information
                                             information will
                                                           will be
                                                                be provided
                                                                     provided to
                                                                               to HR
                                                                                  HR Workplace
                                                                                       Workplace Accommodation
                                                                                                     Accommodation
Leadership
Leadership for
             for review  as part
                 review as  part of
                                 of our
                                     our appeal
                                          appeal process.
                                                  process. If  no additional
                                                            If no additional information
                                                                              information is is provided,
                                                                                                provided, we
                                                                                                           we will
                                                                                                              will escalate
                                                                                                                   escalate
the matter
the matter to
           to HR
               HR Workplace
                   Workplace Accommodation
                               Accommodation Leadership
                                                     Leadership for    review with
                                                                  for review   with the
                                                                                    the information
                                                                                         information already
                                                                                                       already provided.
                                                                                                                provided.
               Case 3:23-cv-00763-AR Document 1 Filed 05/24/23 Page 44 of 73
Finally, because
Finally, because this
                 this matter
                      matter has
                             has been
                                 been closed,
                                      closed, aa separate
                                                 separate matter,
                                                          matter, HR00090810,
                                                                  HR00090810, is
                                                                              is being
                                                                                 being opened
                                                                                       opened to
                                                                                              to process
                                                                                                 process your
                                                                                                         your
appeal.
appeal.
Thank you,
Thank you,
Workplace Accommodation
Workplace Accommodation Team
                        Team


Ref:MSG4897329_oxoYHaZrUmMdErmymbLQ

This transmission (including any attachments) may contain confidential information, privileged material (including material
protected by the solicitor-client or other applicable privileges), or constitute non-public information. Any use of this
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                    Case 3:23-cv-00763-AR                 Document 1          Filed 05/24/23          Page 45 of 73




From:
From:                                   Kerry Goldstein
                                        Kerry Goldstein <Kerry.Goldstein@TrilliumCHP.com>
                                                         <Kerry.Goldstein@TrilliumCHP.com>
Sent:
Sent                                    Thursday, December
                                        Thursday,  December 2,
                                                             2, 2021  9:52 AM
                                                                 2021 9:52 AM
To:
To:                                     ServiceNow;   Dawn M.
                                        ServiceNow; Dawn    M. Atkin;
                                                               Atkin; Kim  Duerst
                                                                      Kim Duerst
Cc:
Cc:                                     Andrea L.
                                        Andrea  L. Carlson-Kerr;
                                                   Carlson-Kerr; Victoria
                                                                 Victoria Mann
                                                                          Mann
Subject:
Subject                                 RE: Religious
                                        RE: Religious Accommodation
                                                      Accommodation Appeal
                                                                         Appeal Follow
                                                                                Follow Up
                                                                                       Up -- Kerry Goldstein (205299)
                                                                                             Kerry Goldstein (205299)


A point
A       of clarification
  point of               here as
           clarification here as II am
                                    am unsure
                                       unsure how to interpret
                                              how to           the second
                                                     interpret the second half
                                                                          half of your message.
                                                                               of your message.
       ‘..These
       `..These emails, along with
                emails, along with the
                                   the resubmitted
                                       resubmitted Rexemption
                                                   Rexemption document and picture
                                                              document and picture attached
                                                                                    attached to
                                                                                             to the
                                                                                                the 10:54AM
                                                                                                     10:54AM
CST email
CST  email are
           are being
               being escalated
                     escalated to
                               to HR
                                  HR Workplace
                                     Workplace Accommodations
                                                 Accommodations Leadership
                                                                 Leadership for review as
                                                                            for review  as part
                                                                                           part of
                                                                                                of the
                                                                                                   the appeal
                                                                                                       appeal
process.’
process.'

II submitted
   submitted some
             some clarifying
                  clarifying questions,
                             questions, and
                                        and not information II intended
                                            not information             to meet
                                                               intended to meet the
                                                                                the deadline
                                                                                    deadline of Monday to
                                                                                             of Monday to provide more
                                                                                                          provide more
 information.
 information.

Is it
Is it correct to believe
      correct to         that II will
                 believe that    will receive
                                      receive a
                                              a response to my
                                                response to my inquiry
                                                               inquiry prior to the
                                                                       prior to the deadline
                                                                                    deadline with then aa reasonable
                                                                                             with then    reasonable amount
                                                                                                                     amount of
                                                                                                                            of
additional  time to
additional time   to provide  the clarified
                     provide the   clarified request?
                                             request?

Similarly, if
Similarly, if the
              the response
                  response to
                           to the
                              the those
                                  those questions
                                         questions is
                                                   is after the deadline
                                                      after the          my assumption
                                                                deadline my assumption would
                                                                                       would be    that it
                                                                                               be that  it is
                                                                                                           is extended to
                                                                                                              extended to
provide
provide aa reasonable
           reasonable amount
                        amount of   time should
                                 of time should HR
                                                HR Leadership
                                                    Leadership decide  they could
                                                                decide they       use more
                                                                            could use more clarification,  along with
                                                                                           clarification, along   with
providing
providing details
            details requested in my
                    requested in my email.
                                      email.

From: Kerry
From:  Kerry Goldstein
             Goldstein
Sent: Thursday,
Sent: Thursday, December
                 December 2,2, 2021 9:34 AM
                               2021 9:34 AM
To: ServiceNow
To: ServiceNow <cncservicenow@CENTENE.COM>;
                 <cncservicenow@CENTENE.COM>; Dawn  Dawn M.M. Atkin
                                                              Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                    <Dawn.M.Atkin@TrilliumCHP.com>; Kim  Duerst
                                                                                                     Kim Duerst
<kduerst@trilliumchp.com>
<kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;      Victoria Mann
                                                                              Mann <Victoria.Mann@centene.com>
                                                                                   <Victoria.Mann@centene.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Appeal
                                        Appeal Follow
                                               Follow Up
                                                      Up -- Kerry
                                                            Kerry Goldstein
                                                                  Goldstein (205299)
                                                                            (205299)

II appreciate you looking
   appreciate you looking into
                          into it.
                               it. Please
                                   Please notice in the
                                          notice in the thread
                                                        thread attached  and what
                                                               attached and  what is
                                                                                   is posted
                                                                                      posted below  that my
                                                                                             below that     reply (3:11PM)
                                                                                                         my reply (3:11PM)
 with the inquiry
 with the         happened after
          inquiry happened          the message
                             after the  message (2:50PM)    you included
                                                 (2:50PM) you   included in your attachment.
                                                                         in your attachment. II do suspect there
                                                                                                do suspect there is
                                                                                                                 is a system
                                                                                                                    a system
 or
 or process
    process issue
            issue happening  here that
                  happening here    that could
                                         could impacting
                                               impacting other
                                                          other people.
                                                                 people.
____________________________________________________
From: Kerry
From:  Kerry Goldstein
             Goldstein
Sent: Tuesday,
Sent: Tuesday, November
                November 23,23, 2021
                                2021 3:11 PM
                                     3:11 PM
To: ServiceNow
To: ServiceNow <cncservicenow@CENTENE.COM>;
                 <cncservicenow@CENTENE.COM>; Dawn Dawn M.M. Atkin
                                                             Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                    <Dawn.M.Atkin@TrilliumCHP.com>; Kim
                                                                                                      Kim Duerst
                                                                                                          Duerst
<kduerst@trilliumchp.com>
<kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;      Victoria Mann
                                                                              Mann <Victoria.Mann@centene.com>
                                                                                    <Victoria.Mann@centene.com>
Subject: RE:
Subject: RE: Religious
             Religious Accommodation
                       Accommodation Determination
                                        Determination Follow
                                                      Follow Up
                                                             Up -- Kerry
                                                                   Kerry Goldstein
                                                                         Goldstein (205299)
                                                                                   (205299)

Thanks, given
Thanks, given the
              the reality
                  reality of
                          of the
                             the sincerely
                                 sincerely held
                                            held beliefs
                                                   beliefs are
                                                           are also
                                                                also religious
                                                                      religious II am
                                                                                   am wondering
                                                                                       wondering where    you found
                                                                                                   where you  found the
                                                                                                                    the
documentation
documentation toto be
                   be lacking  so II can
                      lacking so     can provide
                                         provide more
                                                   more clarity.
                                                         clarity. II understand
                                                                     understand youyou are
                                                                                        are using
                                                                                            using documentation
                                                                                                   documentation provided
                                                                                                                  provided where
                                                                                                                           where II
did
did my
    my best to answer
       best to         the original
               answer the   original questions
                                      questions II was  given.. My
                                                   was given..   My thought
                                                                      thought is    since you
                                                                                is since  you are
                                                                                              are evaluating
                                                                                                  evaluating a
                                                                                                             a human  and not
                                                                                                               human and  not aa
document,
document, we
           we can
               can engage
                   engage inin an  inquiry so
                               an inquiry  so II can
                                                 can provide   the details
                                                     provide the             you may
                                                                     details you   may find
                                                                                        find to
                                                                                             to be
                                                                                                be lacking.
                                                                                                   lacking.

II would
   would assume     that at
           assume that   at minimum
                             minimum we we must
                                            must be
                                                  be on  the same
                                                      on the   same page    that the
                                                                     page that   the beliefs
                                                                                     beliefs II listed
                                                                                                listed are  religious in
                                                                                                        are religious  in nature,
                                                                                                                          nature, leading
                                                                                                                                   leading
 me to
 me   to think
         think you
                you find
                    find doubt
                         doubt in   the sincerity
                                 in the sincerity as to if
                                                  as to if II use those foundations
                                                              use those  foundations toto make
                                                                                          make decisions      in my
                                                                                                   decisions in  my life
                                                                                                                     life in other contexts.
                                                                                                                          in other  contexts.
 If that
If  that is the limitation
         is the limitation II can
                              can provide
                                  provide an
                                           an extraordinarily
                                              extraordinarily long
                                                                 long list
                                                                      list of
                                                                           of areas through which
                                                                              areas through            those beliefs
                                                                                              which those              impact.
                                                                                                               beliefs impact.

                                                                      1
                                                                      1
                  Case 3:23-cv-00763-AR              Document 1         Filed 05/24/23       Page 46 of 73
If for
If for some
       some reason  you are
             reason you     of the
                        are of the opinion that many
                                   opinion that many of  the (often
                                                      of the (often Jewish)
                                                                    Jewish) beliefs
                                                                            beliefs are not of
                                                                                    are not of a
                                                                                               a religious  nature or
                                                                                                 religious nature   or II failed
                                                                                                                          failed
to  draw a clear enough connection  to how   that guides my  morality and connection   to G-d then  I can list that out
to draw a clear enough connection to how that guides my morality and connection to G-d then I can list that out in more   in more
detail.
detail.

If there
If there is
         is aa third
               third area
                     area here
                          here where
                               where II have failed to
                                        have failed to provide
                                                        provide information
                                                                information thatthat in your opinion
                                                                                     in your opinion goes into the
                                                                                                     goes into the legal framework
                                                                                                                   legal framework
for what
for  what is
           is considered
              considered aa Religious
                            Religious belief
                                      belief please  let me
                                             please let  me know
                                                            know as   it is
                                                                   as it is this
                                                                            this area
                                                                                 area which
                                                                                       which could
                                                                                             could be
                                                                                                   be overlooked.
                                                                                                      overlooked.

II attempted  to provide
   attempted to  provide an  applicable foundation
                          an applicable foundation of my religious
                                                   of my religious beliefs  and how
                                                                    beliefs and     those interact
                                                                                how those  interact with the world
                                                                                                    with the world as it
                                                                                                                   as it
 relates to the
 relates to the available COVID vaccines
                available COVID  vaccines and mandate. Please
                                          and mandate.  Please let
                                                                let me
                                                                    me know
                                                                        know where
                                                                              where II can
                                                                                       can provide
                                                                                           provide more  explanation.
                                                                                                   more explanation.

Thanks,
Thanks,
Kerry Goldstein
Kerry Goldstein

From: ServiceNow
From:  ServiceNow <cncservicenow@CENTENE.COM>
                    <cncservicenow@CENTENE.COM>
Sent: Tuesday,
Sent: Tuesday, November
                November 23,23, 2021
                                2021 2:50 PM
                                     2:50 PM
To: Kerry
To: Kerry Goldstein
          Goldstein <Kerry.Goldstein@TrilliumCHP.com>;
                     <Kerry.Goldstein@TrilliumCHP.com>; Dawn
                                                          Dawn M.M. Atkin
                                                                     Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                           <Dawn.M.Atkin@TrilliumCHP.com>; Kim
                                                                                                            Kim
Duerst <kduerst@trilliumchp.com>
Duerst  <kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;       Victoria Mann
                                                                               Mann <Victoria.Mann@centene.com>
                                                                                    <Victoria.Mann@centene.com>
Subject: Religious
Subject: Religious Accommodation
                    Accommodation Determination
                                     Determination Follow
                                                   Follow Up
                                                          Up -- Kerry
                                                                Kerry Goldstein
                                                                      Goldstein (205299)
                                                                                (205299)


Hi Kerry,
Hi Kerry,

Thank   you for
Thank you    for reaching
                 reaching out.
                           out. We
                                We have
                                    have carefully
                                          carefully evaluated
                                                    evaluated all
                                                               all of
                                                                    of the
                                                                       the detailed
                                                                           detailed information   you provided
                                                                                    information you    provided to to us
                                                                                                                      us in
                                                                                                                         in
support of
support  of your
            your religious
                  religious exemption   request to
                            exemption request   to determine
                                                   determine how
                                                               how your
                                                                      your stated
                                                                           stated belief/practice/observance
                                                                                   belief/practice/observance guided
                                                                                                                 guided
your COVID-19
your  COVID-19 vaccination
                    vaccination decision  and how
                                decision and  how you
                                                    you implement
                                                         implement your
                                                                      your stated
                                                                            stated belief/practice/observance
                                                                                   belief/practice/observance in  in your
                                                                                                                     your
daily life
daily life and
           and decision  making. This
                decision making.        information was
                                   This information   was then
                                                           then used
                                                                used toto determine
                                                                          determine whether
                                                                                     whether there
                                                                                               there exists
                                                                                                     exists aa sincerely
                                                                                                               sincerely
held religious
held religious belief,
                belief, as
                        as defined
                           defined by
                                   by federal
                                      federal and/or
                                               and/or applicable
                                                      applicable state
                                                                   state law,  that warrants
                                                                         law, that  warrants exemption
                                                                                             exemption from      the
                                                                                                          from the
Company’s vaccination
Company's     vaccination requirement.
                           requirement. Based
                                         Based on
                                                on the
                                                    the detailed information provided,
                                                        detailed information     provided, we
                                                                                           we determined
                                                                                               determined that
                                                                                                             that the
                                                                                                                   the stated
                                                                                                                       stated
religious belief/practice/observance
religious  belief/practice/observance does   not rise
                                       does not  rise to
                                                      to level of aa sincerely
                                                         level of    sincerely held  religious belief
                                                                                held religious  belief warranting
                                                                                                       warranting
exemption from
exemption    from the
                   the COVID-19
                       COVID-19 vaccination.
                                   vaccination. requirement.
                                                 requirement.

Thank you,
Thank you,

Workplace Accommodation
Workplace Accommodation Team
                        Team


Ref:MSG4656402_TFmtbLmYboGhHQmIOphk
Ref:MSG4656402_TFmtbLmYboGhHQmlOphk



From: ServiceNow
From:  ServiceNow <cncservicenow@CENTENE.COM>
                    <cncservicenow@CENTENE.COM>
Sent: Thursday, December 2,
Sent: Thursday,  December   2, 2021 9:26 AM
                               2021 9:26 AM
To: Kerry
To: Kerry Goldstein
          Goldstein <Kerry.Goldstein@TrilliumCHP.com>;
                     <Kerry.Goldstein@TrilliumCHP.com>; DawnDawn M.
                                                                  M. Atkin
                                                                     Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                           <Dawn.M.Atkin@TrilliumCHP.com>; Kim
                                                                                                            Kim
Duerst <kduerst@trilliumchp.com>
Duerst  <kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;       Victoria Mann
                                                                               Mann <Victoria.Mann@centene.com>
                                                                                    <Victoria.Mann@centene.com>
Subject: Religious
Subject: Religious Accommodation
                    Accommodation Appeal
                                    Appeal Follow
                                            Follow Up
                                                   Up -- Kerry
                                                         Kerry Goldstein (205299)
                                                               Goldstein (205299)


Hi Kerry,
Hi Kerry,



                                                                2
                                                                2
                Case 3:23-cv-00763-AR         Document 1       Filed 05/24/23     Page 47 of 73

Thank you for
Thank you  for your
               your email.
                    email. We
                           We rechecked  our records
                               rechecked our records and
                                                     and did
                                                         did receive your 11/23/2021
                                                             receive your 11/23/2021 email.
                                                                                     email. We
                                                                                            We responded the
                                                                                               responded the
same day.
same day. Please
          Please see
                 see the
                     the attached.
                         attached.

We have
We      received the
   have received  the additional
                      additional information
                                    information submitted
                                                 submitted at
                                                           at 10:54AM
                                                              10:54AM CSTCST as
                                                                             as well
                                                                                well as
                                                                                     as the
                                                                                        the email
                                                                                            email sent
                                                                                                  sent 11:05AM
                                                                                                       11:05AM
CST indicating
CST indicating that
               that there
                    there is
                          is aa slight
                                slight edit to the
                                       edit to the 10:54AM
                                                   10:54AM CST
                                                            CST email.
                                                                  email.

These emails, along
These emails, along with
                    with the
                          the resubmitted
                              resubmitted Rexemption
                                          Rexemption document
                                                     document and
                                                              and picture
                                                                  picture attached
                                                                          attached to
                                                                                   to the
                                                                                      the 10:54AM
                                                                                          10:54AM CST
                                                                                                    CST
email are
email are being
          being escalated
                escalated to
                          to HR
                             HR Workplace
                                 Workplace Accommodations
                                            Accommodations Leadership
                                                           Leadership for  review as
                                                                       for review as part
                                                                                     part of
                                                                                          of the
                                                                                             the appeal
                                                                                                 appeal
process.
process.



Thank you,
Thank you,

Workplace Accommodation
Workplace Accommodation Team
                        Team


Ref:MSG4904247_ixdlBHWnFBabqxxxPfYH
Ref:MSG4904247_ixd1BHWnFBabqxxxPfYH




                                                        3
                                                        3
                Case 3:23-cv-00763-AR         Document 1      Filed 05/24/23     Page 48 of 73




From:
From:                           ServiceNow
                                ServiceNow <cncservicenow@CENTENE.COM>
                                            <cncservicenow@CENTENE.COM>
Sent:
Sent                            Friday, December
                                Friday, December 3,3, 2021
                                                      2021 6:14 AM
                                                           6:14 AM
To:
To:                             Kerry Goldstein;
                                Kerry Goldstein; Erin
                                                 Erin Fowler
                                                      Fowler
Subject:
Subject                         HR Request
                                HR  Request HR00090810
                                            HR00090810



Hello Kerry
Hello Kerry Goldstein
            Goldstein (CN131872),
                      (CN131872),

Thank you for
Thank you for your
              your HR
                   HR service
                      service inquiry. This message
                              inquiry. This message contains updated information
                                                    contains updated information for you to
                                                                                 for you to review.
                                                                                            review.

Customer Communication
Customer  Communication from ADA:
                        from ADA:
Hi Kerry,
Hi Kerry,

Thank  you for
Thank you  for your
               your questions
                    questions submitted
                              submitted yesterday.
                                        yesterday. You
                                                   You are
                                                        are welcome
                                                            welcome to
                                                                     to provide
                                                                        provide information
                                                                                information on
                                                                                             on any
                                                                                                 any of
                                                                                                     of the
                                                                                                        the
topics posed
topics posed in
             in your
                your questions. Your responses
                     questions. Your           will be
                                     responses will be reviewed
                                                       reviewed and
                                                                and considered
                                                                    considered as
                                                                                as part
                                                                                   part of
                                                                                        of the
                                                                                           the appeal
                                                                                               appeal process.
                                                                                                      process.

Thank you,
Thank you,
Workplace Accommodation
Workplace  Accommodation Team
                         Team

Link to ticket:
Link to ticket: HR00090810
                HR00090810

**
**



Thank You,
Thank You,

Your HR
Your HR Partners
        Partners

1-833-GoAskHR (1-833-462-7547)
1-833-GoAskHR (1-833-462-7547)



If the
If the information  provided here
       information provided  here is
                                  is inconsistent with policies
                                     inconsistent with policies or
                                                                or plan
                                                                   plan documents, the policies
                                                                        documents, the policies or
                                                                                                or plan
                                                                                                   plan
documents will
documents        govern.
            will govern.


Ref:MSG4940053_UtbicouHDfOmlLIhnAKe
Ref:MSG4940053_UtbicouHDfOmILIhnAKe




                                                       1
                                                       1
                   Case 3:23-cv-00763-AR             Document 1     Filed 05/24/23       Page 49 of 73


M       Gmail                                                              Kerry Goldstein <goldstein.kerry@gmail.com>



FW: Religious Accommodation Appeal Follow Up - Kerry Goldstein (205299)
Kerry Goldstein <Kerry.Goldstein@trilliumchp.com>                                               Fri, Dec 3, 2021 at 10:49 AM
To: Kerry Goldstein <goldstein.kerry@gmail.com>




 From: Kerry Goldstein
 Sent: Friday, December 3, 2021 8:49 AM
 To: ServiceNow <cncservicenow@CENTENE.COM>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
 <kduerst@trilliumchp.com>
 Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
 Subject: RE: Religious Accommodation Appeal Follow Up - Kerry Goldstein (205299)



 Hi Workplace Accommodations Team,



                                            – placed in the other ticket
 I am noting a response here (and attached) —

            Thank you
           ‘Thank you for
                      for your
                          your questions
                               questions submitted
                                         submitted yesterday.
                                                   yesterday. You
                                                              You are
                                                                  are welcome
                                                                      welcome to
                                                                              to provide
                                                                                 provide information
                                                                                         information on
                                                                                                     on any
                                                                                                        any
 of the
 of the topics
        topics posed
               posed in
                     in your
                        your questions. Your responses
                             questions. Your responses will
                                                       will be
                                                            be reviewed and considered
                                                               reviewed and considered as
                                                                                       as part
                                                                                          part of
                                                                                               of the
                                                                                                  the appeal
                                                                                                      appeal
 process.’
 process.'


 This reply does not indicate if (included in attachments)

      1.
      1. The questions
               questions requesting clarification will be answered (asked on 11/23
                                                                             11/23 and additionally on 12/2)
      2. If the 4 process questions from 12/1 will be answered
      3. Via the questions from 12/2 if an answer to any of the above will be provided and how that would impact the
         timeline

 Please see the attachments for the full questions

 Your clear responses to the above can help me to follow the process you have laid out and provide information to help
 any judgement be free from misinterpretation or lack of information.



 I am keeping everyone on this thread as I also believe everyone as either direct leadership or local HR representatives
 has a stake in ensuring the process is free from harassment and to have this information to ensure that any issue or
 process concern is not a local or enterprise concern from a legal or ethical standpoint.



 Thanks,

 Kerry Goldstein
       Goldstein
                 Case 3:23-cv-00763-AR             Document 1         Filed 05/24/23       Page 50 of 73

From: Kerry Goldstein
            Goldstein
Sent: Thursday, December 2, 2021 9:52 AM
To: ServiceNow <cncservicenow@CENTENE.COM>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
<kduerst@trilliumchp.com>
Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;
                           <Andrea.L.CarlsonKerr@CENTENE.corn>; Victoria Mann <Victoria.Mann@centene.com>
Subject: RE: Religious Accommodation Appeal Follow Up - Kerry Goldstein (205299)



A point of clarification here as I am unsure how to interpret the second half of your message.

        ‘..These
        `..These emails,  along with
                  emails, along with the
                                     the resubmitted
                                         resubmitted Rexemption
                                                     Rexemption document
                                                                document and
                                                                         and picture
                                                                             picture attached
                                                                                     attached to
                                                                                              to the
                                                                                                 the
10:54AM CST
10:54AM     CST email
                 email are
                       are being
                            being escalated
                                  escalated to
                                            to HR
                                               HR Workplace
                                                  Workplace Accommodations
                                                            Accommodations Leadership
                                                                           Leadership for
                                                                                        for review
                                                                                            review as
                                                                                                   as part
                                                                                                      part
of the
of the appeal
       appeal process.'
              process.’


I submitted some clarifying questions, and not information I intended to meet the deadline of Monday to provide more
information.



Is it correct to believe that I will receive a response to my inquiry prior to the deadline with then a reasonable amount of
additional time to provide the clarified request?



Similarly, if the response to the those questions is after the deadline my assumption would be that it is extended to
provide a reasonable amount of time should HR Leadership decide they could use more clarification, along with providing
details requested in my email.




From: Kerry Goldstein
Sent: Thursday, December 2, 2021 9:34 AM
To: ServiceNow <cncservicenow@CENTENE.COM>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
<kduerst@trilliumchp.com>
Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
Subject: RE: Religious Accommodation Appeal Follow Up - Kerry Goldstein
                                                              Goldstein (205299)



I appreciate you looking into it. Please notice in the thread attached and what is posted
                                                                                   posted below that my reply (3:11PM) with
the inquiry happened after the message (2:50PM) you included in your attachment. I do suspect there is a system or
process issue happening here that could impacting other people.

____________________________________________________

From: Kerry Goldstein
Sent: Tuesday, November 23, 2021 3:11 PM
To: ServiceNow <cncservicenow@CENTENE.COM>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
<kduerst@trilliumchp.com>
Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
Subject: RE: Religious Accommodation Determination Follow Up - Kerry
                                                               Kerry Goldstein
                                                                     Goldstein (205299)



Thanks, given the reality of the sincerely held beliefs
                                                beliefs are also religious I am wondering where
                                                                                          where you found the
documentation to be lacking soso I can provide more clarity. I understand you are using documentation provided where I did
                                                                                                                       did
my best to answer the original questions I was given.. My thought is since you are evaluating a human and not a
document, we can engage in an inquiry so I can provide the details you may find to be lacking.
                  Case 3:23-cv-00763-AR             Document 1         Filed 05/24/23        Page 51 of 73
I would assume that at minimum we must be on the same page that the beliefs I listed are religious in nature, leading me
to think you find doubt in the sincerity as to if I use those foundations to make decisions in my life in other contexts. If that
is the limitation I can provide an extraordinarily long list of areas through which those beliefs impact.



If for some reason you are of the opinion that many of the (often Jewish) beliefs are not of a religious nature or I failed to
draw a clear enough connection to how that guides my morality and connection to G-d then I can list that out in more
detail.



If there is a third area here where I have failed to provide information that in your opinion goes into the legal framework for
what is considered a Religious belief please
                                        please let me know as it is this area which could be overlooked.



I attempted to provide an applicable foundation of my religious beliefs
                                                                beliefs and how those interact with the world
                                                                                                        world as it relates
to the available COVID
                 COVID vaccines and mandate. Please let me know where I can provide more explanation.



Thanks,

Kerry Goldstein



From: ServiceNow <cncservicenow@CENTENE.COM>
Sent: Tuesday, November 23, 2021 2:50 PM
To: Kerry Goldstein <Kerry.Goldstein@TrilliumCHP.com>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
<kduerst@trilliumchp.com>
Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
Subject: Religious Accommodation Determination Follow Up - Kerry Goldstein (205299)



Hi Kerry,
Hi Kerry,
Thank you
Thank   you for
             for reaching
                 reaching out.
                           out. We
                                We have
                                    have carefully
                                         carefully evaluated
                                                   evaluated all
                                                               all of
                                                                   of the
                                                                      the detailed    information you
                                                                           detailed information     you provided
                                                                                                        provided to to us
                                                                                                                       us in
                                                                                                                          in
support of
support  of your
            your religious
                  religious exemption   request to
                            exemption request   to determine
                                                   determine how
                                                               how your
                                                                     your stated
                                                                            stated belief/practice/observance
                                                                                    belief/practice/observance guided
                                                                                                                   guided
your COVID-19
your  COVID-19 vaccination
                   vaccination decision
                                decision and
                                          and how
                                              how you
                                                   you implement
                                                        implement youryour stated
                                                                             stated belief/practice/observance
                                                                                     belief/practice/observance in     your
                                                                                                                    in your
daily life and decision making. This information
daily life and decision  making.   This information was
                                                     was then
                                                          then used   to determine
                                                                used to   determine whether
                                                                                       whether there
                                                                                                 there exists
                                                                                                       exists aa sincerely
                                                                                                                 sincerely
held religious
held religious belief,
                belief, as
                        as defined
                           defined by
                                   by federal
                                      federal and/or
                                              and/or applicable
                                                      applicable state
                                                                   state law,   that warrants
                                                                         law, that   warrants exemption
                                                                                               exemption from
                                                                                                           from thethe
Company’s vaccination
Company's     vaccination requirement.   Based on
                           requirement. Based   on the
                                                   the detailed
                                                       detailed information       provided, we
                                                                 information provided,       we determined
                                                                                                 determined that
                                                                                                               that the
                                                                                                                    the
stated religious
stated religious belief/practice/observance
                  belief/practice/observance does
                                              does not
                                                    not rise to level
                                                        rise to        of aa sincerely
                                                                level of     sincerely held
                                                                                         held religious
                                                                                              religious belief
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warranting exemption
warranting   exemption from    the COVID-19
                         from the  COVID-19 vaccination.
                                               vaccination. requirement.
                                                              requirement.
Thank you,
Thank you,
Workplace Accommodation
Workplace Accommodation Team
                        Team


Ref:MSG4656402_TFmtbLmYboGhHQmIOphk
Ref:MSG4656402_TFmtbLmYboGhHQmlOphk




From: ServiceNow <cncservicenow@CENTENE.COM>
Sent: Thursday, December 2, 2021 9:26 AM
To: Kerry
    Kerry Goldstein
          Goldstein <Kerry.Goldstein@TrilliumCHP.com>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
<kduerst@trilliumchp.com>
                 Case 3:23-cv-00763-AR             Document 1          Filed 05/24/23       Page 52 of 73
Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
Subject: Religious Accommodation Appeal Follow Up - Kerry Goldstein (205299)



Hi Kerry,
Hi Kerry,
Thank you
Thank  you for
           for your
               your email.
                    email. We
                           We rechecked
                                rechecked our
                                          our records
                                              records and
                                                      and did receive your
                                                          did receive your 11/23/2021
                                                                           11/23/2021 email.
                                                                                      email. We
                                                                                             We responded
                                                                                                responded
the same
the same day.
         day. Please
              Please see
                     see the
                         the attached.
                             attached.
We have
We have received
        received the
                  the additional
                      additional information
                                   information submitted
                                                 submitted at
                                                           at 10:54AM
                                                              10:54AM CST
                                                                        CST as
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                                                                                    as the
                                                                                       the email
                                                                                           email sent
                                                                                                 sent 11:05AM
                                                                                                      11:05AM
CST indicating
CST            that there
    indicating that there is
                          is aa slight
                                slight edit
                                       edit to
                                            to the
                                               the 10:54AM
                                                   10:54AM CST
                                                             CST email.
                                                                  email.
These emails,
These emails, along
              along with
                    with the
                          the resubmitted
                              resubmitted Rexemption
                                          Rexemption document
                                                     document and
                                                              and picture
                                                                  picture attached
                                                                          attached to
                                                                                   to the
                                                                                      the 10:54AM
                                                                                          10:54AM CST
                                                                                                    CST
email are
email are being
          being escalated
                escalated to
                          to HR
                             HR Workplace
                                 Workplace Accommodations
                                           Accommodations Leadership
                                                           Leadership for
                                                                       for review as part
                                                                           review as part of
                                                                                          of the
                                                                                             the appeal
                                                                                                 appeal
process.
process.


Thank you,
Thank you,
Workplace Accommodation
Workplace Accommodation Team
                        Team


Ref:MSG4904247_ixdlBHWnFBabqxxxPfYH
Ref:MSG4904247 jxdIBHWnFBabwo(PfYH

This transmission (including any attachments) may contain confidential information, privileged material (including material
protected by the solicitor-client or other applicable privileges), or constitute non-public information. Any use of this
information by
            by anyone other than the intended recipient is prohibited. If you have received this transmission in error,
please immediately reply to the sender and delete this information from your system. Use, dissemination,
                                                                                                 dissemination, distribution,
                                                                                                                distribution, or
reproduction of this transmission by unintended recipients is not authorized and may be unlawful.(*cd:20130808)


---------- Forwarded message ----------
From: ServiceNow <cncservicenow@centene.com>
To: Kerry Goldstein <Kerry.Goldstein@trilliumchp.com>, Erin Fowler <Erin.Fowler@centene.com>
Cc:
Bcc:
Date: Fri, 3 Dec 2021 14:13:56 +0000
Subject: HR Request HR00090810

Hello Kerry
Hello Kerry Goldstein
            Goldstein (CN131872),
                      (CN131872),
Thank you
Thank you for
          for your
              your HR
                   HR service
                      service inquiry.
                              inquiry. This
                                       This message
                                            message contains updated information
                                                    contains updated information for you to
                                                                                 for you to review.
                                                                                            review.
Customer Communication
Customer  Communication from ADA:
                        from ADA:
Hi Kerry,
Hi Kerry,

Thank you
Thank  you for
           for your
               your questions
                    questions submitted
                              submitted yesterday.
                                         yesterday. You
                                                    You are
                                                         are welcome
                                                             welcome to
                                                                     to provide
                                                                        provide information
                                                                                information on
                                                                                             on any
                                                                                                 any of
                                                                                                     of the
                                                                                                        the
topics posed
topics posed in
             in your
                your questions.
                     questions. Your
                                Your responses
                                     responses will
                                                will be
                                                     be reviewed
                                                        reviewed and
                                                                 and considered
                                                                     considered as
                                                                                as part
                                                                                   part of
                                                                                        of the
                                                                                           the appeal
                                                                                               appeal process.
                                                                                                      process.

Thank you,
Thank you,
Workplace Accommodation
Workplace  Accommodation Team
                         Team
Link    ticket: HR00090810
     to ticket:
Link to         HR0009081 0
**
**


Thank You,
Thank You,
Your HR
Your HR Partners
        Partners
           Case 3:23-cv-00763-AR                     Document 1         Filed 05/24/23         Page 53 of 73
1-833-GoAskHR (1-833-462-7547)
1-833-GoAskHR (1-833-462-7547)


If the
If the information
       information provided
                    provided here
                             here is inconsistent with
                                  is inconsistent with policies
                                                       policies or
                                                                or plan
                                                                   plan documents,
                                                                        documents, the
                                                                                   the policies
                                                                                       policies or
                                                                                                or plan
                                                                                                   plan
documents will
documents   will govern.
                 govern.

Ref:MSG4940053_UtbicouHDfOmlLIhnAKe
Ref:MSG4940053_UtbicouHDfOmILIhnAKe


---------- Forwarded message ----------
From: Kerry Goldstein <Kerry.Goldstein@trilliumchp.com>
To: ServiceNow <cncservicenow@centene.com>, "Dawn M. Atkin" <Dawn.M.Atkin@trilliumchp.com>, Kim Duerst
<kduerst@trilliumchp.com>
Cc: "Andrea L. Carlson-Kerr" <Andrea.L.CarlsonKerr@centene.com>, Victoria Mann <Victoria.Mann@centene.com>
Bcc:
Date: Wed, 1 Dec 2021
                    2021 22:39:42 +0000
                                   +0000
Subject: RE: Religious Accommodation Determination Follow Up - Kerry Goldstein (205299)

I would like to please follow up on my previous note, having not received a reply.

I am wondering what the timeline here is regarding an appropriate reply and given the lack of clear and timely
communication.



Additionally, I would like to discuss the following questions:



    1. Does Centene review these internally or are they contracted to a third party? If so who?
    2. Is there an audit process regarding how these are processed
    3. What does an appeal process look like and is there one?
    4. I would like to see my file, the accompanying documentation and any specific timestamps or comments on it
       regarding the review


I am finding this lacking both sincerity and transparency. In an effort to provide transparency I have attached my reasons
(submitted 10/8) of my sincerely held religiously based objections. I have not been contacted, and have received only the
ambiguous information without specific as to why this is denied, with no accompanying inquiry or clarification requested.

It is unclear if the denial is the result of suspected sincerity (although I think for those that know me in reading will find it
matches with and explains many of my choices), deciding it is not meeting standard of religion or some other reason.

All I know at this point is I have submitted information providing what I believe is to be the requested information to
describe my religious objection. I have received a denied notice but there are only very specific
                                                                                             specific reasons this can
                                                                                                                   can be
denied. Those denial reasons have not been been communicated, nor have I been given
                                                                                 given a route to provide additional
information to describe my position or clarify a misunderstanding. My general assumption about how any process like this
would take place is that the documentation is assumed to be sincere and any investigation must be carefully documented
(which is why I am hoping request #4 can be helpful).



I am not requesting admission into some special program where my application is evaluated for acceptance. I am telling
you about why I am unable to do what the company has requested because it conflicts with my protected religion. A
denial is meaningless. You only have certain criteria to not reach a stage of looking for accommodation. Please
communicate those reasons so we can address them.



For everyone on this thread, I would ask for your support in bringing transparency to this process, as I believe we are
For
all called to do.
               do. I do not believe that just because a potential
                                                        potential third party has provided an ambiguous comment regarding a
denial it removes any obligation to ensure that a legal, moral and timely process proceeds.
                                                                                       proceeds. This process had brought to
light some severe flaws within the system, and while I would like answers for myself I also see an opportunity to reduce
liability that this communication represents for our broader team members and create a transparent, moral, and remove
                  Case 3:23-cv-00763-AR             Document 1         Filed 05/24/23        Page 54 of 73
opportunities for potential harassment. I also want to clarify for anyone on this thread that what you are seeing here in this
process is not the result of any mandate or company hardship, as that would be addressed in the accommodation stage
of the request. Rather, you are seeing the result of some process or policy which is deliberately choosing this level of
opaqueness and ambiguity to deny individuals beliefs, practices, and religious observance, through claim of an
undetermined reason. Furthermore if that reason is clearly communicated where is the step to determine it is not the
result of a misinterpretation of the document
                                     document provided to ensure you are not denying
                                                                               denying an individual their ability to maintain
employment and practice their religion.



Your timely response is urgently requested.



Thank you,

Kerry Goldstein




From: Kerry Goldstein
Sent: Tuesday, November 23, 2021 3:11 PM
To: ServiceNow <cncservicenow@CENTENE.COM>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
<kduerst@trilliumchp.com>
Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
Subject: RE: Religious Accommodation Determination Follow Up - Kerry
                                                               Kerry Goldstein
                                                                     Goldstein (205299)



Thanks, given the reality of the sincerely held beliefs
                                                beliefs are also religious I am wondering where
                                                                                          where you found the
documentation to be lacking soso I can provide more clarity. I understand you are using documentation provided where I did
                                                                                                                       did
my best to answer the original questions I was given.. My thought is since you are evaluating a human and not a
document, we can engage in an inquiry so I can provide the details you may find to be lacking.



I would assume that at minimum we must be on the same page that the beliefs I listed are religious in nature, leading me
to think you find doubt in the sincerity as to if I use those foundations to make decisions in my life in other contexts. If that
is the limitation I can provide an extraordinarily long list of areas through which those beliefs impact.



If for some reason you are of the opinion that many of the (often Jewish) beliefs are not of a religious nature or I failed to
draw a clear enough connection to how that guides my morality and connection to G-d then I can list that out in more
detail.



If there is a third area here where I have failed to provide information that in your opinion goes into the legal framework for
what is considered a Religious belief please
                                        please let me know as it is this area which could be overlooked.



I attempted to provide an applicable foundation of my religious beliefs
                                                                beliefs and how those interact with the world
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                 COVID vaccines and mandate. Please let me know where I can provide more explanation.



Thanks,

Kerry Goldstein
                 Case 3:23-cv-00763-AR             Document 1         Filed 05/24/23       Page 55 of 73

From: ServiceNow <cncservicenow@CENTENE.COM>
Sent: Tuesday, November 23, 2021 2:50 PM
To: Kerry Goldstein <Kerry.Goldstein@TrilliumCHP.com>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
<kduerst@trilliumchp.com>
Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;
                           <Andrea.L.CarlsonKerr@CENTENE.corn>; Victoria Mann <Victoria.Mann@centene.com>
Subject: Religious Accommodation Determination Follow Up - Kerry Goldstein (205299)



Hi Kerry,
Hi Kerry,
Thank you
Thank   you for
             for reaching
                 reaching out.
                           out. We
                                We have
                                    have carefully
                                         carefully evaluated
                                                   evaluated all
                                                               all of
                                                                   of the
                                                                      the detailed    information you
                                                                           detailed information     you provided
                                                                                                        provided to to us
                                                                                                                       us in
                                                                                                                          in
support  of your  religious exemption   request to determine   how   your   stated  belief/practice/observance
support of your religious exemption request to determine how your stated belief/practice/observance guided         guided
your COVID-19
your  COVID-19 vaccination
                   vaccination decision
                                decision and
                                          and how
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daily life
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      life and           making. This
               decision making.         information was
                                   This information  was then
                                                          then used   to determine
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held religious
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                           defined by
                                   by federal
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                                              and/or applicable
                                                      applicable state
                                                                   state law,   that warrants
                                                                         law, that   warrants exemption
                                                                                               exemption from
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                           requirement. Based   on the
                                                   the detailed
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Thank you,
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Workplace Accommodation
Workplace Accommodation Team
                        Team


Ref:MSG4656402_TFmtbLmYboGhHQmIOphk
Ref:MSG4656402_TFmtbLmYboGhHQmlOphk



---------- Forwarded message ----------
From: Kerry Goldstein <Kerry.Goldstein@trilliumchp.com>
To: ServiceNow <cncservicenow@centene.com>, "Dawn M. Atkin" <Dawn.M.Atkin@trilliumchp.com>, Kim Duerst
<kduerst@trilliumchp.com>
Cc: "Andrea L. Carlson-Kerr" <Andrea.L.CarlsonKerr@centene.com>, Victoria Mann <Victoria.Mann@centene.com>
Bcc:
Date: Thu, 2 Dec 2021 17:52:04 +0000
Subject: RE: Religious Accommodation Appeal Follow Up - Kerry Goldstein (205299)

A point of clarification here as I am unsure how to interpret the second half of your message.

        ‘..These
        `..These emails,  along with
                  emails, along with the
                                     the resubmitted
                                         resubmitted Rexemption
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                                                                         and picture
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10:54AM CST
10:54AM     CST email
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                                  escalated to
                                            to HR
                                               HR Workplace
                                                  Workplace Accommodations
                                                            Accommodations Leadership
                                                                           Leadership for
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                                                                                                   as part
                                                                                                      part
of the
of the appeal
       appeal process.'
              process.’


I submitted some clarifying questions, and not information I intended to meet the deadline of Monday to provide more
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Is it correct to believe that I will receive a response to my inquiry prior to the deadline with then a reasonable amount of
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                  Case 3:23-cv-00763-AR             Document 1         Filed 05/24/23        Page 56 of 73
From: Kerry Goldstein
Sent: Thursday, December 2, 2021 9:34 AM
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Subject: RE: Religious Accommodation Appeal Follow Up - Kerry Goldstein
                                                              Goldstein (205299)



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detail.



If there is a third area here where I have failed to provide information that in your opinion goes into the legal framework for
what is considered a Religious belief please let me know as it is this area which could be overlooked.



I attempted to provide an applicable foundation of my religious beliefs and how those interact with the world as it relates
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Kerry Goldstein



From: ServiceNow <cncservicenow@CENTENE.COM>
Sent: Tuesday, November 23, 2021 2:50 PM
To: Kerry Goldstein <Kerry.Goldstein@TrilliumCHP.com>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
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Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
Subject: Religious Accommodation Determination Follow Up - Kerry
                                                           Kerry Goldstein
                                                                 Goldstein (205299)
                Case 3:23-cv-00763-AR            Document 1         Filed 05/24/23      Page 57 of 73
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Thank you,
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Workplace Accommodation
Workplace Accommodation Team
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Ref:MSG4656402_TFmtbLmYboGhHQmIOphk
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From: ServiceNow <cncservicenow@CENTENE.COM>
Sent: Thursday, December 2, 2021 9:26 AM
To: Kerry
    Kerry Goldstein
          Goldstein <Kerry.Goldstein@TrilliumCHP.com>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
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Subject: Religious Accommodation Appeal Follow Up - Kerry Goldstein (205299)



Hi Kerry,
Hi Kerry,
Thank you
Thank  you for
           for your
               your email.
                    email. We
                           We rechecked
                                rechecked our
                                          our records
                                              records and
                                                      and did receive your
                                                          did receive your 11/23/2021
                                                                           11/23/2021 email.
                                                                                      email. We
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the same
the same day.
         day. Please
              Please see
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                         the attached.
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We have
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                          is aa slight
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These emails,
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email are
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                             HR Workplace
                                 Workplace Accommodations
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                                                           Leadership for
                                                                       for review as part
                                                                           review as part of
                                                                                          of the
                                                                                             the appeal
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process.


Thank you,
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Workplace Accommodation
Workplace Accommodation Team
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Ref:MSG4904247_ixdlBHWnFBabqxxxPfYH
Ref:MSG4904247 jxd1BHWnFBabcwo(PfYH



---------- Forwarded message ----------
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To: ServiceNow <cncservicenow@centene.com>, "Dawn M. Atkin" <Dawn.M.Atkin@trilliumchp.com>, Kim Duerst
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                 Case 3:23-cv-00763-AR              Document 1         Filed 05/24/23        Page 58 of 73
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                  Case 3:23-cv-00763-AR            Document 1         Filed 05/24/23       Page 59 of 73
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Subject: Religious Accommodation Appeal Follow Up - Kerry Goldstein (205299)



Hi Kerry,
Hi Kerry,
               Case 3:23-cv-00763-AR Document 1 Filed 05/24/23 Page 60 of 73
Thank
Thank you
       you for your email.
           for your        We rechecked
                    email. We   rechecked our
                                          our records
                                              records and
                                                      and did
                                                          did receive your 11/23/2021
                                                              receive your 11/23/2021 email. We responded
                                                                                      email. We responded
the same day.
the same day. Please
              Please see
                     see the
                         the attached.
                             attached.
We
We have
   have received the additional
        received the  additional information     submitted at
                                   information submitted   at 10:54AM
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                                                                            as well as the
                                                                               well as the email
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CST indicating that
               that there
                    there is
                          is aa slight
                                slight edit
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                                               the 10:54AM   CST email.
                                                                  email.
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                                 Workplace Accommodations  Leadership for
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                                                                                          of the
                                                                                             the appeal
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process.


Thank
Thank you,
      you,
Workplace
Workplace Accommodation
          Accommodation Team


Ref:MSG4904247_ixdlBHWnFBabqxxxPfYH
Ref:IASG4904247_ixdBHWnFEwtoeoxPfYH



5 attachments
5 ettschmente

     1 HR Request 1-
       ER Request HR00090810.eml
                    R00090010.emi
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       10K
      Rexemption.docx
      Rexemption.docx
      25K

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                 Actoorr000der5on Determination                    Goldstein {205209}emi
                                                             Kerry Goldstein (205299).eml
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      64K
   RE: Religious
 D RE:           Accommodation Appeal
       Religious Accormnoristion Appeal Follow
                                        Follow Up
                                               Up -- Kerry Goldstein
                                                           Goldstein (205209}emi
                                                                     (205299).eml
   27K
      RE: Religious Accommodation Appeal
          Religious Accorrrnocirtion Appeal Follow Up
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                                                               Goldstein (205239)4ml
                                                                         (205299).eml
 -    27K
                Case 3:23-cv-00763-AR          Document 1         Filed 05/24/23       Page 61 of 73


Kerry Goldstein
Kerry Goldstein

From:
From:                           ServiceNow
                                ServiceNow
Sent:
Sent:                           Monday, December
                                Monday,   December 6,
                                                    6, 2021   1:01 PM
                                                       2021 1:01   PM
To:
To:                             Kerry Goldstein;
                                Kerry Goldstein; Dawn
                                                 Dawn M.M. Atkin;
                                                           Atkin; Kim
                                                                  Kim Duerst
                                                                      Duerst
Cc:
Cc:                             Andrea L.
                                Andrea     Carlson-Kerr; Victoria
                                        L. Carlson-Kerr; Victoria Mann
                                                                  Mann
Subject:
Subject:                        Religious Accommodation
                                Religious  Accommodation Follow
                                                            Follow Up
                                                                    Up -- Kerry
                                                                          Kerry Goldstein
                                                                                Goldstein (205299)
                                                                                          (205299)



Hi Kerry,

The email received this afternoon has been reviewed. We are happy to consider any additional information or
documentation you would like to submit on appeal. Regarding the remainder of the questions posed, HR
Workplace Accommodations Leadership has stated that no additional responses will be provided at this time.

If you would like to submit additional information or documentation, please do so by the close of business on
12/8/2021. If additional information/documentation is received, we will be sure to inform you of its receipt and
will then forward it to HR Workplace Accommodations Leadership for review. If no additional
information/documentation is received, HR Workplace Accommodations Leadership will complete the appeal
review based on the information you've already provided.



Thank you,

Workplace Accommodation Team


Ref:MSG5028774_wAwvihdUMOvuqYhFWwXm
Ref:MSG5028774_wAwvihdUMOvuoVhFWwXm




                                                          1
                                                          1
                 Case 3:23-cv-00763-AR             Document 1         Filed 05/24/23       Page 62 of 73


M       Gmail                                                                Kerry Goldstein <goldstein.kerry@gmail.com>



FW: Religious Accommodation Follow Up - Kerry Goldstein (205299)
Kerry Goldstein <Kerry.Goldstein@trilliumchp.com>                                               Wed, Dec 8, 2021 at 12:41 PM
To: Kerry Goldstein <goldstein.kerry@gmail.com>




 From: Kerry Goldstein
 Sent: Wednesday, December 8, 2021 8:47 AM
 To: ServiceNow <cncservicenow@CENTENE.COM>; Dawn M. Atkin <Dawn.M.Atkin@TrilliumCHP.com>; Kim Duerst
 <kduerst@trilliumchp.com>
 Cc: Andrea L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria Mann <Victoria.Mann@centene.com>
 Subject: RE: Religious Accommodation Follow Up - Kerry Goldstein (205299)



 Hi Workplace Accommodation Team,



 I appreciate you replying.

 The documentation I have provided includes sincerely held religious beliefs, along with how those beliefs are directly and
 sincerely applied to arrive at the conclusion where they conflict with taking any of the currently available COVID-19
 vaccination products available.



 Without further clarification you are asking me to spend an unreasonable amount of time to blindly provide additional
 information in any number of areas to an unknown level of detail and specificity beyond
                                                                                  beyond what has already been
                                                                                                           been provided.



 With that said, if you have any areas where you have more questions, want more detail
                                                                                detail in either interview or through
 written format I would be very happy to provide.



 In review I would ask the following:

 I talked to my lawyer to see if he had any idea of what you might be wanting as I am astonished not only in the initial
 denial but the refusal to have any type of inquiry or specificity in the request.

 He suggested that using some Hebrew terms in the document may have made it more difficult for your team to follow my
 religious references and that as a result you may be more likely to make an error in failing to connect the religious nature
 of those concepts. Similarly, someone with a religious system more closely aligned with a reviewers knowledge or cursory
 search could be more obvious and familiar. Without the team eliciting questions this may put my religion at a
 disadvantage in this review process. To that regard I am also concerned regarding a bias nature of this process which is
 why I am so willing to provide any additional information you request.

          With that possibility for error in mind I want to be prudent here and help connect some dots that may not be as
 obvious without inquiry

                  • Shemot and Dvarim references areas in the Torah (Shemot = Exodus and Dvarim = Deuteronomy)
                  • Mishneh Torah was written by Rambam / Maimonides who was one of the greatest commentators and
                    organizers of Jewish law (very popular)
                                                   popular)
                 Case 3:23-cv-00763-AR             Document 1         Filed 05/24/23        Page 63 of 73
                                   o My son Avi goes to a Chabad (short for the 3 Sephirot à    4 Chochmah, Binah, Daat
                                      = Wisdom, Understanding/intuition, Knowledge) school named Maimonides
                 • Repairing the world through Sephirot: Sephirot basics as it interacts in my belief system
                                   o When the world was created in order for G-d to emanate into aspect we can
                                      understand their had to be a restriction
                                   o The restriction got broken
                                                          broken down at a high level into sephirot (each sephirot has
                                      what you might call a emotional or psychological aspect, example Chesed = loving
                                      kindness as shown by Avraham).
                                   o We can have a general understanding of the different sephirot however for myself
                                      and within Jewish thought their is disagreement as to the level of understanding
                                      for Keter or even if Keter exists or should be considered a Sephirot (see Pardes
                                      Rimonim, Orchard of the Pomegranates by Moshe Cordovero)
                                                        ■ Association to G-d: Often referred to as Ein-Sof meaning
                                                           endless which
                                                                    which has to do
                                                                                  do with a
                                                                                          a recognition
                                                                                            recognition of
                                                                                                         of being unable
                                                                                                                   unable to
                                                           ever grasp
                                                                grasp or
                                                                       or understand G-d
                                                                                       G-d which
                                                                                           which is where the roots of of
                                                           humans being unable to incorporate Keter likely originate
                                      As part of repair of the world or mitzvot I see that as bringing back the sephirot
                                   o As
                                      (aspects) together into balance
                                   o Unique aspect for myself has to do with a connection between the Sephirot and
                                      body chakras (I am not yet convinced how direct the mapping is but my
                                      experience is there is a strong overlap)
                                                        ■ The closest
                                                                closest reference to my understanding of  of Chakras
                                                                                                             Chakras is via
                                                           Donna Eden
                                                        ■ Again here the mind and body and spirit are required for this
                                                           experience and to be able to both discern and properly mix
                                                           these aspects into the world
                                                                             • Not only just distancing but also guarding
                                                                               against harm is not only directed but is my
                                                                               direct responsibility (references provided in
                                                                               original document).
                                                                                        document).
                                                                                                  o Another area
                                                                                                               area this plays
                                                                                                    out for example is how I
                                                                                                    eat, almost no sugar or
                                                                                                    processed grains, fast
                                                                                                    multiple times during
                                                                                                    the year
                                                                             • Engagement in this process helps me to
                                                                               understand myself butbut also to connect
                                                                               closer to G-d
                                                                                         G-d (as
                                                                                              (as combining Sephirot up
                                                                               through Keter (but never fully inclusive of)
                                                                               and perform part of my purpose in life.
                                                                                                  o I meditate for at least
                                                                                                    30m each day with
                                                                                                    these concepts and
                                                                                                    actively throughout the
                                                                                                    day attempt to keep
                                                                                                    them in mind, say the
                                                                                                    Shema which helps with
                                                                                                    the attempting to keep
                                                                                                    in mind during the day
                                                                                                    (talks about all the
                                                                                                    times to think about it)
                                                                                                    and often engage with
                                                                                                    Tefillin (3 wraps on
                                                                                                                       on the
                                                                                                    bicep plus
                                                                                                            plus 7
                                                                                                                 7 on the arm
                                                                                                    = 10 sephirot)



I would ask that in this process you keep in mind that yourself or any review on your team is more likely to read into
familiar religious references and their meaning along with the likely sincerity. Familiarity of beliefs and practices are easier
to adopt for any reader. In some ways that concept is also the basis of most of our inclusivity and discrimination
courses/policy. So, I ask that you consider adopting practices that can help in understanding where I am coming from
rather than dismissing either the sincerity and/or religious nature so as to more likely judge on even ground.
                  Case 3:23-cv-00763-AR        Document 1          Filed 05/24/23    Page 64 of 73

Thanks,
Thanks,


Kerry Goldstein
Kerry GolderteM




Kerry Goldstein,
Kerry Goldstein, MA,
                 MA, mak
                     MBA, cptio,
                          CPHQ, PSM,
                                 P8M, PSPO
                                      F8P0

Population
Population Health and amid
           Heath and  Clinical Operations
                               Operations |Operations
                                          pperatime Manager
                                                      Manager

Oregon Market
Oregon Market |I Health
                 Health Net and Turman
                        Net and Trillium Commuity
                                         Community Health
                                                   Heath Plan

Mobile: 503-314-8770
Mobile: 503-314-8770



Transforming
lienelomiing the health of
             the besith of the community, one
                           the communSy.  one pan
                                              person stetting
                                                     at a time




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  L friiliuiu                L., Mill=                  4P Health Net°                   ti, Health Net
                                 ADVANTAGE                      MEDICARE PROGRAMS




    Trilliumohp.com
    TamoNo.com             TrilliumAdvantage.com
                           TrannAdvantagecom           or.healthnetadvantage.com
                                                       atheutthnetuidiromtigiLcom          HealthNetOregon.com
                                                                                           Heat', NetOregon.00m




From: SaviceNow<oncoonicarow@CENTENECCM>
       ServiceNow <cncservicenow@CENTENE.COM>
Sent: Monday,
Stint Monday, December     6, 2021 1:01 PM
                Decaliter 8,
To:
To: Kerry Goklerteki
          Goldstein <Korry.GoldeteM@TratmCHP.corm;
                     <Kerry.Goldstein@TrilliumCHP.com>; Dawn M. Attu Atkin <Dawn.IA.Atlik@TramseCHP.com>;
                                                                           <Dawn.M.Atkin@TrilliumCHP.com>; Kin
                                                                                                            Kim Duerst
                                                                                                                Duenit
<kduerst@trilliumchp.com>
dkdtionit@trakanchp   can>
Cc: Andrea
Cc: Andrea L.
            L. CaeonaccncAndrea.L.CadeonKerr@CENTENE.corn>,
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Vbtaia   Victoria Mann
                                                                                  Mann <1hotoria
                                                                                       <Victoria.Mann@centene.com>
                                                                                                 Manngtentono.corrP
Subject: Religious
Subject:            Accommodation Follow
          Ftckkoue Accommodation     Fakir Up
                                            Up -- Kerry Gaudy*
                                                        Goldstein (205298)
                                                                  (205299)



Hi Kerry,
15 Kerry,
The
The email received this
    email received this afternoon
                        afternoon has   been reviewed.
                                    has been reviewed. We   are happy
                                                        We are  happy to
                                                                       to consider
                                                                          consider any
                                                                                   any additional
                                                                                       additional information
                                                                                                  information oror
documentation you
documentation      would like
               you would   like to submit on
                                to submit  on appeal. Regarding  the remainder
                                                      Regarding the             of the
                                                                     remainder of  the questions
                                                                                       questions posed, HR
                                                                                                         HR
Workplace
Workplace Accommodations      Leadership has
           Accommodations Leadership           stated that
                                           has stated that no
                                                           no additional
                                                              additional responses
                                                                         responses will be
                                                                                        be provided
                                                                                           provided at
                                                                                                     at this time.
                                                                                                        this time.
If you would
       would hie
              like to submit
                       submit additional
                                additional information or documentation,
                                                          documentation, please
                                                                          please do
                                                                                  do so
                                                                                     so by
                                                                                        by the close of liminess
                                                                                                          business
    12/8/2021. If
on 12e(2021     If additional
                   additional information/documentation
                               information/documentation is is received,
                                                               received, we will be sure to inform you of its
                                                                         we will be sure to inform   you of its
receipt and will
receipt and  will then
                  then forward
                        forward itit to
                                     to HR
                                        HR Workplace
                                           Workplace Accommodations
                                                       Accommodations Leadership     for review.
                                                                         Leadership for  review. If
                                                                                                  If no additional
                                                                                                     no additional
information/documentation is
information/documentation       is received,
                                   received, HR
                                             HR Workplace
                                                Workplace Accommodations
                                                            Accommodations Leadership
                                                                              Leadership will
                                                                                            will complete
                                                                                                 complete the
        review based
appeal review   based on
                       on the
                           the information
                               information you've
                                             you've already
                                                    already provided.
                                                            provided.


Thank
Thank you,
      you,
Workplace
Workplace Accommodation
          Accommodation Team
                Case 3:23-cv-00763-AR            Document 1         Filed 05/24/23       Page 65 of 73


Ref:MSG5028774_wAwvihdUMOvuqYhFWwXm

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Case 3:23-cv-00763-AR   Document 1   Filed 05/24/23   Page 66 of 73




EXHIBIT “D”
EXHIBIT "D"
                   Case 3:23-cv-00763-AR              Document 1         Filed 05/24/23        Page 67 of 73


Kerry Goldstein
Kerry Goldstein

From:
From:                                Kerry Goldstein
                                     Kerry Goldstein
Sent:
Sent:                                Thursday, December
                                     Thursday,  December 16,
                                                          16, 2021   8:50 AM
                                                               2021 8:50  AM
To:
To:                                  ServiceNow;   Dawn M.
                                     ServiceNow; Dawn    M. Atkin;
                                                            Atkin; Kim
                                                                   Kim Duerst
                                                                        Duerst
Cc:
Cc:                                  Andrea L.
                                     Andrea     Carlson-Kerr; Victoria
                                             L. Carlson-Kerr; Victoria Mann
                                                                       Mann
Subject:
Subject:                             RE: Religious
                                     RE: Religious Accommodation
                                                   Accommodation Appeal
                                                                      Appeal Determination
                                                                             Determination -- Kerry Goldstein (205299)
                                                                                              Kerry Goldstein (205299)


II appreciate  that you
   appreciate that  you completed
                        completed a    review. II believe
                                     a review.            your review
                                                  believe your  review process,
                                                                       process, likely  your criteria
                                                                                 likely your criteria and  your appeal
                                                                                                      and your  appeal process
                                                                                                                        process are
                                                                                                                                are
 faulty, discriminatory
 faulty, discriminatory and illegal.
                        and illegal.
II believe
   believe in
           in Centene’s
              Centene's work   and very
                         work and  very much
                                         much hope
                                                 hope for
                                                       for their
                                                           their benefit in not
                                                                 benefit in not proceeding
                                                                                proceeding with    likely mass
                                                                                             with likely  mass religious
                                                                                                               religious
 discriminatory
 discriminatory practices  and upholding
                 practices and  upholding their
                                            their mission   some significant
                                                   mission some   significant changes
                                                                              changes are
                                                                                        are made.
                                                                                            made.

From: ServiceNow
From:  ServiceNow <cncservicenow@CENTENE.COM>
                    <cncservicenow@CENTENE.COM>
Sent: Thursday,
Sent: Thursday, December
                 December 16,
                            16, 2021 8:40 AM
                                2021 8:40 AM
To: Kerry
To: Kerry Goldstein
          Goldstein <Kerry.Goldstein@TrilliumCHP.com>;
                     <Kerry.Goldstein@TrilliumCHP.com>; Dawn
                                                          Dawn M.M. Atkin
                                                                    Atkin <Dawn.M.Atkin@TrilliumCHP.com>;
                                                                          <Dawn.M.Atkin@TrilliumCHP.com>; Kim
                                                                                                           Kim
Duerst <kduerst@trilliumchp.com>
Duerst  <kduerst@trilliumchp.com>
Cc: Andrea
Cc: Andrea L.
            L. Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>; Victoria
               Carlson-Kerr <Andrea.L.CarlsonKerr@CENTENE.com>;      Victoria Mann
                                                                              Mann <Victoria.Mann@centene.com>
                                                                                   <Victoria.Mann@centene.com>
Subject: Religious
Subject: Religious Accommodation
                    Accommodation Appeal
                                    Appeal Determination
                                            Determination -- Kerry
                                                             Kerry Goldstein
                                                                   Goldstein (205299)
                                                                             (205299)

Dear Kerry,

Thank you for reaching out with your concerns about the recent denial of your request for exemption from the
Company’s proof of vaccination requirement based upon a sincerely held religious belief.
Company's

Appeal Review
Appeal  Review
As part of the accommodation appeal process, HR Workplace Accommodations leadership has reviewed the
matter, including your original request with any supporting documents, any new information you submitted
with this appeal, and the original determination and analysis. Upon review, the prior decision is upheld as the
original determination was appropriate.

Your Next
Your Next Step:
          Step: Choice
                Choice to
                       to Make
                          Make
    1. If you choose to remain unvaccinated, your employment will be reviewed for further disciplinary action,
    1.
        including termination in accordance with the timelines established by the company as communicated.
    2.
    2. Alternatively, you may choose to provide proof of vaccination. Given that it may take 3-5 weeks to
        become fully vaccinated from the date of the first COVID-19 vaccination shot, you should make
        immediate plans to receive a vaccination.
       • Should you choose to become vaccinated, you will be compensated for time taken off work to
            receive your vaccination(s). Please schedule time off with your People Leader and account for this
                           “COVID-Vaccine” pay code.
            time using the "COVID-Vaccine"

Appeal Determination
Appeal Determination is
                     is Final
                        Final
This appeal determination is final. Thank you for the opportunity to review and respond to your concerns.

Sincerely,

The Workplace Accommodations Team
                                                                 1
                                                                 1
Case 3:23-cv-00763-AR   Document 1   Filed 05/24/23   Page 68 of 73




EXHIBIT “E”
EXHIBIT "E"
                   Case 3:23-cv-00763-AR               Document 1          Filed 05/24/23        Page 69 of 73


Kerry G01696310
Kerry Goldstein

From:
From                                  HR Communications <noreply@communication.wellcare.com>
                                      HR Communications    <norepWcommunicationmellcare,com>
Sent:
Sent                                  Wednesday, January
                                      Wednesday,  January! 5, 2022 1
                                                           5, 2022 12:31 PM
                                                                         PM
To:
Tee                                   Kerry Goldstein
                                      Kerry Goldstein
Cc:
Cc:                                   Kim
                                      Kim Duerst
                                          Duerst
Subject:
Subject                               Proof of
                                      Proof of Vaccination
                                               Vaccination Not
                                                           Not Submitted
                                                                Submitted




                             responsibility.
I.
Dear Kerry
Dear       Goldstein,
     Kerry Goldstein,

Earlier this
Earlier this year,
             year, we
                   we initiated
                       initiated the
                                 the new
                                     new policy  requiring proof
                                          policy requiring       of vaccination
                                                           proof of             as aa general
                                                                    vaccination as    general condition
                                                                                              condition of
                                                                                                        of employment,
                                                                                                           employment, as as we
                                                                                                                             we
are deeply
are deeply committed
             committed to to protecting all our
                             protecting all our communities,
                                                communities, employees,
                                                              employees, and
                                                                          and those
                                                                               those who   are unable
                                                                                       who are         to receive
                                                                                               unable to  receive aa vaccine due
                                                                                                                     vaccine due
to health
to health or
           or age
              age restrictions,
                   restrictions, especially
                                 especially young  children.
                                            young children.

Your proof
Your  proof ofof vaccination    deadline was
                 vacdnation deadline          December 31,2021.
                                         was December      31, 2021. You
                                                                     You dd did not
                                                                                not submit
                                                                                    submit proof
                                                                                              proof of
                                                                                                    of C.OVI
                                                                                                       COVID-19
                                                                                                             D-19 vaccination   or
                                                                                                                    vacdretion or
obtain an
obtain   an approved
             approved exemption
                        exemption (or(or an
                                         an exemption
                                            exemption has has expired
                                                              expired or
                                                                      or is
                                                                          is expiring
                                                                             expiring soon)
                                                                                      soon) byby the  deadline and
                                                                                                 the deadline   and are
                                                                                                                     are in
                                                                                                                         in violation of
                                                                                                                            violation of
Centene’s C.OV1D-19
C.entene's   COVID-19 Vacdretion
                          Vaccination Policy.
                                       Policy. Your
                                               Your last  day worked
                                                     last day          will be
                                                              worked will   be January    27, 2022, and
                                                                                January 27,2022,    and your
                                                                                                         your pay   through and
                                                                                                               pay through   and
termination date
termination    date will
                     will be
                          be February
                              February 4,
                                       4, 2022.
                                          2022. MAs communicated,
                                                    communicated, all all Centene
                                                                          Centene employees
                                                                                    employees are are required
                                                                                                      required to
                                                                                                                to demonstrate
                                                                                                                    demonstrate proof
                                                                                                                                  proof
of full
of full vaccination
        vaccination asas aa general
                            general condition  of employment.
                                    condition of  employment. Employees
                                                                 Employees who      fail to
                                                                               who fail     submit proof
                                                                                         to submit        of full
                                                                                                    proof of  full vaccination are
                                                                                                                   vaccination are
subject to
subject   to disciplinary  action, up
             disciplinaryaction,   up to
                                      to and
                                         and including
                                             including termination.
                                                         termination.

Upon your
Upon  your termination
           termination aa Termination
                          Termination Notice
                                        Notice will
                                               will be emailed to
                                                    be emailed to your
                                                                  your personal
                                                                       personal email
                                                                                email address
                                                                                      address in
                                                                                               in Workday
                                                                                                  Workday with    additional
                                                                                                             with additional
information about
information  about how
                   how to
                        to return  any company
                           return any  company property    or documents
                                                 property or             in your
                                                              documents in  your possession
                                                                                 possession as
                                                                                            as well
                                                                                                well as
                                                                                                     as information
                                                                                                        information on
                                                                                                                     on your
                                                                                                                         your
benefits and
benefits and other
             other matters
                   matters relating
                            relating to
                                     to the end of
                                        the end of your  employment.
                                                    your employment.




                                                                   1
                                                                   1
Case 3:23-cv-00763-AR   Document 1   Filed 05/24/23   Page 70 of 73




EXHIBIT “F”
EXHIBIT "F"
                  Case 3:23-cv-00763-AR            Document 1         Filed 05/24/23        Page 71 of 73

                                                                                                        CHRISTINA E. STEPHENSON
                                                                                FLAMM&                  Labor arirrissIoner
                                                                                g INDUSTRIES
      March 3, 2023




     KERRY GOLDSTEIN
     C/O PACIFIC JUSTICE INSTITUTE
     PO BOX 5229
     SALEM, OR 97304

     RE:      Complainant:    Kerry Goldstein
              Respondent:     Centene Corporation
              Case #:         EEEMRG220614-10913
              EEOC #:         38D-2022-00591

     This letter is to inform you that the above-captioned complaint filed with the Civil Rights Division has been
     dismissed because the Division did not find sufficient evidence to continue our investigation. This is the
     Bureau's fmal determination. If you wish to pursue your claim(s) further, you may wish to consult an attorney
     regarding your right to file a civil suit.

     NOTICE OF RIGHT TO FILE A CIVIL SUIT
     This is your 90-day notice letter. Although this case has been closed, pursuant to ORS 659A.880, you,
     the Complainant, may file a civil action against the Respondent under ORS 659A.885 within 90 days
     after the date of mailing of this 90-day notice. Any right to bring a civil action against the Respondent
     under ORS 659A.885 will be lost if the civil action is not commenced within 90 days after the date of
     the mailing of this 90-day notice. Note: If the complaint was a public accommodations casefiled under
     ORS 659A.403 or 659A.406, the right to file suit in state circuit court expires one year from the date of the
     alleged violation.
     Further, if the Respondent is a public entity, to preserve the right to file a suit in state circuit court, the
     Complainant must also comply with the Oregon Tort Claims Act (ORS 30.260 to 30.300). Complainants
     interested in protecting these rights, should consult an attorney immediately regarding the requirements for
     filing. The Oregon State Bar referral number for Portland is 503-620-0222 or 800-452-7636.

     If you wish to receive a copy of this file, you may place a request for public records online through our website
     www.oregon.gov/boii/publicrecords, or by calling 971-245-3844. There is no fee to receive a copy.

     Sincerely,
     CIVIL RIGHTS DIVISION
     Administrative Support Unit

     Date of Mailing: March ,„202j

     Enclosure(s)
     cc:    Ray D Hacke, Complainant's Attorney




                                             eregen.gevTheli                      n1-245-3E44
IP Portland • Salem Eugere
                                             He4eSboli.orivon.cm                  Ore.. Relay Tit 711
Case 3:23-cv-00763-AR   Document 1   Filed 05/24/23   Page 72 of 73




EXHIBIT “G”
EXHIBIT "G"
                              Case 3:23-cv-00763-AR                  Document 1                Filed 05/24/23         Page 73 of 73




Date Calculator: Add to or Subtract From a Date
Enter a
Enter a start
        start date and add
              date and add or
                           or subtract
                              subtract any
                                       any number
                                           number of
                                                  of days, months, or
                                                     days, months, or years.
                                                                      years.



Count Days               Add Days           Workdays              Add Workdays                  Weekday              Week №
                                                                                                                          Ng



                  March 3,
     From Friday, March 3, 2023
                           2023
     Added 90 days


     Result: Thursday, June 1, 2023

                          Calendar showing
                          Calendar showing period from March
                                           period from March 3,
                                                             3, 2023
                                                                2023 to
                                                                     to June
                                                                        June 1,
                                                                             1, 2023
                                                                                2023
               March 2023                        April 2023                         May 2023                         June 2023
               28 days
               28      added
                  days added                     30 days added
                                                 30 days added                      31 days
                                                                                    31      added
                                                                                       days added                     1 day
                                                                                                                      1 day added
                                                                                                                            added
     Sun Mon Tue Wed
         Mon Tue Wed Thu
                     Thu       Fri Sat
                               Fri Sat Sun
                                       Sun Mon
                                           Mon Tue
                                               Tue Wed Thu Fri Sal
                                                               Sat Sun Mon Tue Wed
                                                                       Mon Tue Wed Thu
                                                                                   Thu Fri
                                                                                       Fri Sal
                                                                                           Sat Sun
                                                                                               Sun Mon
                                                                                                   Mon Tue
                                                                                                       Tue Wed
                                                                                                           Wed Thu Fri Sat
                                                                                                                       Sat

                     1    2    3   4                                 1
                                                                     1         1      2   3     4   5   6                         1   2   3
      5
      5    6
           6     7
                 7   8
                     8    9
                          9    10 11 2       3     4   5    6    7   8     7   8      9   10             4
                                                                                                11 12 13 4       5
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                                                                                                                       6   7      8
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                                                                                                                                          10
     12   13 14      15   16 17 18 9        10    11   12         15 14
                                                            13 14 151          15 16      17    18 19 20 11      12 13     14    15 16 17
                                                                                                                                 15
     19   20 21      22   23 24 25 16       17 18      19
                                                       19   20 21 22 21        22    23   24    25 26 27 18      19 20     21    22 23 24
     26   27    28   29   30 31        23   24 25      26
                                                       26   27 28 29
                                                                  29 28        29
                                                                               29 30
                                                                                  30      31
                                                                                          31                25   26 27     28    29 30
                                       30
                                       30


  E == Start
       Start date
             date (Mar
                  (Mar 3, 2023)
                       3, 2023)        = Final
                                       = Final result
                                               result date
                                                      date (Jun
                                                           k.   1, 2023)



                                                                                                                               Time & Date Calculator App
                                                                                                                 a     k       for iOS
                                                                                                                               See how
                                                                                                                               See how long
                                                                                                                                        long remains
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                                                                                                                               deadline or exactly
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                                                                                                                                                        those 30
                                                                                                                                                               30
                                                                                                                               days
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